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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN



 JOSEPH BOSSART, ERNEST
 HOLGUIN, DAVID GOLDBERG,                    Civil Action No. 2:20-cv-11057
 JAMES KALKSTEIN, ROBERT
 SMITH, CAROLE SMITH, DENNIS                 Hon. Bernard A. Friedman
 GLAZER, MARIANNE GLAZER,
 MICHAEL ROTH, RONNIE E.                     Magistrate Judge David R. Grand
 BARKER, RICHARD BARRINGTON,
 STEVEN M. CHOOKAZIAN, ERIC
 CZAJKA, ALFRED LUPIS, PHILIP                CONSOLIDATED CLASS
 MIRENDA, CHRISTA ROCHFORD,                  ACTION COMPLAINT
 DERROL TURNER and TROY
 WILLIAMS individually and on behalf         JURY TRIAL DEMANDED
 of all others similarly situated,

                   Plaintiffs,

 v.

 GENERAL MOTORS, LLC,

                   Defendant.


      1. Plaintiffs Joseph Bossart, Ernest Holguin, David Goldberg, James

Kalkstein, Robert Smith, Carole Smith, Dennis Glazer, Marianne Glazer, Michael

Roth, Ronnie E. Barker, Richard Barrington, Steven M. Chookazian, Eric Czajka,

Alfred Lupis, Philip Mirenda, Christa Rochford, Derrol Turner and Troy Williams

(“Plaintiffs”) bring this action for themselves and on behalf of all persons in the

United States who purchased or leased any 2015 to 2019 Chevrolet Corvette Z06 or

2017 to 2019 Chevrolet Corvette Grand Sport vehicle (“Class Vehicles”) designed,
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manufactured, marketed, distributed, sold, warranted, and/or serviced by General

Motors LLC (“GM” or “Defendant”). Plaintiffs allege as follows:

I.    INTRODUCTION

      2. This is a consumer class action concerning the sale of high-performance

motor vehicles that are defective and pose a safety concern to consumers.

      3. General Motors LLC manufactured, marketed, distributed, and sold the

Class Vehicles without disclosing that the Class Vehicles’ wheels are defective in

design or material.

      4. The Class Vehicles are equipped with wheels (a.k.a., rims) that are prone to

deforming and cracking, without impact damage, and which necessitate costly

repairs and replacements. These problems can cause the rims to puncture the tires,

causing air leaks and tire blowouts (collectively, the “Wheel Defect.”)

      5. On information and belief, the Wheel Defect occurs because the Class

Vehicles (which are sub-models of the Corvette line) have wheels with inferior

material which is cast, rather than forged, and is of insufficient strength, and in an

insufficient quantity, to withstand the torque and power input from the drivetrain.

On information and belief, GM also used less material than necessary in order to try

to save un-sprung weight (i.e., weight that is not borne by the vehicle’s

suspension). As a result, the rims are not strong enough and crack and deform under

normal driving conditions.



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      6. As a result of the Wheel Defect, wobbling conditions, out of round

conditions, and deformation of the rim flange occur which causes vibration

perceptible to the driver through the body of the vehicle and through the steering

wheel at various speeds. Cracks in the barrel cause a loss of air pressure and an

unsafe condition and cause the rim to lose strength and become vulnerable to failure

under loading conditions such as braking.

      7. The problem is widespread. In fact, during Car & Driver magazine’s review

of one 2017 Chevrolet Corvette Grand Sport, Car & Driver had to repair seven

wheels and replace three wheels on the one vehicle they were reviewing. In this case,

the repairs cost Car & Driver $4,098, which GM refused to cover under warranty. 1

Car & Driver noted that these wheel failures were so regular that a failure occurred

every 4,000 miles. As set forth below, costs to consumers regularly run much higher,

and consumers regularly paid over $900 per wheel to replace one cracked wheel with

an equally defective replacement wheel.

      8. The Class Vehicles’ wheels are prone to warping and cracking at extremely

low mileages. For example, Plaintiffs Robert and Carole Smith’s vehicle was

vibrating and shimmying while they were driving their new vehicle away from the

dealership for the first time. Likewise, by around 1,100 miles, three out of the four

wheels on Plaintiff Goldberg’s wheels had bent, costing him $4,700 out of pocket.

1
 See Exhibit 1, https://www.yahoo.com/news/redemption-2017-chevrolet-
corvette-grand-202000878.html (last visited September 8, 2020).

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      9. The Wheel Defect is inherent in each Class Vehicle and was present at the

time of sale.

      10. GM was well aware of the Wheel Defect. In fact, in 2017, a Class Vehicle

owner wrote on CorvetteForum.com that “there have been a lot of reports of stock

wheels bending on Grand Sports and Z06s here lately, and I’ve had one of my own

front wheels bend on a brand-new Grand Sport. In my situation, there was absolutely

no damage, scratch, or even a mark anywhere—the wheel just went out of round

with less than 1,000 miles on the car.” In 2017, GM responded to this Class Vehicle

owner with its stock line: blaming the customer for hitting a road hazard and denying

the existence of any defect.

      11. Although GM was sufficiently aware of the Wheel Defect from pre-

production testing, design failure mode analysis, calls to its customer service hotline,

and customer complaints made to dealers, this knowledge and information was

exclusively in the possession of GM and its network of dealers and, therefore,

unavailable to consumers.

      12. Despite access to aggregate internal data, GM has actively concealed the

existence of the defect, telling customers, as cited below, that the wheels are not

defective and that the cracked and deformed wheels are caused by potholes or other

driver error, without any such evidence to support external causes.

      13. GM sells the Class Vehicles with a 3-year, 36,000-mile bumper-to-bumper



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warranty. However, when class members bring their vehicles to GM’s authorized

dealerships requesting coverage for the Wheel Defect, GM is systematically denying

coverage. As a result, Class Members are paying thousands of dollars out-of-pocket

to repair, and if they purchase the replacements from GM, to replace the wheels with

equally defective wheels.

      14. The Wheel Defect is material because it poses a serious safety concern.

Deformations in the rims progress to cracks, and cracked rims can cause the tire to

fail and explode while driving, leading to a sudden loss of control at speed and a

potential collision.

      15. The Wheel Defect is also a material fact because consumers incur

significant and unexpected repair costs. GM’s failure to disclose material facts

regarding the Wheel Defect at the time of purchase is material because no reasonable

consumer expects to spend hundreds, if not thousands, of dollars to repair or replace

defective wheels.

      16. Had GM disclosed the Wheel Defect, Plaintiffs and Class Members would

not have purchased the Class Vehicles, would have paid less for them.

II.   THE PARTIES

Plaintiff Richard Barrington

      17. Plaintiff Richard Barrington (“Barrington”) is a California citizen who

resides in Union City, California.



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      18. On or around March 29, 2018, Plaintiff Barrington purchased a new 2018

Chevrolet Corvette Grand Sport from Wittmeier Chevrolet, an authorized GM dealer

in Chico, California.

      19. Passenger safety and reliability were important factors in Plaintiff

Barrington’s decision to purchase his vehicle. Before making his purchase, Plaintiff

Barrington researched the 2018 Chevrolet Corvette on GM’s website and on GM’s

dealership websites. Based on his research, Plaintiff Barrington believed that the

Corvette would be a safe and reliable vehicle.

      20. GM’s omissions were material to Plaintiff Barrington. Had GM disclosed

its knowledge of the Wheel Defect before he purchased his Corvette, Plaintiff

Barrington would have seen and been aware of the disclosures. Furthermore, had he

known of the Wheel Defect, Plaintiff Barrington would not have purchased his

vehicle, or would have paid less for it.

      21. Within one or two months of his purchase, Plaintiff Barrington found that

his right rear tire was leaking air. Plaintiff Barrington brought his vehicle back to

Fremont Chevrolet. The dealership confirmed that the right rear rim was cracked in

three places and replaced the rim.

      22. In or around July or August of 2018, Plaintiff Barrington found that the

rear driver’s side rim was cracked. He brought his vehicle back to Fremont

Chevrolet. Again, the dealership confirmed that the rim was cracked. GM refused to



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cover the necessary rim replacement under warranty. Accordingly, Plaintiff

Barrington purchased stock rims himself using the Facebook marketplace.

       23. In or around August 2019, within 2,000 miles or purchase, those two rims

had cracked.

       24. On or around November 24, 2019, another of Plaintiff Barrington’s rims

cracked.

       25. All told, Plaintiff Barrington has had to pay approximately $3,000 to

replace six cracked rims on his vehicle.

       26. At all times, Plaintiff Barrington, like all Class Members, has driven his

Chevrolet Corvette in a manner both foreseeable and in which it was intended to be

used

Plaintiff Ernest Holguin

       27. Plaintiff Ernest Holguin (“Holguin”) is a California citizen who resides in

Benicia, California.

       28. Plaintiff purchased his Corvette primarily for personal, family, or

household use.

       29. In December 2016, Plaintiff purchased a 2017 Chevrolet Corvette Grand

Sport from Boardwalk Chevrolet, an authorized GM dealer in Redwood City,

California. Plaintiff took delivery of his vehicle in California, and his vehicle is

registered in California.



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       30. Passenger safety and reliability were important factors in Plaintiff’s

decision to purchase his vehicle. Before making his purchase, Plaintiff researched

the 2017 Chevrolet Corvette Grand Sport by reviewing information on the vehicle

from Kelley Blue Book, and by reviewing the website of the authorized GM

dealership from which he purchased the vehicle. At the dealership, Plaintiff reviewed

the vehicle’s window sticker. Plaintiff also test drove a Chevrolet Corvette at an

authorized GM dealership and spoke with multiple salespeople. Plaintiff believed

that the Corvette would be a safe and reliable vehicle.

       31. GM’s omissions were material to Plaintiff. Had GM disclosed its

knowledge of the Wheel Defect before he purchased his Corvette, Plaintiff would

have seen and been aware of the disclosures. Furthermore, had he known of the

Wheel Defect, Plaintiff would not have purchased his vehicle, or would have paid

less for it.

       32. In March 2017, with approximately 10,000 miles on the odometer,

Plaintiff first discovered a problem with his wheels that continues to plague his

vehicle despite six wheel replacements. Specifically, he noticed cracks in the rear

wheels that were causing the tires to lose air.

       33. On August 18, 2017, with 14,000 miles on the odometer, Plaintiff brought

his vehicle to Concord Chevrolet, an authorized GM dealership in Concord,

California, complaining that his right rear wheel was cracked and losing air. The



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dealership confirmed that the wheel was indeed cracked. In response, however, with

no evidence to support its claims, the GM dealership told Plaintiff his vehicle must

have been damaged by road hazards and refused to cover the necessary repair under

warranty. However, Plaintiff is the sole driver of the vehicle, and his vehicle did not

strike any road hazards, potholes, or other large road imperfections. Nevertheless,

Plaintiff had to pay the GM dealership $1,007.01 to replace one wheel.

       34. On October 27, 2017, with 23,028 miles on the odometer, Plaintiff

returned to Concord Chevrolet complaining that his left rear tire was losing air. The

dealership notified Plaintiff that the loss of air was occurring because his left rear

wheel had cracked. Plaintiff had two cracks repaired in his rear left wheel at third-

party mechanic 1stStop Auto in Brentwood, California. Plaintiff had to pay $150 for

this repair.

       35. On February 5, 2018, with 30,027 miles on the odometer, Plaintiff brought

his vehicle back to Boardwalk Chevrolet, complaining that his left rear wheel was

losing air. The dealership confirmed that the wheel had multiple cracks in the rim

and notified plaintiff that he would need to replace the wheel. As a result, Plaintiff

had to pay $933.92 for the wheel replacement on this visit.

       36. Just five days later on February 10, 2018, with 30,479 miles on the

odometer, Plaintiff brought his vehicle to Concord Chevrolet, complaining that his

front wheel had cracked. The dealership balanced all four wheels and replaced the



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 tires at an out of pocket cost to Plaintiff of $2,424.66.

       37. Twelve days after the costly wheel rebalancing and tire replacements, on

 February 22, 2018, with 30,789 miles on the odometer, Plaintiff’s left rear tire was

 already leaking air. Plaintiff brought this vehicle back to Boardwalk Chevrolet and

 complained. The dealership found that the left rear tire had multiple cracks and

 would have to be replaced. Plaintiff had to pay $933.02 to replace the wheel on this

 occasion.

       38. On September 13, 2018, with 41,281 miles on the odometer, Plaintiff

 brought his vehicle to Team Chevrolet, an authorized GM dealership in Vallejo,

 California, complaining that his right rear tire was leaking and losing pressure. The

 dealership confirmed that the air leak was caused by a crack in the wheel and charged

 Plaintiff $39.00 for the diagnosis.

       39. On September 24, 2018, with 41,974 miles on the odometer, Plaintiff

 returned to Team Chevrolet and, per the dealership’s instructions, paid $813.35 plus

 sales tax to replace the wheel.

       40. On April 10, 2019, with 52,266 miles on the odometer, Plaintiff returned

 to Team Chevrolet, complaining that his right front tire was losing air. The dealer

 confirmed that the rim had multiple cracks and that the wheel and tire would need

 to be replaced. Plaintiff paid $730.00 plus tax for the wheel and tire replacement.

       41. On October 21, 2019, with 62,905 miles on the odometer, Plaintiff



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 returned to Team Chevrolet, complaining that his left front tire’s air pressure was

 low. The dealership confirmed that the front wheel was cracked and notified Plaintiff

 that his wheel and tire pressure monitoring system (“TPMS”) sensor would need to

 be replaced. However, the replacement wheel was back-ordered. Accordingly,

 Plaintiff had to pay $405.00 for a rental car in the interim. When the replacement

 wheel and TPMS sensor arrived, Plaintiff had to pay an additional $783.49 for the

 repair.

           42. On February 17, 2020, with 67,068 miles on the odometer, Plaintiff

 brought his vehicle back to Team Chevrolet. Plaintiff again notified the dealership

 that his right rear tire was losing pressure and asked the dealership to check the wheel

 rim for cracks. The GM dealership confirmed that the right rear rim was cracked and

 notified Plaintiff that his wheel would need to be replaced. Plaintiff had to pay

 $896.60 plus tax for the replacement on that occasion.

           43. At all times, Plaintiff, like other class members, has attempted to drive his

 vehicle in a manner that was both foreseeable and in which it was intended to be

 used.

 Plaintiff Christa Rochford

           44. Plaintiff Christa Rochford (“Rochford”) is a citizen of Florida, who

 resides in Brandon, Florida.

           45. On or around April 13, 2019, Plaintiff Rochford purchased a new 2019



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 Corvette Z06 from Regal Chevrolet, an authorized GM car dealer in Lakeland,

 Florida.

       46. On or around March 25, 2020, when the vehicle had been driven

 approximately 5050 miles and thus was well within the 36 month/36,000 mile

 warranty period, Plaintiff Rochford noticed that three of her rims were bent and one

 was cracked. Plaintiff took her vehicle to Stingray Chevrolet in Plant City, Florida

 and, after the dealership inspected the vehicle, told Plaintiff Rochford that the three

 bent rims would need repair and the fourth rim which was cracked would need to be

 replaced. GM refused to cover the rim repairs or replacement under the Class

 Vehicle’s warranty.

       47. Plaintiff Rochford has paid approximately $1,500.00 to fix the bent and

 cracked rims on her Class Vehicle. At all times Plaintiff Rochford has driven her

 Class Vehicle in a foreseeable manner and consistent with the manner in which it

 was intended to be driven.

       48. When making the decision to purchase her Class Vehicle, Plaintiff

 Rochford relied on GM’s representations that it was a safe and reliable vehicle and

 was covered by a 36 month/36,000 mile bumper-to-bumper warranty.

       49. Plaintiff would not have purchased the vehicle if she was aware of the

 defect in the vehicle’s rims that would not be covered under warranty, or would not

 have been willing to pay as much for the vehicle.



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 Plaintiff Phillip Mirenda

        50. Plaintiff Phillip Mirenda (“Mirenda”) is a citizen of Illinois, who resides

 in Home Glen, Illinois.

        51. On or around August 9, 2016, Plaintiff Mirenda purchased a new 2017

 Corvette Grand Sport from Castle Chevrolet, an authorized GM car dealer in Villa

 Park, Illinois.

        52. In or around early spring 2018, Plaintiff Mirenda noticed that the Class

 Vehicle was vibrating. Plaintiff Mirenda initially took the Class Vehicle to Discount

 Tire in Homer Glen, Illinois. At that time, it was determined that a rear rim was bent,

 and the rim was repaired. Subsequently, Plaintiff Mirenda experienced continued

 vibration and determined that three of the rims (two front and one rear) were bent

 and the fourth (rear) was now cracked. Plaintiff then purchased two OEM wheels to

 replace two of the bent wheels. After continued vibration problems, Plaintiff

 ultimately purchased four after-market wheels and placed the original four other

 wheels in his garage. Thereafter, on June 4, 2019, Plaintiff Mirenda took the four

 wheels to Apple Chevrolet in Oreland Park, to seek cost assistance from GM for the

 defects in the wheels, but GM denied the claim and refused to cover the rim

 replacement under the vehicle’s warranty.

        53. Overall, Plaintiff Mirenda has paid approximately $5,000 to fix and/or

 replace the cracked and bent rim(s) on his Class Vehicle.



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       54. At all times Plaintiff Mirenda has driven his Class Vehicle in a foreseeable

 manner and consistent with the manner in which it was intended to be driven.

       55. When making the decision to purchase his Class Vehicle, Plaintiff

 Mirenda relied on GM’s representations that it was a safe and reliable vehicle and

 was covered by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff

 would not have purchased the vehicle if he was aware of the defect in the vehicle’s

 rims that would not be covered under warranty, or would not have been willing to

 pay as much for the vehicle.

 Plaintiff Alfred Lupis

       56. Plaintiff Alfred Lupis (“Lupis”) is a Massachusetts citizen who resides in

 Brewster, Massachusetts.

       57. On December 15, 2017, Plaintiff purchased a new 2017 Chevrolet

 Corvette Grand Sport from Schumacher Chevrolet, an authorized GM dealer in Little

 Falls, New Jersey. Plaintiff took delivery of his vehicle in Massachusetts, and his

 vehicle is registered in Massachusetts.

       58. Plaintiff purchased his Corvette primarily for personal, family, or

 household use.

       59. Passenger safety and reliability were important factors in Plaintiff’s

 decision to purchase his vehicle. Before making his purchase, Plaintiff researched

 the 2017 Chevrolet Corvette Grand Sport on GM’s official website, on dealership



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 websites, and through general Google searches. Plaintiff believed that the Corvette

 would be a safe and reliable vehicle.

       60. GM’s omissions were material to Plaintiff. Had GM disclosed its

 knowledge of the Rim Defect before he purchased his Corvette, Plaintiff would have

 seen and been aware of the disclosures. Furthermore, had he known of the Rim

 Defect, Plaintiff would not have purchased his vehicle, or would have paid less for

 it.

       61. In November 2018, with approximately 3,000 miles on the odometer,

 Plaintiff felt a vibration and heard a repeated thumping sound which commenced

 while driving, similar to that which he had experienced in other cars when his tires

 were flat in those other cars, and noticed that his tires, though not flat, were losing

 air quicker than usual. At no time did Plaintiff, who was the sole driver of the car,

 hit any road hazards, potholes, or other large road imperfections.

       62. Plaintiff then brought his vehicle to Alloy Wheel Repair Specialists, an

 independent wheel repair business, complaining that his tires were leaking air and

 reporting a thumping sensation under his seat, as if his tires were going flat. The

 repair facility discovered that Plaintiff’s rear wheel on the driver’s side was warped.

 Plaintiff had to pay $115 out of pocket to have the wheel straightened.

       63. Thereafter, on April 15, 2019, Plaintiff again experienced a cracked rim

 while driving and having hit no road hazards, potholes, or other large road



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 imperfections. He contacted Bill Box Chevrolet in Rochester Hills, MI searching for

 replacements wheels-- which are in high demand, on information and belief, because

 of the number of cracked or bent rims nationwide-- where he was charged $851.71

 for a replacement wheel and sensor. Plaintiff would continue to experience cracked

 or bent wheels, however.

       64. In early August 2019, Plaintiffs vehicle again began exhibiting rapid loss

 of air from its tires. Plaintiff had, in the interim from the last incident, again had not

 hit any road hazards, potholes, or other large road imperfections. Plaintiff delivered

 his vehicle to Tracy Chevrolet in Plymouth, MA on September 5, 2019, after

 confirming that date with one of GM’s inspectors. After the inspection, Plaintiff was

 informed that three of his wheels were bent (two front and one rear). GM refused to

 cover replacements under warranty.

       65. After waiting several weeks for replacement wheels to become available,

 which wheels are in high demand, on information and belief, because of the number

 of cracked or bent rims nationwide, on October 13, 2019 Plaintiff purchased

 replacement wheels from House of Wheels in Deerfield Beach, FL for $950, and had

 them installed at Cape Tire Service, Inc. in Hyannis, MA for $142.97.

       66. In all, Plaintiff had to expend $1,944.68 to replace cracked and/or bent

 wheels.

       67. At all times, Plaintiff, like other class members, has driven his vehicle in



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 a manner that was both foreseeable and in which it was intended to be used. At no

 time had Plaintiff hit any potholes, large road imperfections, or other road hazards.

 Plaintiffs Robert and Carole Smith

       68. Plaintiffs Robert and Carole Smith (“Smith”) are Massachusetts citizens

 who reside in Eastham, Massachusetts.

       69. In July 2018, Plaintiffs purchased a 2019 Chevrolet Corvette Grand Sport

 LT2 from McMulkin Chevrolet, an authorized GM dealership in Nashua, New

 Hampshire. Plaintiffs’ vehicle is registered in New Hampshire.

       70. Plaintiff purchased his Corvette primarily for personal, family, or

 household use.

       71. Passenger safety and reliability were important factors in Plaintiffs’

 decision to purchase their vehicle. Before making their purchase, Plaintiffs reviewed

 GM’s official website regarding the 2019 Corvette Z06. At the GM dealership,

 Plaintiffs reviewed the vehicle’s window sticker and a brochure regarding the

 vehicle. Plaintiffs also spoke with a salesperson at the GM dealership regarding the

 Corvette. Plaintiffs believed that the Corvette would be a safe and reliable vehicle.

       72. GM’s omissions were material to Plaintiffs. Had GM disclosed its

 knowledge of the Wheel Defect before they purchased their Corvette, Plaintiffs

 would have seen and been aware of the disclosures. Furthermore, had they known

 of the Wheel Defect, Plaintiffs would not have purchased their vehicle, or would



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 have paid less for it.

        73. Immediately after purchase, while driving him from the dealership, the

 vehicle was vibrating and shimmying. The following day, Plaintiff Robert Smith

 contacted the dealer and complained about the vibration and shimmy. Without any

 evidence, the dealer claimed that Plaintiffs must have struck an object or road hazard.

 However, Plaintiffs had not struck any potholes or other road hazards.

        74. The vibrations and shimmy continued, and Plaintiff Robert Smith

 complained to the dealership three or four more times within the first two months

 and 500 to 800 miles of ownership. The dealership repeatedly blamed impact

 damages, even though Plaintiffs had not struck any road hazards.

        75. In or around September 2018, with approximately 1,500 miles on the

 odometer, Plaintiff Robert Smith complained to Beard Chevrolet in Hyannis, MA,

 that the vehicle was vibrating and shimmying. The dealership also blamed road

 hazards, without any evidence, and implied that Plaintiffs were racing their vehicle

 (which they were not).

        76. In or around April or May of 2019, with approximately 2,000 miles on the

 odometer, Plaintiff Robert Smith complained of the vibration and shimmy to Tracey

 Chevrolet in Plymouth, MA, and the dealership there accused Plaintiffs of racing the

 vehicle. Plaintiffs have never raced their vehicle.

        77. On September 25, 2019, with 6,993 miles on the odometer, Plaintiffs had



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 the wheels removed and tested at third-party automotive repair facility Cape Tire.

 Cape Tire confirmed that all four wheels were bent. As a result, Plaintiffs had to

 purchase four new Chevrolet Wheels at an out of pocket cost of $1,850 from a vendor

 in Florida and paid an additional $254.88 for installation. Plaintiffs also had to pay

 $87.12 for the diagnosis of the bent wheels.

       78. At all times, Plaintiffs, like other class members, have attempted to drive

 their vehicle in a manner that was both foreseeable and in which it was intended to

 be used.

 Plaintiff Eric Czajka

       79. Plaintiff Eric Czajka (“Czajka”) is a citizen of Michigan, who resides in

 Grosse Ile, Michigan.

       80. On or around May 7, 2018, Plaintiff Czajka purchased a certified pre-

 owned 2017 Corvette Z06 with approximately 11,581 miles on it from Jeff Schmitt

 Chevrolet East, an authorized GM car dealer in Dayton, OH.

       81. On or around December 9, 2019, when the vehicle had approximately

 23,000 miles on it, Plaintiff Czajka noticed that the rear driver’s side tire was losing

 air and the vehicle had a vibration coming from the rear driver’s side. Plaintiff

 Czajka took his vehicle to Belle Tire in Woodhaven, MI and, after the tire center

 investigated the cause, Plaintiff Czajka was informed that the issue was caused by

 the fact that the driver’s side rear rim was cracked and would need to be replaced.



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 Plaintiff then contacted Dick Genthe Chevrolet, an authorized GM car dealer located

 in Southgate, MI, who informed Plaintiff Czajka that the cracked wheel is not

 covered by the manufacturer’s warranty. GM refused to cover the rim replacement

 under the vehicle’s warranty.

       82. After replacement of the rear driver’s side rim, Plaintiff Czajka’s Class

 Vehicle continues to lose air pressure in the recently replaced driver’s side rear rim,

 despite no punctures or imperfections in the driver’s side rear tire.

       83. Plaintiff Czajka paid a $184.92 deductible as part of a third-party wheel

 and tire protection policy he had previously obtained to fix the cracked rim on his

 Class Vehicle.

       84. Very recently, the rear passenger side rim also cracked on Plaintiff’s Class

 vehicle. Plaintiff called Chevrolet but has not heard back. Plaintiff is working to

 secure a replacement rim with Belle Tire as he previously did with his driver side

 rear wheel.

       85. At all times Plaintiff Czajka has driven his Class Vehicle in a foreseeable

 manner and consistent with the manner in which it was intended to be driven.

       86. When making the decision to purchase his Class Vehicle, Plaintiff Czajka

 relied on GM’s representations that it was a safe and reliable vehicle and was covered

 by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff would not have

 purchased the vehicle if he was aware of the defect in the vehicle’s rims that would



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 not be covered under warranty, or would not have been willing to pay as much for

 the vehicle.

 Plaintiff James Kalkstein

       87. Plaintiff James Kalkstein (“Kalkstein”) is a Michigan citizen who resides

 in Rochester Hills, Michigan.

       88. In May 2016, Plaintiff purchased a 2016 Chevrolet Corvette Z06 from

 Buff Whelan Chevrolet, an authorized GM dealer in Sterling Heights, Michigan.

 Plaintiff took delivery of his vehicle in Michigan, and his vehicle is registered in

 Michigan.

       89. Plaintiff purchased his Corvette primarily for personal, family, or

 household use.

       90. Passenger safety and reliability were important factors in Plaintiff’s

 decision to purchase his vehicle. Before making his purchase, Plaintiff reviewed

 GM’s official website regarding the 2016 Corvette Z06. At the GM dealership,

 Plaintiff reviewed the vehicle’s window sticker and a brochure regarding the vehicle.

 Plaintiff also spoke with a salesperson at the GM dealership regarding the Corvette.

 Plaintiff believed that the Corvette would be a safe and reliable vehicle.

       91. GM’s omissions were material to Plaintiff. Had GM disclosed its

 knowledge of the Wheel Defect before he purchased his Corvette, Plaintiff would

 have seen and been aware of the disclosures. Furthermore, had he known of the



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 Wheel Defect, Plaintiff would not have purchased his vehicle, or would have paid

 less for it.

         92. On May 10, 2018, with approximately 15,087 miles on the odometer,

 Plaintiff brought his vehicle back to Buff Whelan Chevrolet complaining that the

 rear wheel was cracked. The dealership verified the complaint, and GM covered a

 portion of the replacement under warranty. However, Plaintiff had to contribute

 $416.50 out of pocket.

         93. On October 17, 2019, Plaintiff brought his vehicle back to Buff Whelan

 Chevrolet, again complaining that his right rear wheel had cracked. The dealership

 verified the concern and replaced the wheel at an out of pocket cost of $729.00 to

 Plaintiff.

         94. At all times, Plaintiff, like other class members, has attempted to drive his

 vehicle in a manner that was both foreseeable and in which it was intended to be

 used.

 Plaintiff David Goldberg

         95. Plaintiff David Goldberg (“Goldberg”) is a New Hampshire citizen who

 resides in Merrimack, New Hampshire.

         96. In June 2019, Plaintiff purchased a 2019 Chevrolet Corvette Grand Sport

 from MacMulkin Chevrolet, an authorized GM dealership in Nashua, New

 Hampshire. Plaintiff took delivery of his vehicle in New Hampshire, and his vehicle



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 is registered in New Hampshire.

        97. Plaintiff purchased his Corvette primarily for personal, family, or

 household use.

        98. Passenger safety and reliability were important factors in Plaintiff’s

 decision to purchase his vehicle. Before making his purchase, Plaintiff did general

 internet searches regarding the 2019 Corvette Grand Sport, including reviewing

 GM’s official website and an authorized GM dealership’s website. At the GM

 dealership, Plaintiff reviewed the vehicle’s window sticker and a brochure regarding

 the Corvette. Plaintiff also spoke with a salesperson at the GM dealership regarding

 the Corvette. Plaintiff believed that the Corvette would be a safe and reliable vehicle.

        99. GM’s omissions were material to Plaintiff. Had GM disclosed its

 knowledge of the Wheel Defect before he purchased his Corvette, Plaintiff would

 have seen and been aware of the disclosures. Furthermore, had he known of the

 Wheel Defect, Plaintiff would not have purchased his vehicle, or would have paid

 less for it.

        100. In or around August 2019, with approximately 1,110 miles on the

 odometer, Plaintiff brought his vehicle back to MacMulkin Chevrolet complaining

 that his vehicle was vibrating when driving. The dealership inspected Plaintiff’s

 vehicle and discovered that, after only around 1,100 miles of driving, three out of

 his four wheels were bent. With no evidence to support its claims, the GM dealership



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 told Plaintiff that he must have hit a pothole, and that Plaintiff would have to pay for

 the replacement rims. However, Plaintiff is the sole driver of the vehicle, and his

 vehicle did not strike any road hazards, potholes, or other large road imperfections.

 Nevertheless, Plaintiff had to pay $4,700 to have the wheels replaced at Wheel Lab,

 a third-party automotive repair facility.

         101. At all times, Plaintiff, like other class members, has attempted to drive

 his vehicle in a manner that was both foreseeable and in which it was intended to be

 used.

 Plaintiff Steven M. Chookazian

         102. Plaintiff Steven M. Chookazian (Chookazian”) is a citizen of New

 Jersey, who resides in Ramsey, New Jersey.

         103. On or around July 18, 2018, Plaintiff Chookazian purchased a certified

 pre-owned 2017 Corvette Grand Sport with approximately 3,700 miles from David

 McDermott Chevrolet, an authorized GM car dealer in East Haven, CT.

         104. Beginning in or around February 2020 through March 2020, when the

 vehicle had approximately 14,000 miles on it, Plaintiff Chookazian noticed that he

 was having low tire pressure. On March 13, 2020, Plaintiff Chookazian took the

 Class Vehicle to Economy Tire in Jupiter, Florida where he was advised that his right

 rear tire was cracked and was not repairable. Plaintiff then took his vehicle to

 Wallace Chevrolet in Stuart Florida and, after the dealership investigated the cause,



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 was informed that the issue was caused by the fact that the rear rim was cracked and

 would need to be replaced. Although the vehicle was within the warranty period,

 GM refused to cover the rim replacement under the vehicle’s warranty.

       105. On March 26, 2020, Plaintiff Chookazian paid approximately $1,000.00

 to have the cracked rim replaced on his Class Vehicle at Wallace Chevrolet.

       106. At all times Plaintiff Chookazian has driven his Class Vehicle in a

 foreseeable manner and consistent with the manner in which it was intended to be

 driven.

       107. When making the decision to purchase his Class Vehicle, Plaintiff

 Chookazian relied on GM’s representations that it was a safe and reliable vehicle

 and was covered by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff

 would not have purchased the vehicle if he was aware of the defect in the vehicle’s

 rims that would not be covered under warranty, or would not have been willing to

 pay as much for the vehicle.

 Plaintiff Troy Williams

       108. Plaintiff Troy Williams (“Williams”) is a citizen of New York, who

 resides in Bronxville, New York.

       109. On or around May 16, 2017, Plaintiff Williams purchased a new 2017

 Corvette Z06 from Curry Chevrolet, an authorized GM car dealer in Scarsdale, NY.

       110. On or around October 27, 2019, when the vehicle had approximately



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 5,000 miles on it, Plaintiff Williams noticed that air was leaking from the tire and

 the rim was cracked when he went to a flat fix to change the tire. Plaintiff thereafter

 took his vehicle to Curry Chevrolet to have the rim replaced and, GM refused to

 cover the rim replacement under the vehicle’s warranty.

       111. At the time, Plaintiff Williams was not able to have the cracked rim

 replaced because Curry Chevrolet had no rims available. As a result, Plaintiff

 Williams was not able to drive his vehicle for several months.

       112. At all times Plaintiff Williams drove his Class Vehicle in a foreseeable

 manner and consistent with the manner in which it was intended to be driven.

       113. When making the decision to purchase his Class Vehicle, Plaintiff

 Williams relied on GM’s representations that it was a safe and reliable vehicle and

 was covered by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff

 would not have purchased the vehicle if he was aware of the defect in the vehicle’s

 rims that would not be covered under warranty, or would not have been willing to

 pay as much for the vehicle.

 Plaintiff Joseph Bossart

       114. Plaintiff Joseph Bossart (“Bossart”) is a citizen of Pennsylvania, who

 resides in Erie, Pennsylvania.

       115. On or around January 29, 2018, Plaintiff Bossart purchased a new 2018

 Corvette Grand Sport through MacMulkin Chevrolet, an authorized GM car dealer



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 located in Nashua, NH. The car was delivered to Pennsylvania for pickup by Plaintiff

 at McQuillen Chevrolet dealership in Girard, PA.

       116. On or around August 22, 2019, when the vehicle had approximately

 3,100 miles on it, Plaintiff Bossart noticed a vibration in the steering wheel and

 dashboard. Plaintiff took his vehicle to McQuillen on August 29, 2019 to investigate

 the vibration issue and, after the dealership investigated the cause, was informed that

 the issue was caused by the fact that three of Plaintiff Bossart’s rims were bent (the

 front two and the right rear) and would need repair. GM refused to cover the rim

 repair under the vehicle’s warranty.

       117. Plaintiff Bossart paid approximately $450.00 to Alloy Wheel Repair

 located in Berea, Ohio to fix the bent rims on his Class Vehicle.

       118. At all times, Plaintiff Bossart has driven his Class Vehicle in a

 foreseeable manner and consistent with the manner in which it was intended to be

 driven.

       119. When making the decision to purchase his Class Vehicle, Plaintiff

 Bossart relied on GM’s representations that it was a safe and reliable vehicle and

 was covered by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff

 Bossart would not have purchased the vehicle if he was aware of the defect in the

 vehicle’s rims that would not be covered under warranty, or would not have been

 willing to pay as much for the vehicle.



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 Plaintiff Michael Roth

       120. Plaintiff Michael Roth (“Roth”) is a Pennsylvania citizen who resides in

 Clarks Summit, Pennsylvania.

       121. On May 28, 2018, Plaintiff purchased a 2018 Chevrolet Corvette Grand

 Sport from Valley Chevrolet, an authorized GM dealership in Wilkes-Barre,

 Pennsylvania.

       122. Plaintiff purchased his Corvette primarily for personal, family, or

 household use.

       123. Passenger safety and reliability were important factors in Plaintiff’s

 decision to purchase his vehicle. Before making his purchase, Plaintiff reviewed

 GM’s official website regarding the 2018 Chevrolet Corvette Grand Sport. At the

 GM dealership, Plaintiff reviewed the vehicle’s window sticker. Plaintiff also spoke

 with a salesperson at the GM dealership regarding the Corvette and went on a

 lengthy test drive with the dealership salesperson. Plaintiff believed that the Corvette

 would be a safe and reliable vehicle.

       124. GM’s omissions were material to Plaintiff. Had GM disclosed its

 knowledge of the Wheel Defect before he purchased his Corvette, Plaintiff would

 have seen and been aware of the disclosures. Furthermore, had he known of the

 Wheel Defect, Plaintiff would not have purchased his vehicle.

       125. By November 2018, Plaintiff’s vehicle was vibrating. He brought his



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 vehicle back to Valley Chevrolet and complained of the vibration. The dealership

 confirmed that his two left side wheels were bent but refused to cover the repairs

 under warranty and told Plaintiff instead to hire a third-party wheel repair specialist

 in order to have the required repairs performed. Accordingly, Plaintiff hired Alloway

 Wheel Repair Specialists, who attempted to repair the bent wheels. Plaintiff had to

 pay $318 for this repair. Despite this repair, the vibration continued.

         126. In or around March 2020, Plaintiff brought his vehicle to an independent

 third-party tire repair facility complaining of continued vibration. The repair facility

 inspected his right rear wheel and determined that it was severely bent.

         127. Because the wheel repairs were ineffective, Plaintiff had to purchase four

 new wheels at an out of pocket cost of $3,665.00.

         128. At the time of drafting this complaint, Plaintiff’s vehicle has only

 approximately 12,500 miles on the odometer.

         129. At all times, Plaintiff, like other class members, has attempted to drive

 his vehicle in a manner that was both foreseeable and in which it was intended to be

 used.

 Plaintiffs Dennis Glazer and Marianne Glazer

         130. Plaintiffs Dennis Glazer and Marianne Glazer (“Glazer”) are Ohio

 citizens who reside in Canton, Ohio.

         131. In September 2017, Plaintiff Marianne Glazer purchased a 2018



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 Chevrolet Corvette Z06 from Scharchone Chevrolet, an authorized GM dealership

 in Rootstown, Ohio.

       132. Plaintiff purchased the Corvette primarily for personal, family, or

 household use.

       133. Passenger safety and reliability were important factors in Plaintiff’s

 decision to purchase the vehicle. Before making the purchase, Plaintiff Dennis

 Glazer went to the dealership and spoke with an authorized dealership representative

 regarding Corvette’s options. Plaintiff Marianne Glazer also spoke with an

 authorized dealership representative regarding the vehicle prior to purchase.

 Plaintiffs believed that the Corvette would be a safe and reliable vehicle.

       134. GM’s omissions were material to Plaintiffs. Had GM disclosed its

 knowledge of the Wheel Defect before purchase, Plaintiffs would have seen and

 been aware of the disclosures. Furthermore, had they known of the Wheel Defect,

 Plaintiffs would not have purchased their vehicle, or would have paid less for it.

       135. In April 2019, with approximately 6,750 miles on the odometer, the

 Corvette’s front right wheel cracked. Plaintiff Dennis Glazer complained to his local

 authorized GM dealership, but the dealership refused to cover any repairs or

 replacements under warranty, stating that GM specifically excluded “that” from the

 warranty (without specifying what “that” meant).

       136. Given that GM and its authorized dealership refused to cover the costly



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 repairs under warranty, Plaintiffs had no choice but to bear the expense themselves.

 Plaintiffs paid $840.57 to have the cracked wheel replaced at Tire Source Belden

 Village, a third-party automotive repair facility.

       137. In August 2019, with approximately 9,150 miles on the odometer, the

 vehicle’s left rear wheel cracked. Plaintiff Dennis Glazer again complained to his

 local authorized GM dealership, but the dealership again refused to cover any repairs

 or replacements under warranty. Accordingly, as before, Plaintiffs brought their

 vehicle to Tire Source Belden Village and paid $848.27 to have the cracked wheel

 replaced.

       138. At all times, Plaintiffs, like other class members, has attempted to drive

 their vehicle in a manner that was both foreseeable and in which it was intended to

 be used.

 Plaintiff Derrol Turner

       139. Plaintiff Derrol Turner (“Turner”) is a citizen of South Carolina, who

 resides in Goose Creek, SC.

       140. On or around September 2016, Plaintiff Turner purchased a new 2017

 Corvette Grand Sport from Crews Chevrolet, an authorized GM car dealer in North

 Charleston, SC.

       141. On or around January 25, 2020, when the vehicle had approximately

 14,436 miles on it, Plaintiff Turner noticed that air was leaking from the tire. Plaintiff



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 took his vehicle to Crews Chevrolet and, after the dealership investigated the cause,

 was informed that the issue was caused by the fact that the rear passenger rim was

 cracked and would need to be replaced. GM refused to cover the rim replacement

 under the vehicle’s warranty.

       142. Plaintiff Turner has paid approximately $826.00 to fix the cracked rim

 on his Class Vehicle.

       143. At all times Plaintiff Turner has driven his Class Vehicle in a foreseeable

 manner and consistent with the manner in which it was intended to be driven.

       144. When making the decision to purchase his Class Vehicle, Plaintiff Turner

 relied on GM’s representations that it was a safe and reliable vehicle and was covered

 by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff would not have

 purchased the vehicle if he was aware of the defect in the vehicle’s rims that would

 not be covered under warranty, or would not have been willing to pay as much for

 the vehicle.

 Plaintiff Ronnie E. Barker

       145. Plaintiff Ronnie E. Barker (“Barker”) is a citizen of Texas, who resides

 in Plano, Texas.

       146. On or around January 12, 2016, Plaintiff Barker purchased a certified

 pre-owned 2015 Corvette Z06 with approximately 4,600 miles from Chuck

 Fairbanks Chevrolet in Desota, Texas.



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       147. On or around November 8, 2018, Plaintiff Barker noticed that his tire

 was leaking air. Plaintiff took his vehicle to Richardson Chevrolet in Richardson,

 Texas and, after the dealership investigated the cause, was informed that the issue

 was caused by the fact that the rim was cracked and would need to be replaced. GM

 refused to cover the rim replacement under the vehicle’s warranty.

       148. Plaintiff Barker ultimately took the Class Vehicle to Wheel Technologies

 in Dallas, Texas to have the cracked rim replaced.

       149. Plaintiff Barker paid approximately $584.00 to have the cracked rim on

 his Class Vehicle replaced.

       150. At all times Plaintiff Barker has driven his Class Vehicle in a foreseeable

 manner and consistent with the manner in which it was intended to be driven.

       151. When making the decision to purchase his Class Vehicle, Plaintiff Barker

 relied on GM’s representations that it was a safe and reliable vehicle and was covered

 by a 36 month/36,000 mile bumper-to-bumper warranty. Plaintiff would not have

 purchased the vehicle if he was aware of the defect in the vehicle’s rims that would

 not be covered under warranty, or would not have been willing to pay as much for

 the vehicle.

 Defendant

       152. Defendant General Motors LLC is a Delaware limited liability company

 with its principle place of business located at 300 Renaissance Center, Detroit,



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 Michigan. General Motors LLC is registered to do business in the State of Delaware.

 The sole member and owner of General Motors LLC is General Motors Holdings

 LLC. General Motors Holdings LLC is a Delaware limited liability company with

 its principle place of business in the State of Michigan. General Motors Holdings

 LLC’s only member is General Motor Company, a Delaware corporation with its

 principal place of business in the State of Michigan. General Motors Company has

 100% ownership interest in General Motors Holdings LLC.

        153. General Motors LLC, through its various entities, designs, manufactures,

 markets, distributes, services, repairs, sells, and leases passenger vehicles, including

 the Class Vehicles, nationwide and in Delaware. General Motors LLC is the

 warrantor and distributor of the Class Vehicles in the United States.

        154. At all relevant times, Defendant was and is engaged in the business of

 designing, manufacturing, constructing, assembling, marketing, distributing, and

 selling automobiles and motor vehicle components throughout the United States of

 America.

 III.   JURISDICTION AND VENUE

        155. This action is properly before this Court and this Court has subject matter

 jurisdiction over this action under the Class Action Fairness Act. At least one

 member of the proposed class is a citizen of a different state than GM, the number

 of proposed class members exceeds 100, and the amount in controversy exceeds the



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 sum or value of $5,000,000.00 exclusive of interests and costs. 28 U.S.C. §

 1332(d)(2)(A).

        156. In addition, under 28 U.S.C. § 1367, this Court may exercise

 supplemental jurisdiction over the state law claims because all of the claims are

 derived from a common nucleus of operative facts and are such that plaintiffs would

 ordinarily expect to try them in one judicial proceeding.

        157. This Court has specific personal jurisdiction over GM because it

 maintains its headquarters and principal place of business in this district. Thus,

 Defendant has purposefully availed itself of the benefits and protections of this

 jurisdiction by continuously and systematically conducting substantial business in

 and from this judicial district, directing advertising and marketing activities from

 within this district, and intentionally and purposefully placing Class Vehicles into

 the stream of commerce within Michigan and throughout the United States.

 Numerous class vehicles have been sold within Michigan and many within this

 judicial district.

        158. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391

 because GM transacts business in this district, is subject to personal jurisdiction in

 this district, and therefore is deemed to be a citizen of this district. GM has authorized

 dealers in this district, has advertised in this district and has received substantial

 profits from its sales and leases of vehicles in this district. Therefore, a substantial



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 and material part of the events giving rise to these claims occurred in this district

 IV.   FACTUAL ALLEGATIONS

       159. Since 2014, GM has designed, manufactured, distributed, sold, and

 leased the Class Vehicles. GM has sold, directly or indirectly, through dealers and

 other retail outlets, thousands of Class Vehicles in Delaware and nationwide. GM

 warrants and services the Class Vehicles through its nationwide network of

 authorized dealers and service providers.

       A.     The Defect

       160. The wheel is a large metal circle on which the tire is placed. The wheel

 helps create the shape of the tire and allows it to be mounted to the vehicle.

       161. GM equipped the Class Vehicles with cast aluminum alloy rims. Figure

 one, below, shows the OEM rims for the Chevrolet Corvette Grand Sport.




                                        Figure 1




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       162. The Vehicles’ wheels are prone to warping and cracking at extremely low

 mileages. For example, Plaintiffs Robert and Carole Smith’s vehicle was vibrating

 and shimmying immediately after purchase, and Plaintiff Goldberg had to pay

 $4,700 to replace three of his wheels with only approximately 1,100 miles on the

 odometer.

       163. The following complaint to NHTSA describes the circumstance well:

              Noticed a vibration in the car at highway speeds. Took the
              vehicle into the dealer and was told that the wheel was
              bent. Service manager stated that this was happening to
              many Corvettes and was due to the stiffness of the tire and
              the weakness of the factory wheel. GM has denied a claim
              under warranty.

 See paragraph 41(l), infra.

       164. On information and belief, the Wheel Defect occurs because GM, in

 designing and manufacturing the Class Vehicles (which are sub-models of the

 Corvette line), used wheels that are of a cheaper material that is cast, rather than

 forged, and is of insufficient strength, and in an insufficient quantity, to withstand

 the torque and power input from the drivetrain. GM used less material than necessary

 in order to try to save un-sprung weight (i.e., weight that is not borne by the vehicle’s

 suspension). As a result, the rims are not strong enough and crack and deform under

 normal driving conditions.

       165. On information and belief, the defect manifests in the following way:

 The center plate becomes non-axial with outer periphery of the rim at the outboard


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 and inboard rim flanges and bead-seats (i.e., where the rim and tire meet and create

 an air-tight seal). This causes the wheel to rotate with a wobble.

              a) The rim flange of the rim on the inboard and outboard

                  circumferences deforms, thus creating a non-circular or “egg”

                  shape.

              b) The rims crack in the barrel section, between the inner and outer

                  bead seat.

       166. Wobbling conditions, out of round conditions, and deformation of the

 rim flange cause vibration perceptible to the driver through the body of the vehicle

 and through the steering wheel at various speeds. Cracks in the barrel cause a loss

 of air pressure and an unsafe condition and cause the rim to lose strength and become

 vulnerable to failure under loading conditions such as braking.

       167. The problem is widespread. In a section entitled “Wheel Woes,” Car &

 Driver magazine reported that, during the initial stages of Car & Driver’s review of

 a 2017 Chevrolet Corvette Grand Sport, the vehicle suffered three bent rims and a

 $1,119 repair bill:

              Shortly after its first trip to the test track, however, the
              Grand Sport showed signs of an ailment that would dog us
              throughout our time with the car. At just under 6500 miles
              we discovered that three of its wheels were bent. Two were
              repaired, but one was cracked and had to be replaced. In




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                  all, that was an $1119 trip to the Corvette cobbler, none of
                  which was covered by warranty. 2

         168. In all, Car & Driver spent $4,098 on wheel repair and replacement-seven

 repairs and three replacements on the single vehicle they reviewed, for an average

 failure rate of once every 4000 miles.

         169. The Wheel Defect alleged is inherent in and the same for all Class

 Vehicles.

         B.       The Wheel Defect Poses a Serious Safety Concern

         170. The Wheel Defect is material to consumers because it presents a serious

 safety concern. Deformations in the rims progress to cracks, and cracked rims can

 cause the tire to fail and explode while driving, leading to a sudden loss of control

 at speed and a potential collision. In addition, bent rims can cause the vehicle to

 vibrate which makes the vehicle less stable and can cause driver distraction.

         C.       GM Had Superior and Exclusive Knowledge of the Wheel Defect

         171. GM is aware of the Wheel Defect and tells its customers that the wheels

 are not defective and that the cracks and deformations are caused by the drivers. GM

 is also refusing to cover the Wheel Defect under warranty.

         172. Corvette owners communicate through online forums such as

 www.CorvetteForum.com. GM monitors these online forums and communicates



 2
     See Ex. 1.

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 with its customers. For example, on August 31, 2017, a Corvette Grand Sport owner

 wrote:

                There have been a lot of reports of stock wheels bending
                on Grand Sports and Z06s here lately, and I’ve had one of
                my own front wheels bend on a brand new Grand Sport.
                In my situation, there was absolutely no damage, scratch
                or even a mark anywhere—the wheel just went out of
                round with less than 1,000 miles on the car.

                Why is this happening, is Chevy aware of this happening
                on more than an isolated occurrence, and what is being
                done to remedy the situation? 3

          173. On October 18, 2017, GM responded by denying that there had been a

 “rash” of wheel failures, denying the existence of a defect, and blaming the

 customer: “A frequent sequence of events is that a wheel gets bent by a road hazard

 but the damage is initially undetectable to the driver…. Over time fatigue cracks can

 form after thousands or even millions of cycles.”4 With respect to a remedy, GM

 only stated that “we will continuously improve our designs and validation

 procedures based on how the world is changing.”

          174. The fact that GM responded to class members’ complaints online in 2017

 conclusively establishes GM’s knowledge.

          175. To date, GM continues to refuse to cover the Wheel Defect under


 3
  See Exhibit 2, https://www.corvetteforum.com/forums/ask-tadge/4036656-
 asked-grand-sport-z06-wheels-bending.html
 4
  See Exhibit 3, https://www.corvetteforum.com/forums/ask-tadge/4055813-
 answered-grand-sport-z06-wheels-bending.html


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 warranty and has not issued any relief to the customers who have had to pay

 thousands out-of-pocket as a result.

       176. GM also monitors customers’ complaints made to the National Highway

 Traffic Safety Administration (“NHTSA.”) Federal law requires automakers like

 GM to be in close contact with NHTSA regarding potential auto defects, including

 imposing a legal requirement (backed by criminal penalties) compelling the

 confidential disclosure of defects and related data by automakers to NHTSA,

 including field reports, customer complaints, and warranty data. See TREAD Act,

 Pub. L. No. 106-414, 114 Stat.1800 (2000).

       177. Automakers have a legal obligation to identify and report emerging

 safety-related defects to NHTSA under the Early Warning Report requirements. Id.

 Similarly, automakers monitor NHTSA databases for consumer complaints

 regarding their automobiles as part of their ongoing obligation to identify potential

 defects in their vehicles, including safety-related defects. Id. Thus, GM knew or

 should have known of the many complaints about the Wheel Defect logged by

 NHTSA ODI, and the content, consistency, and large number of those complaints

 alerted, or should have alerted, GM to the Wheel Defect.

       178. The following are some examples of the scores of complaints concerning

 the Wheel Defect available through NHTSA’s website, www.safercar.gov. Many of

 the complaints reveal that GM, through its network of dealers and repair technicians,



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 was made aware of the cracked and deformed rims. In addition, the complaints

 indicate that despite having knowledge of the defect and the exact vehicles affected,

 GM blamed the customer and refused to honor its 3-year, 36,000-mile bumper-to-

 bumper warranty.

              a. DATE OF INCIDENT: July 20, 2017
                 DATE COMPLAINT FILED: September 21, 2017
                 NHTSA/ODI ID: 11024830
                 SUMMARY: MY 2016 CORVETTE STARTED HAVING
                 HIGH FREQUENCY VIBRATIONS IN STEERING WHEEL
                 AND INTERIOR PANELS WITH UNDER 7900 MILES OF
                 SERVICE. I COMPLAINED TO THE DEALERSHIP
                 SERVICE DEPARTMENT ABOUT THE PROBLEM AND
                 FOUND FRONT WHEELS TO BE BENT AND COULD NOT
                 BALANCE THE WHEELS PROPERLY. THE DEALERSHIP
                 ADVISED ME TO TAKE MY CORVETTE TO ANOTHER
                 DEALERSHIP THAT HAD BETTER EQUIPMENT THAN
                 THEM. THE SECOND DEALERSHIP INSPECTED MY
                 CORVETTE AND INFORMED ME THAT ALL FOUR
                 WHEELS ARE BENT AND CANNOT BALANCE THEM
                 PROPERLY. NEITHER DEALERSHIP WILL REPLACE THE
                 WHEELS UNDER WARRANTY. THUS FAR, GM AS WELL,
                 WILL NOT REPLACE WHEELS UNDER WARRANTY. I
                 ATTEST THAT I HAVE NOT DRIVEN MY CORVETTE
                 ABNORMALLY NOR HAVE HIT OBSTRUCTIONS OR POT
                 HOLES. I HAVE NEVER DRIVEN MY CORVETTE ON
                 ROUGH, GRAVEL OR DIRT ROADS. I DO BELIEVE THIS
                 IS A VERY SERIOUS SAFETY PROBLEM THAT
                 CHEVROLET AND GM SHOULD ADDRESS BEFORE
                 SOMEONE HAS A TERRIBLE ACCIDENT BECAUSE OF
                 THESE WHEELS!

              b. DATE OF INCIDENT: August 19, 2017
                 DATE COMPLAINT FILED: September 20, 2017
                 NHTSA/ODI ID: 11024700
                 SUMMARY: BOTH LEFT WHEELS ON MY 2017 GRAND
                 SPORT BENT IN NORMAL DRIVING OVER NORMAL
                 ROADS. IN RESEARCHING THE ISSUE, THIS SEEMS TO
                 BE A RECURRING PROBLEM WITH THE STOCK
                 WHEELS ON 2017-2018 CORVETTE GRAND SPORTS AND
                 2015-18 CORVETTE Z06S. GM AGREED TO REPLACE

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                THE FRONT WHEEL, BUT THE DEALER DIDN'T REALIZE
                THE REAR WAS ALSO BENT (NO VISIBLE DAMAGE TO
                EITHER WHEEL, THE WHEELS ARE JUST NOT STRONG
                ENOUGH). GM IS NOW CLAIMING THEY WON'T
                FIX/REPLACE THE REAR WHEEL. CAR VIBRATES
                BECAUSE OF THE BENT WHEEL.

             c. DATE OF INCIDENT: October 13, 2017
                DATE COMPLAINT FILED: October 20, 2017
                NHTSA/ODI ID: 11035178
                SUMMARY: TL* THE CONTACT OWNS A 2015
                CHEVROLET CORVETTE. WHILE THE CONTACT WAS
                HAVING TIRES INSTALLED AT BILL STASEK
                CHEVROLET (700 W DUNDEE RD, WHEELING, IL), HE
                WAS INFORMED THAT ALL THE RIMS WERE CRACKED
                AND THE REAR PASSENGER WHEEL WAS LEAKING.
                THE MANUFACTURER WAS NOTIFIED OF THE
                FAILURES.    THE     FAILURE      MILEAGE WAS
                APPROXIMATELY 13,466.

             d. DATE OF INCIDENT: December 20, 2017
                DATE COMPLAINT FILED: October 18, 2018
                NHTSA/ODI ID: 11141356
                SUMMARY: CRACKED REAR WHEEL. I PURCHASED
                THE CAR USED AND THIS WAS DISCOVERED DURING
                AN INSPECTION.

             e. DATE OF INCIDENT: January 8, 2018
                DATE COMPLAINT FILED: January 10, 2019
                NHTSA/ODI ID: 11166176
                SUMMARY: BOTH OF MY OEM REAR WHEELS
                (SPECTRA GRAY - 10 SPOKE), HAVE DEVELOPED
                CRACKS REQUIRING REPLACEMENT AT MY EXPENSE.
                DESPITE MY CORVETTE BEING ON WARRANTY AND A
                HIGH PERFORMANCE, SPORTS CAR WHICH IS
                REGULARLY       SERVICED,      THE     CHEVROLET
                DEALERSHIP REFUSES TO REPLACE THESE WHEELS,
                EXCEPT AT MY EXPENSE, CITING THAT POOR ROAD
                CONDITIONS IN CALIFORNIA ARE BLAME FOR THE
                FRACTURES, RUNNING HORIZONTALLY ON THE RIM
                LIP. THE FRACTURES CREATE A VERY DANGEROUS
                SITUATION GIVEN HIGH TORQUE LEVELS, LOW
                PROFILE TIRES WITH A WIDE STANCE. THE TIRES AND
                THE SUSPENSION ARE DESIGNED FOR HIGH
                PERFORMANCE, AND HIGH G FORCE, BUT WHEELS

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                ARE APPARENTLY FLAWED FOR THE DESIGNED
                TOLERANCES IMPOSED BY DRIVING A HIGH
                PERFORMANCE CORVETTE. MY CAR RAPIDLY LOSS
                AIR PRESSURE AT FREEWAY SPEEDS AND THE AIR
                PRESSURE WARNING LIGHT ACTIVATED IN BOTH
                OCCASIONS, WARNING OF THE HAZARDOUS
                CONDITION.

             f. DATE OF INCIDENT: February 2, 2018
                DATE COMPLAINT FILED: February 6, 2018
                NHTSA/ODI ID: 11067302
                SUMMARY: I PURCHASED AN OPTIONAL CHROME
                WHEEL UPGRADE WHICH WAS DELIVERED WITH NEW
                VEHICLE. RIGHT REAR WHEEL CRACKED AND LOST
                AIR PRESSURE AFTER 4,000 MILES, LEFT REAR WHEEL
                CRACKED AND LOST AIR PRESSURE AFTER 6,800
                MILES.

             g. DATE OF INCIDENT: June 11, 2018
                DATE COMPLAINT FILED: July 5, 2018
                NHTSA/ODI ID: 11109750
                SUMMARY: BOTH REAR WHEELS DEVELOPED
                CRACKS APPROXIMATELY TWO INCHES LONG FROM
                THE INSIDE EDGE TOWARD THE MIDDLE OF THE
                WHEEL. THE CRACKS IN BOTH WHEELS WERE
                SIMILAR IN SIZE AND LOCATION. MILEAGE WHEN
                NOTICED WAS 24,000. NUMEROUS REPORTS OF THE
                SAME ISSUE ARE BEING REPORTED ON CORVETTE
                RELATED                WEB            SITES.

             h. DATE OF INCIDENT: August 4, 2018
                DATE COMPLAINT FILED: September 27, 2018
                NHTSA/ODI ID: 11131995
                SUMMARY: HAD 3 OF THE 4 RIMS BEND, PER THE
                DEALER DIAGNOSIS, FOR NO APPARENT REASON. CAR
                HAD 2,000 MILES ON IT. IT SEEMS TO BE A SYSTEMIC
                PROBLEM. THERE ARE MULTIPLE POSTS ABOUT THIS
                ISSUE, ALONG WITH THE WHEELS CRACKING FOR NO
                REASON, AT THE FOLLOWING INTERNET FORUM;

                HTTPS://WWW.CORVETTEFORUM.COM/FORUMS/C7-
                GENERAL-DISCUSSION-142/

                IN MY INSTANCE THE CAR DROVE FINE THE EVENING
                BEFORE (I'D ACTUALLY PICKED IT UP FROM THE

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                DEALER THE SAME DAY AS THEY REPAIRED
                ANOTHER ISSUE). GOT IN THE CAR THE NEXT
                MORNING TO GO TO WORK AND NOTICED THE BAD
                VIBRATION. I THOUGHT A WHEEL WEIGHT HAD
                FALLEN OFF. TOOK IT TO THE DEALER AND AFTER
                DIAGNOSIS THEY INFORMED ME THAT 3 OF THE 4
                RIMS WERE BENT (BOTH PASSENGER SIDE AND
                DRIVER REAR).

             i. DATE OF INCIDENT: August 5, 2018
                DATE COMPLAINT FILED: October 18, 2018
                NHTSA/ODI ID: 11141268
                SUMMARY: GM IS PUTTING DEFECTIVE WHEELS ON
                GRAND SPORT AND Z06 CORVETTES. THESE WHEELS
                WILL NOT WITHSTAND NORMAL DRIVING ON ANY
                HIGHWAY. THE ISSUE IS THAT THESE WHEELS BEND
                ON IMPACT, BE IT EXPANSION JOINTS ALONG
                BRIDGES OR SMALL IMPERFECTIONS IN THE
                ROADWAY THAT OTHER CARS HANDLE EVERY DAY.

                THE ISSUE IS THAT GM SAYS THESE ARE ROAD
                HAZARDS AND THEY ARE NOT RESPONSIBLE. THE
                WHEELS WERE NOT ENGINEERED TO TAKE NORMAL
                DRIVING ON ROADS ANYWHERE.

                THIS STARTED IN JUNE AFTER A TRIP I TOOK AND THE
                CAR PICKED UP A VIBRATION. TOOK IT TO S DEALER
                AND HE SAID THE WHEELS WERE BENT AND NOT
                COVERED UNDER WARRANTY AND WOULD SELL ME
                NEW ONES 2 FRONT WHEELS FOR ABOUT $1800. I THEN
                TOOK THE CAR HOME AND TOOK THE FRONT WHEELS
                OFF AND HAD THEM STRAIGHTENED AT A COST OF
                $110 EACH. I THOUGHT THAT TOOK CARE OF THE
                PROBLEM SO WE DROVE THE CAR ON ANOTHER TRIP
                TO NOVA SCOTIA, CANADA. WE WERE ON A TRIP AND
                LOST AIR IN THE LEFT FRONT TIRE (PICTURE BELOW)
                IT HAD WORN ALL THE WAY DOWN THROUGH ALL
                THE BELTS DUE TO THE WHEELS BEING BENT AGAIN.
                SEE ALL 3 PICTURES.

                THESE WHEELS ARE A SAFETY HAZARD FOR THESE
                CARS TO USE ON PUBLIC HIGHWAYS AS THEY
                DEVELOP CRACKS AND CAUSE SEVERE TIRE WEAR IN
                SHORT PERIODS OF TIME.


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                I HAD ANOTHER SET OF BRAND NEW WHEELS AT
                HOME. I HAD TO COME BACK HOME AND GET THEM
                AND TAKE THEM BACK TO CANADA TO GET MY CAR
                HOME. ON THE 1700 MILE TRIP BACK THE CAR
                DEVELOPED A VIBRATION AND WHEN I TOOK IT BACK
                TO MY TIRE DEALER HE SAID THAT THE RIGHT FRONT
                WHEEL WAS BENT.

                THE BIG ISSUE IS GM DOES NOT TRACK THESE ISSUES
                IF YOU DO NOT BUY THE NEW WHEELS FROM THEM
                AND IT GOES UNREPORTED. A FRIEND OF MINE WHO
                HAS LESS THAN 5000 MILES ON HIS 2019 NEEDS TO
                BUY 4 WHEELS AND 4 TIRES AND THE DEALER EVEN
                TOLD US THERE WERE 2 PEOPLE THE WEEK BEFORE
                THAT HAD BENT RIMS ON I-71.

             j. DATE OF INCIDENT: August 25, 2018
                DATE COMPLAINT FILED: November 2, 2018
                NHTSA/ODI ID: 11145056
                SUMMARY: AFTER DRIVING THE CAR THE TIRE
                PRESSURE WARNING CAME ON AND WE STARTED
                NOTICING THE TIRE PRESSURE LEAKING ON THE
                RIGHT REAR OF MY WIFE GRAND SPORT CORVETTE,
                THE WHEEL WAS TAKEN OFF TO INVESTIGATE THE
                CAUSE OF LEAK. IT WAS DISCOVERED THAT THERE
                WAS A CRACK ALONE THE BEAD RING AREA OF THE
                INSIDE DRUM AREA OF THE WHEEL. THE DEALERSHIP
                REFUSED TO COVER UNDER WARRANTY AND DIDN'T
                OFFER REPAIRS. THE WHEEL WAS TAKEN TO A
                REPUTABLE WHEEL REPAIR SHOP WITH A
                GUARANTEE ON THE REPAIR. AFTER DRIVING THE
                CAR APPROXIMATELY 1000 MILE THE SAME WHEEL
                STARTED TO LEAK AGAIN. AFTER REMOVING THE
                WHEEL     THERE       WAS     ANOTHER    CRACK
                APPROXIMATELY 180 DEGREES FROM THE REPAIRED
                CRACK. AFTER REFUSING TO DRIVE THE VEHICLE TO
                THE DEALERSHIP WITH A CRACKED WHEEL, IT WAS
                REMOVED FROM THE CAR AND TAKEN TO THE
                DEALERSHIP AND ALSO CALLED THE GM PRIORITY
                CARE AT 866-636-2273. GM PRIORITY CARE GAVE ME
                THE CASE NUMBER 8-4778215369 . THE DEALERSHIP
                STILL REFUSED TO COVER THE WHEEL UNDER
                WARRANTY BUT OFFERED TO SELL ME ANOTHER
                WHEEL FOR $250. THE VEHICLE CURRENTLY HAS
                19000MILES AND IS MY WIFE'S DAILY DRIVER FOR

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                WORK. THE CAR HAS NOT BEEN ABUSED OR
                INVOLVED IN ANY ACCIDENTS. IT HAS BEEN PAINTED
                DUE TO SCRATCHES FROM TORNADO WIND DAMAGE.
                I TOOK PICTURES BEFORE THE REPAIR WAS MADE
                AND ADDITIONAL PICTURE OF THE SECOND CRACK IN
                THE SAME WHEEL. IN MY OPINION THE DEALERSHIP
                SHOULD HAVE REPLACED THE WHEEL WHEN THE
                FIRST CRACK OCCURRED. NOW I HAVE NO
                CONFIDENCE IN THE QUALITY OF THE GRAND SPORT
                WHEELS AND WILL REFUSE THEIR OFFER OF GETTING
                A WHEEL FOR $250. AFTER CHECKING WITH AN
                AFTERMARKET       WHEEL      COMPANY       FOR
                REPLACEMENT WHEELS, THEY NOTIFIED ME THAT
                GM IS AWARE THERE IS AN ISSUE WITH THE GRAND
                SPORT WHEEL AND THAT I SHOULD TAKE IT TO THE
                DEALERSHIP FOR REPLACEMENT. THE CAR IS
                CURRENTLY NOT SAFE TO DRIVE UNTIL I GET A
                REPLACEMENT WHEEL. SEE ATTACHED PHOTOS OF
                THE FIRST AND SECOND CRACK IN THE WHEEL.

             k. DATE OF INCIDENT: September 14, 2018
                DATE COMPLAINT FILED: September 26, 2018
                NHTSA/ODI ID: 11131647
                SUMMARY: WHEN I TOOK THE CAR INTO A DISCOUNT
                TIRE STORE TO HAVE NEW TIRES PUT ON THE BACK
                AT ABOUT 15,600 MILES ON THE CAR CRACKS WERE
                FOUND ON THE INSIDE RIM WHERE TIRE BEAD SEALS
                OF   BOTH     BACK    WHEELS.    PROBLEM   WAS
                IMMEDIATELY REPORTED TO DEALER WHO VERIFIED
                CRACKS, BUT DEALER AND GM REFUSED TO REPLACE
                UNLESS I PURCHASE NEW WHEELS FOR DISCOUNTED
                PRICE OF $1,100.00 FOR REAR WHEELS ONLY. SPOKE
                WITH REPRESENTATIVES OF GM ENGINEERING AND
                FOUND PROBLEM IS A KNOWN ISSUE WITH REAR
                WHEEL CRACKING GOING BACK SEVERAL YEARS
                WITH CAST CHINA MADE WHEELS ON CORVETTE Z06
                AND ZR1 MODELS. I WAS TOLD GM CORVETTE CHIEF
                ENGINEER HAS POSTED INFORMATION ON THE
                WHEEL CRACKING PROBLEM ON CORVETTE FORUM
                AND ONLY WAY TO NOT HAVE WHEEL CRACKING
                PROBLEM ON REPLACEMENT WHEELS WOULD BE TO
                NOT DRIVE ON ROADS WITH BUMPS OR POT HOLES.
                THEY AGREED THIS WAS NOT REALISTIC BUT GM
                STANDS FIRM ON PAYMENT FOR NEW WHEELS WITH
                NO ASSURANCE THIS WILL SOLVE THE PROBLEM. MY

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                COMPLAINT WAS CLOSED AT GM AS CUSTOMER
                DECLINED REDUCED PRICE OFFER AND IS
                DISSATISFIED. CRACKING WHEELS SHOULD BE A
                MAJOR SAFETY CONCERN AND ESPECIALLY WITH
                CARS THAT HAVE THIS MUCH POWER TO THE WHEELS
                AND ARE CAPABLE OF THE SPEEDS THESE MODEL
                CARS CAN OBTAIN. THIS IS TOTALLY IRRESPONSIBLE
                OF GM TO ALLOW THIS TO HAPPEN AND NOT RECALL
                THE WHEELS AND REPLACE THEM WITH ONES THAT
                DO NOT CRACK, ESPECIALLY ON CARS WITH SUCH
                LOW MILEAGE.

             l. DATE OF INCIDENT: September 25, 2018
                DATE COMPLAINT FILED: December 17, 2018
                NHTSA/ODI ID: 11161931
                SUMMARY: NOTICED A VIBRATION IN THE CAR AT
                HIGHWAY SPEEDS. TOOK THE VEHICLE INTO THE
                DEALER AND WAS TOLD THAT THE WHEEL WAS
                BENT. SERVICE MANAGER STATED THAT THIS WAS
                HAPPENING TO MANY CORVETTES AND WAS DUE TO
                THE STIFFNESS OF THE TIRE AND THE WEAKNESS OF
                THE FACTORY WHEEL. GM HAS DENIED A CLAIM
                UNDER WARRANTY.

             m. DATE OF INCIDENT: October 17, 2018
                DATE COMPLAINT FILED: December 13, 2018
                NHTSA/ODI ID: 11161140
                SUMMARY: FOUR REAR WHEELS HAVE CRACKED
                LEAKING AIR AND HAVE NO EXTERNAL DAMAGE
                FROM ROAD HAZARDS. TWO WERE REPLACED UNDER
                THE NEW CAR WARRANTY AND TWO WERE
                REPLACED UNDER GM'S PURCHASED EXTENDED
                WARRANTY. THE FIRST ONE, RIGHT REAR, CRACKED
                ON 11/19/16 WITH 18,843 MILES ON THE CAR. THE
                SECOND ONE,LEFT REAR, CRACKED ON 8/23/17 WITH
                24,332 MILES ON THE CAR. THE THIRD ONE,LEFT REAR,
                CRACKED ON 8/14/18 WITH 34,854 MILES ON THE CAR.
                THE FOURTH ONE, RIGHT REAR, CRACKED ON 10/17/18
                WITH 39,501 MILES ON THE CAR. CALLING THE GM
                HOT LINE I WAS TOLD TO CONTACT MY GM SERVICE
                DEPARTMENT IN REGARDS TO THIS ISSUE. THEY
                TOLD ME THE WHEEL WAS DESIGNED TO CRACK TO
                PROTECT THE REAR SUSPENSION !!! THIS IS A HUGE
                SAFETY ISSUE. WHAT WOULD HAPPEN IF THAT
                CRACK LEAD TO A WHEEL FAILURE AT SPEED? I HAVE

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                ALL MY GM SERVICE STATEMENTS TO BACK THESE
                FACTS UP. GM NEEDS TO CORRECT THE PROBLEM!

             n. DATE OF INCIDENT: October 31, 2018
                DATE COMPLAINT FILED: January 5, 2019
                NHTSA/ODI ID: 10954629
                o.SUMMARY: CRACKED WHEEL AFTER DRIVING
                OVER SMALL POTHOLE ON THE INTERSTATE
                CAUSING CRACK IN RIM AND SLOW LOSS OF TIRE AIR
                PRESSURE. CRACK IN REAR WHEEL INBOARD
                FLANGE, WHEEL WAS NOT BENT OR WARPED.

             p. DATE OF INCIDENT: November 1, 2018
                DATE COMPLAINT FILED: November 14, 2018
                NHTSA/ODI ID: 11151459
                SUMMARY: TL* THE CONTACT OWNS A 2016
                CHEVROLET CORVETTE. THE CONTACT STATED THAT
                THERE WAS A FAILURE CONCERNING THE REAR OEM
                FACTORY RIMS. THE CONTACT STATED THAT THE
                METAL WAS NOT STRUCTURALLY SOUND AND THERE
                WERE CRACKS IN THE REAR PASSENGER SIDE WHEEL.
                THE FAILURE LED TO LOW TIRE PRESSURE. THE
                DEALER (GEORGE MATICK CHEVROLET, 14001
                TELEGRAPH RD, REDFORD CHARTER TWP, MI 48239,
                (313) 531-7100) REPLACED THE OEM FACTORY RIM.
                THE DEALER ALSO MENTIONED THAT THEY
                RECEIVED SEVERAL COMPLAINTS FOR THE SAME
                MODEL, BUT VARIOUS YEARS, CONCERNING THE OEM
                REAR RIMS CRACKING AND THE LOW TIRE PRESSURE.
                THE MANUFACTURER WAS NOTIFIED OF THE
                FAILURE. THE FAILURE MILEAGE WAS NOT
                AVAILABLE. *TT *TR

             q. DATE OF INCIDENT: November 1, 2018
                DATE COMPLAINT FILED: November 2, 2018
                NHTSA/ODI ID: 11145000
                SUMMARY: 2017-2019 CORVETTE GRAND SPORT HAS
                A HIGH NUMBER OF REPORT INSTANCES OF RIMS
                CRACKING AND BENDING THAT FORUM MEMBERS
                FEEL IS NOT NORMAL, NOT DUE TO HITTING
                POTHOLES OR ANYTHING. I HAD NEVER HIT ANY
                POTHOLES OR ANYTHING HARD, AND WHILE HAVING
                MY TIRES CHANGED, THE SHOP SHOWS ME A CRACK
                IN THE RIM. ON THE BLOG SITE "CORVETTE FORUM",
                THERE'S NUMEROUS PEOPLE AND PICTURES OF

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                PEOPLE SHOWING THEIR CRACKED OR BENT RIMS.
                GM IS TELLING PEOPLE THIS IS NORMAL WEAR AND
                TEAR AND NOT DEALING WITH IT. THIS IS NOT
                NORMAL. SEVERAL PEOPLE HAVE REPORTED
                MULTIPLE TIRES BENT OR CRACKED. PLEASE
                INVESTIGATE. I'M SURE GM DOES NOT HAVE
                ACCURATE DATA, PEOPLE MOST PEOPLE REPORT THE
                DEALER TURNS THEIR CLAIM AWAY AS NOT BEING
                COVERED, SO IT'S NOT GETTING FULLY REPORTED.
                THIS APPEARS TO BE A PROBLEM ONLY WITH THE
                GRAND SPORT MODEL.

             r. DATE OF INCIDENT: December 20, 2018
                DATE COMPLAINT FILED: December 21, 2018
                NHTSA/ODI ID: 11163031
                SUMMARY: I HAD A SLOW LEAK IN A REAR TIRE ON A
                Z06 WHEEL. THE TIRE SHOP FIXED THE LEAK AND
                INFORMED ME THE WHEEL WAS BENT. THE CAR WAS
                BOUGHT NEW AND HAS ONLY 2000 MILES ON THE
                ODO. I CANNOT RECALL HITTING A LARGE POTHOLE
                OR RUNNING OVER ANYTHING

             s. DATE OF INCIDENT: January 2, 2019
                DATE COMPLAINT FILED: February 13, 2019
                NHTSA/ODI ID: 11179916
                SUMMARY: WE HAVE HAD TO REPAIR THEN REPLACE
                2 REAR CRACKED RIMS IN THE 1.5 YEARS WE HAVE
                OWNED THIS VEHICLE. THE FIRST ONE WAS 3 MONTHS
                AFTER PURCHASING IT AND THE SECOND ONE WAS IN
                JANUARY 2019. AFTER NOTICING BOTH TIMES THAT
                FIRST THE LEFT TIRE WAS LOSING AIR A HAIRLINE
                CRACK WAS NOTICED ON THE INSIDE OF THE RIM. WE
                HAD IT REPAIRED AND IT DID NOT LAST SO FOR
                SAFETY REASONS WE NEEDED TO REPLACE IT. THE
                SAME THING HAPPENED WITH THE RIGHT SIDE IN
                LATE 2018. IT WAS AGAIN SUGGESTED WE REPAIR IT,
                THEN AGAIN THE REPAIR DID NOT HOLD AND WE
                NEEDED TO REPLACE.

             t. DATE OF INCIDENT: January 14, 2019
                DATE COMPLAINT FILED: January 29, 2019
                NHTSA/ODI ID: 11172809
                SUMMARY: 2 BENT WHEELS UNDER (BETTER THAN)
                NORMAL DRIVING CONDITIONS ON MY 2017
                CORVETTE GRAND SPORT. GARAGE KEPT/COVERED.

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                PRISTINE 2-YEAR-OLD CAR WITH 7000 MILES. SERVICE
                DEPT ALERTED ME TO THE BENDS DURING
                SCHEDULED      MAINTENANCE        AND      WHILE
                INVESTIGATING A PULSING PROBLEM IN THE FRONT
                BRAKE ROTORS.

                THE VEHICLE IS HARDLY EVER DRIVEN, HAS NEVER
                SEEN    ROUGH      ROADS/CITY    STREETS/BAD
                WEATHER/ETC. THE VEHICLE HAS NEVER BEEN
                "TRACKED" OR OTHERWISE ABUSED. THIS IS A
                "SUMMER ONLY," WEEKEND VEHICLE THAT HAS
                BEEN IMPECCABLY MAINTAINED.

                THERE         ARE         NO          VISIBLE
                SCUFFS/SCRAPES/BENDS/BULGES OR OTHER DAMAGE
                TO THE TIRES OR WHEELS. NEVER HIT ANY
                POTHOLE/ROAD HAZARD/DEBRIS, *EVER.*

                BASED ON RECENT ONLINE RESEARCH AND
                INFORMATION FROM THE SERVICE MANAGER, I'M
                NOW CONCERNED THAT THESE WHEELS WILL
                TOTALLY CRACK OR OTHERWISE DEFORM WHILE
                DRIVING. THIS IS AN ACCIDENT WAITING TO HAPPEN.

                AFTER OPENING A CASE (9-5012193448) AND OVER AN
                HOUR ON THE PHONE, GM HAS DENIED A WARRANTY
                CLAIM AND WILL NOT FURTHER DISCUSS/ESCALATE
                THIS ISSUE. GM WOULD NOT PROVIDE A DESCRIPTION
                OR COPY OF THE METHOD USED TO DETERMINE
                "DEFECT VS.DAMAGE", OR A WRITTEN COPY OF THE
                EVALUATION MADE BY THE REGIONAL WARRANTY
                REP.

                GM REFUSES TO DISCLOSE ANY INFORMATION
                REGARDING OTHER INSTANCES OF THIS PROBLEM,
                WILL NOT REPLACE/REPAIR THE DEFECTIVE WHEELS,
                AND WILL NOT PAY FOR A SUITABLE/COMPARABLE
                3RD PARTY REPLACEMENT.

                I'VE ALSO READ ABOUT OTHER OWNERS HAVE THE
                SAME ISSUES VIA THESE LINKS:

                HTTPS://WWW.CARANDDRIVER.COM/REVIEWS/A2370
                5281/2017-CHEVROLET-CORVETTE-GRAND-SPORT-
                RELIABILITY/

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                HTTPS://WWW.CORVETTEFORUM.COM/FORUMS/C7-
                GENERAL-DISCUSSION/4161059-2018-GRAND-SPORT-
                CRACKED-RIM.HTML

                HTTP://WWW.CARPROBLEMZOO.COM/CHEVROLET/CO
                RVETTE/WHEEL-PROBLEMS.PHP

             u. DATE OF INCIDENT: January 19, 2019
                DATE COMPLAINT FILED: January 21, 2019
                NHTSA/ODI ID: 11171195
                SUMMARY: THE WHEELS ON MY VEHICLE ARE
                CRACKED ON THE REAR PASSENGER SIDE. I PICKED
                UP MY (NEW) CAR FROM LAMARQUE AUTO DEALER
                IN NEW ORLEANS AND DROVE HOME TO BEAUMONT.
                WHEN I GOT TO BEAUMONT, THE LOW TIRE PRESSURE
                WARNING CAME ON. SO TODAY (1-21-19) I TOOK CAR
                TO DISCOUNT TIRE AND THEY FOUND THAT MY
                WHEEL IS CRACKED. I' ASSUMING IT CRACKED WHILE
                DRIVING OVER 200 MILES ON I-10 HEADED HOME.

             v. DATE OF INCIDENT: January 27, 2019
                DATE COMPLAINT FILED: February 20, 2019
                NHTSA/ODI ID: 11181387
                SUMMARY:     2017    CORVETTE      GRAND SPORT,
                PURCHASED IN JUNE OF 2017, ONLY USED ON
                WEEKEND AND THE CURRENT MILEAGE IS ONLY 930.

                JUST NOTICED A VIBRATION IN THE FRONT END
                WHEN TRAVEL ON HIGHWAY AT SPEED 55+.

                BRING THE CAR TO THE DEALERSHIP FOR INSPECTION
                AND THE SERVICE MANAGER INFORM ME ALL 4
                WHEELS HAS BEEN BEND AND NEED TO BE REPLACE.

                w. FILE A CASE (9-5019078980) WITH GM CUSTOMER
                CARE CENTER AND AFTER 1 WEEK, GM CENTER
                CALLED AND TOLD ME THIS IS NOT COVER UNDER
                THE FACTORY WARRANTY. VERY DISAPPOINT AND
                LOOSING TRUST IN GM PRODUCT RELATED TO
                QUALITY, RELIABILITY AND SAFETY CONCERN FOR
                THE CONSUMERS.

                THIS PROBLEM WITH THE FACTORY WHEEL BENDING
                OR CRACKING HAS BEEN REPORT AND LISTED IN

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                SEVERAL CORVETTE FORUM AND MOST ARE
                RELATED TO THE 2017-2019 GRAND SPORT MODEL.

                HOPEFULLY THERE WILL BE AN INVESTIGATION
                OPEN SOON TO PREVENT ANY FURTHER DAMAGE
                CAUSING SERIOUS ACCIDENT SIMILAR TO THE AIR
                BAG PROBLEMS.

                x.DATE OF INCIDENT: February 22, 2019
                DATE COMPLAINT FILED: March 1, 2019
                NHTSA/ODI ID: 11183573
                SUMMARY: ON OR ABOUT SEPTEMBER 11, 2018 I
                NOTICED MY RIGHT FRONT TIRE WAS LOW ON AIR. I
                TOOK IT TO LES SCHWAB TIRE AND THEY REPAIRED
                A LEAK FROM A SCREW. A COUPLE OF DAYS LATER I
                NOTICED THE TIRE WAS STILL GOING LOW I TOOK IT
                BACK AND THEY INFORMED ME THAT IT HAD A
                CRACKED WHEEL. I PURCHASED A NEW WHEEL FROM
                CHEVROLET AND HAD LESS SCHWAB INSTALL IT FOR
                ME . I JUST RECENTLY 2/22/2019 PUT NEW TIRES ON
                THE CAR AND THE DEALERSHIP NOTED THE BRAND
                NEW WHEEL I PUT ON THE RIGHT REAR HAS CRACKS
                IN IT NOW AS WELL AS THE LEFT REAR WHEEL WHICH
                IS LOSING AIR. THESE WHEELS ARE EXPENSIVE I
                BELIEVE THEY RETAIL FOR $800 EACH AT THE
                DEALER AND ARE DEFECTIVE AND DANGEROUS.
                MOST OF OUR MILES ARE HIGHWAY MILES DRIVING
                BETWEEN SAN JOSE CALIFORNIA AND ELK GROVE
                CALIFORNIA BETWEEN MY OFFICES.

             y. DATE OF INCIDENT: March 1, 2019
                DATE COMPLAINT FILED: March 2, 2019
                NHTSA/ODI ID: 11183598
                SUMMARY: FACTORY WHEELS CRACKED FROM
                NORMAL DRIVING ON THE INNER LIP, TIRE MECHANIC
                ADVISED HE'S SEEN MANY OF THESE ON THE Z06
                WHEELS AND IT'S A KNOWN PROBLEM HOWEVER GM
                WON'T COVER THE DEFECTIVE WHEELS UNDER
                WARRANTY. THE CRACKED WHEEL CAUSES A SLOW
                LEAK END EVENTUALLY CAN BREAK IF GONE
                UNDETECTED RESULTING IN A LOSS OF CONTROL OF
                THE VEHICLE.

             z. DATE OF INCIDENT: March 18, 2019
                DATE COMPLAINT FILED: April 10, 2019

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                  NHTSA/ODI ID: 11195307
                  SUMMARY: CORVETTE REAR WHEEL WAS LOSING
                  AIR SO INSPECTED TIRES AND FOUND NO HOLES.
                  WENT TO CORVETTE FORUM TO LEARN THIS IS A
                  KNOWN PROBLEM ON Z06 AND GRAND SPORTS.
                  SEEMS GM HAS A PROBLEM WITH CRACKING. MY
                  CRACK IS EXACTLY WHAT THE FORUM MEMBERS
                  HAVE. HAIRLINE CRACK IN THE RIM ON THE NON-HUB
                  SIDE. THIS IS A SAFETY ISSUE AS THE RIM COULD
                  COME APART AT SPEED AND CAUSE A SERIOUS
                  ACCIDENT. I HAVE NO OTHER DAMAGE TO THE
                  WHEEL AND HAVE NOT HAD ANY CURB DAMAGE. I
                  BABY THIS CAR AND THE SAME CRACK THAT MANY
                  OTHERS HAVE EXPERIENCED APPEAR.

 Customer Complaints on Third-Party Websites

       179. Consumers similarly complained about the defect on various online

 forums. Below are some examples.


             a.     August 31, 2017: There have been a lot of reports of stock
                    wheels bending on Grand Sports and Z06s here lately, and
                    I've had one of my own front wheels bend on a brand new
                    Grand Sport. In my situation, there was absolutely no
                    damage, scratch or even a mark anywhere - the wheel just
                    went out of round with less than 1000 miles on the car.

                    Why is this happening, is Chevy aware of this happening on
                    more than an isolated occurrence, and what is being done to
                    remedy the situation? Will you improve the strength of these
                    Chinese-made wheels and offer a recall/replacement?
                    (Available at https://www.corvetteforum.com/forums/ask-
                    tadge/4036656-asked-grand-sport-z06-wheels-
                    bending.html)

             b.     September 13, 2017: I have 3 bent and one broken wheel and
                    have never hit anything hard enough to do this kind of
                    damage. Dealer did not diagnose the problem however did
                    tell me to stop driving in sport mode. (Id.)



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             c.    September 20, 2017: In for a response. We have had a few
                   customers and a trade-in (all C7 Z's) with 3 or 4 bent wheels
                   per car. Thankfully we have sourced a company that will
                   repair the wheels, much cheaper than replacing. This is
                   clearly a defect if this is as common as it seems. (Id.)

             d.    October 20, 2017: I have several [bent] rims, probably
                   seven, I’ll have to count all of them. They are all in the rear
                   and none of them were from hitting anything that is worse
                   than any other expansion joint or imperfection in the road.
                   I’m very careful not to hit potholes. The roads I travel on are
                   actually     in   very     good     shape.    (available     at
                   https://www.corvetteforum.com/forums/c7-general-
                   discussion/4056471-have-you-had-a-wheel-
                   bend.html#post1595799836)

             e.    October 20, 2017: Five bent wheels within the first 2,700
                   miles. Currently have 6,700 miles on my C7Z. All were bent
                   on public streets. The first four were all bent at the same time
                   from a pothole that was kind of hidden in the shadows and I
                   tried to straddle at about 35 mph, it didn't work. The fifth was
                   a very minor bump coming off a freeway bridge at 55 mph.
                   Couldn't feel any vibration until 45+ mph with any of these.
                   (Id.)

             f.    October 22, 2017: Fast forward several months, I return to
                   the same dealership regarding the vibration issue which had
                   gotten progressively worse. At that time, the dealership
                   informed me that all four rims were bent. I’ve since heard
                   that driving in Sport mode could result in bent wheels.
                   Available at (Id.)

             g.    May 8, 2018: Yes...I have just been informed by my dealer
                   that My C7 Z06 has two bent wheels.

                   They caused the car to have a rythmic vibration. Only 3000
                   miles and no evidence of damage and I have no recollection
                   of any road hazards hit. I noticed the vibration right after
                   taking a very hard off ramp ! (Id.)

             h.    June 20, 2018: 2 front wheels bent on a 2017 GS. (Id.)


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             i.    June 20, 2018: I took my 2017 GS in today for a vibration.
                   They say all four wheels are bent! (Id.)

             j.    June 24, 2018: I had a shimmy in the steering wheel on my
                   2017 GS. It seems I had 3 bent wheels and a cracked wheel.
                   Insurance company purchased through the dealer is being a
                   real pain. They want to give me a $650 wheel for the one that
                   was cracked even though the GM price is over $900 for the
                   Chrome clad. The other 3 have been straightened and are
                   perfect. Now to fight for a GM wheel and an alignment….
                   (Id.)

             k.    June 27, 2018: The verdict is in, they tell me that 3 of the
                   wheels are BENT?!? I haven't even hit as much as a pothole
                   and 3 of the 4 wheels are bent?!?! WTF?!?!

                   The LR wheel and both Right (Front and Rear) are bent
                   according to the dealer. They said that one of the right ones,
                   I'm so pissed I don't even remember which one they told me,
                   was so bent that you didn't have to spin it to see it. And OF
                   COURSE they are not covered under warranty. (Id.)

             l.    June 28, 2018: 2018 GS had all 4 wheels bent and a cracked
                   one also, I believe from potholes at highway speeds. Drove it
                   from Maryland to Colorado. Put new Z06 style wheels on and
                   waiting for an answer from the T&W insurance. Couldn’t
                   wait for them to make a decision and not drive my car. Now
                   it rides fantastic. (Id.)

             m.    October 11, 2018: I have a 2017 GrandSport Corvette, 10K
                   miles. Purchased 10/20/17. I have bent a total of 6 rims. First
                   2 rims were bent in May. All 4 rims were bent in June.

                   My insurance replaced the first 2 bent rims with new ones. I
                   hit a small pothole on the highway. I was shock that the rims
                   bent so easy. The next month I bent all 4 rims, paid $700 to
                   get the 4 bent rims straighten, trying to save money. The 4
                   rims later kept re-bending so I lost my money. I ended up just
                   purchasing forged rims from Cray. I have owned 3 corvettes;
                   I have never bent rims until I purchased this car. Corvette
                   should be ashamed of themselves putting cheap rims on a car


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                    that cost this much money. All the C7 (GS, Z06) owners
                    should get together to file a case action suit against them.
                    That is the only way to get someone to listen. (Id.)

              n.    November 16, 2018: Three bent GS wheels. Don't use Sport
                    mag ride setting anymore. One wheel straightened and bent
                    again. Dealer (Penske) wouldn't cover it. Replacement wheel
                    from Midwest $ 485 + shipping each. These wheels are
                    noodles! (Id.)

              o.    November 16, 2018: My 4 bent rims had no tire damage, all
                    rims were bent on inside bead, no rim damage other than
                    being egg shaped, no tire or rim damage tells me the rims are
                    not up to what roads in the USA are like. (Id.)

              p.    November 16, 2018: Bought my 2016 Z with 30K miles and
                    a cracked rear wheel was found at inspection. (Id.)

              q.    November 26, 2018: Left Rear, Right Front, and Right Rear,
                    on a Grand Sport Collector Edition. (Id.)

       180. GM had superior and exclusive knowledge of the Wheel Defect and

 knew or should have known that the defect was not known or reasonably

 discoverable by Plaintiffs and Class Members before they purchased or leased the

 Class Vehicles.

       181. Plaintiffs are informed and believe and based thereon allege that before

 Plaintiffs purchased their respective Class Vehicles, and since 2015, GM knew about

 the Wheel Defect through sources not available to consumers, including pre-release

 testing data, early consumer complaints to GM and its dealers, testing conducted in

 response to those complaints, high failure rates and replacement part sales data, and

 other aggregate data from GM dealers about the problem.



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       182. GM is experienced in the design and manufacture of consumer vehicles.

 As an experienced manufacturer, GM conducts tests, including pre-sale durability

 testing, on incoming components, including the wheels, to verify the parts are free

 from defect and align with GM’s specifications.5 Thus, GM knew or should have

 known that the subject wheels were defective and prone to put drivers in a dangerous

 position due to the inherent risk of the defect.

       183. Additionally, GM should have learned of this widespread defect from the

 sheer number of reports received from dealerships and from customer complaints

 directly to GM. GM’s customer relations department collects and analyzes field data

 including, but not limited to, repair requests made at dealerships, technical reports

 prepared by engineers who have reviewed vehicles for which warranty coverage is

 being requested, parts sales reports, and warranty claims data.

       184. Defendant’s warranty department similarly analyzes and collects data

 submitted by its dealerships in order to identify trends in its vehicles. It is

 Defendant’s policy that when a repair is made under warranty the dealership must

 provide GM with detailed documentation of the problem and the fix employed to

 correct it. Dealerships have an incentive to provide detailed information to GM,


 5
   See Exhibit 4, Akweli Parker, How Car Testing Works, HowStuffWorks.com,
 http://auto.howstuffworks.com/car-driving-safety/safety-regulatory-devices/car-
 testing.html (“The idea behind car testing is that it allows manufactures to work
 out all the kinks and potential problems of a model before it goes into full
 production.”) (last viewed September 8, 2020).

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 because they will not be reimbursed for any repairs unless the justification is

 sufficiently detailed.

         185. The existence of the Wheel Defect is a material fact that a reasonable

 consumer would consider when deciding whether to purchase or lease a Class

 Vehicle. Had Plaintiffs and other Class Members known of the Wheel Defect, they

 would have paid less for the Class Vehicles or would not have purchased or leased

 them.

         186. On information and belief, the Wheel Defect has been so prevalent that

 the Wheels at issue have been subject to multiple months-long back orders for

 replacements, as was experienced by Plaintiff Williams.

         187. Reasonable consumers, like Plaintiff, reasonably expect that a vehicle’s

 wheels are safe, will function in a manner that will not pose a safety risk, and are

 free of defects. Plaintiffs and Class Members further reasonably expect that GM will

 not sell or lease vehicles with known safety defects, such as the Wheel Defect, and

 will disclose any such defects to its consumers when it learns of them. They did not

 expect GM to fail to disclose the Wheel Defect to them and to continually deny it.

         D.    GM Has Actively Concealed the Wheel Defect

         188. Despite its knowledge of the Wheel Defect in the Class Vehicles, GM

 actively concealed the existence and nature of the defect from Plaintiffs and Class

 Members. Specifically, GM failed to disclose or actively concealed at and after the



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 time of purchase, lease, or repair:

              a) any and all known material defects or material nonconformity of the

                 Class Vehicles, including the defects pertaining to the wheels;

              b) that the Class Vehicles, including the wheels, were not in good in

                 working order, were defective, and were not fit for their intended

                 purposes; and

              c) that the Class Vehicles and the wheels were defective, despite the

                 fact that GM learned of such defects as early as 2015.

       189. As discussed above, GM monitors its customers’ discussions on online

 forums such as www.corvetteforum.com, and actively concealed the defect by

 denying the existence of a defect and blaming the class members for the problems.

       190. When consumers present their Class Vehicles to an authorized GM dealer

 for rim repairs or replacements, GM refuses to honor the 3-year, 36,000-mile

 warranty, telling the customers that the rim failures are the customers’ fault.

       191. Accordingly, despite GM’s knowledge of the Wheel Defect, GM has

 caused Class Members to expend money at its dealerships to diagnose, repair or

 replace the Class Vehicles’ rims.

 V.    TOLLING AND ESTOPPEL

       A.     Discovery Rule Tolling

       192. Class members had no way of knowing what GM knew about the Wheel



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 Defect in their Class Vehicles. As evidenced by its refusal to acknowledge the defect

 and honor its warranty, while representing and leading consumers to believe that any

 damages to their wheels were the result of the consumers' actions, GM was intent on

 expressly hiding the defect and its behavior from the public. This is the quintessential

 case for tolling.

        193. Within the period of any applicable statutes of limitation, Plaintiffs and

 members of the proposed Classes could not have discovered through the exercise of

 reasonable diligence that GM was concealing the defect complained of herein and

 misrepresenting the company's true position with respect to the quality and safety of

 its vehicles. Within the period of any applicable statutes of limitation, Plaintiffs and

 the other Class members could not have discovered through the exercise of

 reasonable diligence that GM was concealing the Wheel Defect.

        194. For these reasons, all applicable statutes of limitation have been tolled

 by operation of the discovery rule with respect to claims as to all Class Vehicles

 identified herein.

        B.     Estoppel

        195. GM was under a continuous duty to disclose to Plaintiffs and the other

 Class members the true character, quality, and nature of the defective wheels in the

 vehicles at issue.

        196. GM knowingly, affirmatively, and actively concealed the true nature,



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 quality, and character of the defective wheels in the Class Vehicles.

       197. Based on the foregoing, GM is estopped from relying on any statutes of

 limitations in defense of this action.

 VI.   CLASS ACTION ALLEGATIONS

       198. Plaintiffs bring this lawsuit as a class action on behalf of themselves and

 all others similarly situated as members of the proposed Class pursuant to Federal

 Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the numerosity,

 commonality, typicality, adequacy, predominance, and superiority requirements of

 those provisions.

       199. The Classes are defined as:


              Nationwide Class:
              All persons and entities in the United States who purchased or leased a
              Class Vehicle (the “Nationwide Class” or “Class”).
              California Subclass:
              All individuals who purchased or leased any 2015 to 2019 model year
              Chevrolet Corvette Z06 or 2017 to 2019 model year Chevrolet Corvette
              Grand Sport vehicle in the State of California.
              CLRA Subclass:
               All members of the California Subclass who are “consumers” within
              the meaning of California Civil Code § 1761(d).
              Florida Subclass:
              All members of the Nationwide Class who are residents of Florida or
              who purchased or leased their Class Vehicle in the State of Florida.
              Illinois Subclass:
              All members of the Nationwide Class who are residents of Illinois or
              who purchased or leased their Class Vehicle in the State of Illinois.




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              Massachusetts Subclass:
              All members of the Nationwide Class who are residents of
              Massachusetts or who purchased or leased their Class Vehicle in the
              Commonwealth of Massachusetts.
              Michigan Subclass:
              All members of the Nationwide Class who are residents of Michigan or
              who purchased or leased their Class Vehicle in the State of Michigan.
              New Hampshire Subclass:
              All members of the Nationwide Class who are residents of New
              Hampshire or who purchased or leased their Class Vehicle in the State
              of New Hampshire.
              New Jersey Subclass:
              All members of the Nationwide Class who are residents of New Jersey
              or who purchased or leased their Class Vehicle in the State of New
              Jersey.
              New York Subclass:
              All members of the Nationwide Class who are residents of New York
              or who purchased or leased their Class Vehicle in the State of New York.
              Pennsylvania Subclass:
              All members of the Nationwide Class who are residents of
              Pennsylvania or who purchased or leased their Class Vehicle in the
              Commonwealth of Pennsylvania.
              Ohio Subclass:
              All members of the Nationwide Class who are residents of Ohio or who
              purchased or leased their Class Vehicle in the State of Ohio.
              South Carolina Subclass:
              All members of the Nationwide Class who are residents of South
              Carolina or who purchased or leased their Class Vehicle in the State of
              South Carolina.
              Texas Subclass:
              All members of the Nationwide Class who are residents of Texas or
              who purchased or leased their Class Vehicle in the State of Texas.

       200. Excluded from the Class are: (1) Defendant, any entity or division in

 which Defendant has a controlling interest, and their legal representatives, officers,



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 directors, assigns, and successors; (2) the Judge to whom this case is assigned and

 the Judge’s staff; (3) any Judge sitting in the presiding state and/or federal court

 system who may hear an appeal of any judgment entered; and (4) those persons who

 have suffered personal injuries as a result of the facts alleged herein. Plaintiffs

 reserve the right to amend the Class definitions if discovery and further investigation

 reveal that the Class should be expanded or otherwise modified.

       201. Numerosity: Although the exact number of Class Members is uncertain

 and can only be ascertained through appropriate discovery, the number is great

 enough such that joinder is impracticable. The disposition of the claims of these

 Class Members in a single action will provide substantial benefits to all parties and

 to the Court. The Class Members are readily identifiable from information and

 records in Defendant’s possession, custody, or control, as well as from records kept

 by the Department of Motor Vehicles.

       202. Typicality: Plaintiffs’ claims are typical of the claims of the Class in that

 Plaintiffs, like all Class Members, purchased or leased a Class Vehicle designed,

 manufactured, and distributed by GM. The representative Plaintiffs, like all Class

 Members, has been damaged by Defendant’s misconduct in that they have incurred

 or will incur the cost of repairing or replacing the defective wheels. Furthermore, the

 factual bases of GM’s misconduct are common to all Class Members and represent

 a common thread resulting in injury to the Class.



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       203. Commonality: There are numerous questions of law and fact common to

 Plaintiffs and the Class that predominate over any question affecting Class Members

 individually. These common legal and factual issues include the following:

             a) Whether Class Vehicles suffer from defects relating to the wheels;

             b) Whether the defects relating to the wheels constitute an

                unreasonable safety risk;

             c) Whether Defendant knows about the defects pertaining to the

                wheels and, if so, how long Defendant has known of the defect;

             d) Whether the defective nature of the wheels constitutes a material

                fact;

             e) Whether Defendant has a duty to disclose the defective nature of the

                wheels to Plaintiffs and Class Members;

             f) Whether Plaintiffs and the other Class Members are entitled to

                equitable relief, including a preliminary and/or permanent

                injunction;

             g) Whether Defendant knew or reasonably should have known of the

                defects pertaining to the wheels before it sold and leased Class

                Vehicles to Class Members;

             h) Whether Defendant should be declared financially responsible for

                notifying the Class Members of problems with the Class Vehicles



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                 and for the costs and expenses of repairing and replacing the

                 defective wheels;

              i) Whether Defendant is obligated to inform Class Members of their

                 right to seek reimbursement for having paid to diagnose, repair, or

                 replace their defective wheels;

              j) Whether     Defendant     breached     the   implied    warranty    of

                 merchantability; and

              k) Whether Defendant breached written warranties.

       204. Adequate Representation: Plaintiffs will fairly and adequately protect the

 interests of the Class Members. Plaintiffs have retained attorneys experienced in the

 prosecution of class actions, including consumer and product defect class actions,

 and they intend to prosecute this action vigorously.

       205. Predominance and Superiority: Plaintiffs and Class Members have all

 suffered and will continue to suffer harm and damages as a result of Defendant’s

 unlawful and wrongful conduct. A class action is superior to other available methods

 for the fair and efficient adjudication of the controversy. Absent a class action, most

 Class Members would likely find the cost of litigating their claims prohibitively high

 and would therefore have no effective remedy. Because of the relatively small size

 of the individual Class Members’ claims, it is likely that only a few Class Members

 could afford to seek legal redress for Defendant’s misconduct. Absent a class action,



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 Class Members will continue to incur damages, and Defendant’s misconduct will

 continue without remedy or relief. Class treatment of common questions of law and

 fact would also be a superior method to multiple individual actions or piecemeal

 litigation in that it will conserve the resources of the courts and the litigants and

 promote consistency and efficiency of adjudication.

 VII. VIOLATIONS ALLEGED

       A.     Claims Brought on Behalf of the Nationwide Class

                                      COUNT I

  Breach of Written Warranty Pursuant to the Magnuson-Moss Warranty Act
                         (15 U.S.C. § 2303 et seq.)

       206. Plaintiffs incorporate by reference the allegations contained in the

 preceding paragraphs of this Complaint.

       207. Plaintiffs bring this cause of action on behalf of themselves and the Class

 against Defendant.

       208. The Class Vehicles are a “consumer product” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

       209. Plaintiffs and Class Members are “consumers” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

       210. Defendant is a “supplier” and “warrantor” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

       211. Defendant’s express warranty is a “written warranty” within the meaning

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 of 15 U.S.C. § 2301(6).

       212. As set forth supra and incorporated by reference, Defendant extended a

 36-month, 36,000-mile Bumper-to-Bumper warranty.

       213. Defendant breached the express warranties by selling and leasing Class

 Vehicles with wheels that were defective, requiring repair or replacement within the

 warranty period, and refusing to honor the express warranty by repairing or

 replacing, free of charge, the wheels. In addition, when Defendant did agree to pay

 a portion of the costs, Defendant nevertheless breached the express warranty by

 simply replacing Plaintiffs’ and Class Members’ defective wheels with similarly

 defective wheels, thus failing to “repair” the defect.

       214. Defendant’s breach of the express warranties has deprived the Plaintiffs

 and Class members of the benefit of their bargain.

       215. Defendant’s breach of express warranties has deprived Plaintiffs and

 Class Members of the benefit of their bargain.

       216. The amount in controversy of Plaintiffs’ individual claims meets or

 exceeds the sum or value of $25,000. In addition, the amount in controversy meets

 or exceeds the sum or value of $50,000 (exclusive of interests and costs) computed

 on the basis of all claims to be determined in this suit.

       217. Defendant has been afforded a reasonable opportunity to cure its breach,

 including when Plaintiffs and Class Members brought their vehicles in for diagnoses



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 and repair of the wheels.

       218. As a direct and proximate cause of Defendant’s breach of written

 warranties, Plaintiff and Class Members sustained and incurred damages and other

 losses in an amount to be determined at trial. Defendant’s conduct damaged Plaintiffs

 and Class Members, who are entitled to recover actual damages, consequential

 damages, specific performance, diminution in value, costs, attorneys’ fees, and/or

 other relief as appropriate.

                                     COUNT II

  Breach of Implied Warranty Pursuant to the Magnuson-Moss Warranty Act
                         (15 U.S.C. § 2303 et seq.)

       219. Plaintiffs incorporate by reference the allegations contained in the

 preceding paragraphs of this Complaint.

       220. Plaintiffs brings this cause of action on behalf of themselves and the

 Class against Defendant.

       221. The Class Vehicles are a “consumer product” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

       222. Plaintiffs and Class Members are “consumers” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

       223. Defendant is a “supplier” and “warrantor” within the meaning of the

 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

       224. GM impliedly warranted that the Class Vehicles were of merchantable


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 quality and fit for use. This implied warranty included, among other things: (i) a

 warranty that the Class Vehicles and their wheels were manufactured, supplied,

 distributed, and/or sold by GM would provide safe and reliable transportation; and

 (ii) a warranty that the Class Vehicles and their wheels would be fit for their intended

 use while the Class Vehicles were being operated.

       225. Contrary to the applicable implied warranties, the Class Vehicles and

 their wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiffs and Class Members with reliable, durable,

 and safe transportation. Instead, the Class Vehicles are defective, including the

 defective design of their wheels.

       226. Defendant’s breach of implied warranties has deprived Plaintiffs and

 Class Members of the benefit of their bargain.

       227. The amount in controversy of Plaintiffs’ individual claims meets or

 exceeds the sum or value of $25,000. In addition, the amount in controversy meets

 or exceeds the sum or value of $50,000 (exclusive of interests and costs) computed

 on the basis of all claims to be determined in this suit.

       228. Defendant has been afforded a reasonable opportunity to cure its breach,

 including when Plaintiffs and Class Members brought their vehicles in for diagnoses

 and repair of the wheels.

       229. As a direct and proximate cause of Defendant’s breach of implied



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 warranties, Plaintiffs and Class Members sustained and incurred damages and other

 losses in an amount to be determined at trial. Defendant’s conduct damaged Plaintiffs

 and Class Members, who are entitled to recover actual damages, consequential

 damages, specific performance, diminution in value, costs, attorneys’ fees, and/or

 other relief as appropriate.

          230. Because of Defendant’s violations of the Magnuson-Moss Warranty Act

 as alleged herein, Plaintiffs and Class Members have incurred damages.

                                       COUNT III

                                   Unjust Enrichment

          231. Plaintiffs incorporate by reference the allegations contained in the

 preceding paragraphs of this Complaint.

          232. Plaintiffs bring this cause of action individually and on behalf of the

 Class.

          233. As a direct and proximate result of Defendant’s failure to disclose known

 defects, Defendant has profited through the sale and lease of the Class Vehicles.

 Although these vehicles are purchased through Defendant’s agents, the money from

 the vehicle sales flows directly back to Defendant.

          234. Additionally, as a direct and proximate result of Defendant’s failure to

 disclose known defects in the Class Vehicles, Plaintiffs and Class Members have

 vehicles that require repeated, high-cost repairs that can and therefore have conferred



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 an unjust substantial benefit upon Defendant.

       235. Defendant has been unjustly enriched due to the known defects in the

 Class Vehicles through the use money paid that earned interest or otherwise added

 to Defendant’s profits when said money should have remained with Plaintiffs and

 Class Members.

       236. As a result of the Defendant’s unjust enrichment, Plaintiffs and Class

 Members have suffered damages.

       B.    Claims Brought on Behalf of the California Subclass

                                    COUNT IV

            Violation of California’s Consumers Legal Remedies Act,
                          (Cal. Civ. Code § 1750, et seq.)

       237. Plaintiffs Barrington and Holguin incorporate by reference the

 allegations contained in the preceding paragraphs of this Complaint.

       238. Plaintiffs Barrington and Holguin bring these causes of action

 individually and on behalf of the CLRA Subclass.

       239. Defendant is a “person” as defined by California Civil Code § 1761(c).

       240. Plaintiffs and CLRA Subclass Members are “consumers” within the

 meaning of California Civil Code § 1761(d) because they purchased their Class

 Vehicles primarily for personal, family, or household use.

       241. By failing to disclose and concealing the defective nature of the wheels

 from Plaintiff and prospective Class Members, Defendant violated California Civil


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 Code § 1770(a), as it represented that the Class Vehicles and their wheels had

 characteristics and benefits that they do not have and represented that the Class

 Vehicles and their wheels were of a particular standard, quality, or grade when they

 were of another. See Cal. Civ. Code §§ 1770(a)(5) & (7).

       242. Defendant’s unfair and deceptive acts or practices occurred repeatedly in

 Defendant’s trade or business, were capable of deceiving a substantial portion of the

 purchasing public and imposed a serious safety risk on the public.

       243. Defendant knew that the Class Vehicles and their wheels suffered from

 an inherent defect, were defectively designed, and were not suitable for their

 intended use.

       244. Because of their reliance on Defendant’s omissions, owners and/or

 lessees of the Class Vehicles, including Plaintiff, suffered an ascertainable loss of

 money, property, and/or value of their Class Vehicles. Additionally, because of the

 Wheel Defect, Plaintiff and Class Members were harmed and suffered actual

 damages in that the Class Vehicles’ wheels are substantially certain to fail before

 their expected useful life has run.

       245. Defendant was under a duty to Plaintiff and Class Members to disclose

 the defective nature of the wheels and/or the associated repair costs because:

              a) Defendant was in a superior position to know the true state of facts

                 about the safety defect in the Class Vehicles’ wheels;



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              b) Plaintiff and Class Members could not reasonably have been

                 expected to learn or discover that their wheels had a dangerous

                 safety defect until it manifested; and

              c) Defendant knew that Plaintiff and Class Members could not

                 reasonably have been expected to learn of or discover the safety

                 defect.

       246. In failing to disclose the defective nature of wheels, Defendant

 knowingly and intentionally concealed material facts and breached its duty not to do

 so.

       247. The facts Defendant concealed from or failed to disclose to Plaintiffs and

 Class Members are material in that a reasonable consumer would have considered

 them to be important in deciding whether to purchase or lease the Class Vehicles or

 pay less. Had Plaintiffs and Class Members known that the Class Vehicles’ wheels

 were defective, they would not have purchased or leased the Class Vehicles or would

 have paid less for them.

       248. Plaintiffs Barrington and Holguin and Class Members are reasonable

 consumers who do not expect the wheels installed in their vehicles to exhibit

 problems such as the Wheel Defect. This is the reasonable and objective consumer

 expectation relating to a vehicle’s wheels.

       249. Because of Defendant’s conduct, Plaintiffs Barrington and Holguin and



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 Class Members were harmed and suffered actual damages in that, on information

 and belief, the Class Vehicles experienced and will continue to experience problems

 such as the Wheel Defect.

           250. As a direct and proximate result of Defendant’s unfair or deceptive acts

 or practices, Plaintiffs Barrington and Holguin and Class Members suffered and will

 continue to suffer actual damages.

           251. Plaintiffs Barrington and Holguin and the Class are entitled to equitable

 relief.

           252. Plaintiffs Barrington and Holguin provided Defendant with notice of its

 violations of the CLRA pursuant to California Civil Code § 1782(a). Defendant

 failed to provide appropriate relief for its violations of the CLRA within 30 days.

 Accordingly, Plaintiffs seek monetary, compensatory, and punitive damages, in

 addition to equitable and injunctive relief.

                                         COUNT V

           Violation of California Business & Professions Code § 17200, et seq.

           253. Plaintiffs Barrington and Holguin incorporate by reference the

 allegations contained in the preceding paragraphs of this Complaint.

           254. Plaintiffs Barrington and Holguin bring these causes of action

 individually and on behalf of the California Subclass.

           255. Because of their reliance on Defendant’s omissions, owners and/or



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 lessees of the Class Vehicles, including Plaintiffs, suffered an ascertainable loss of

 money, property, and/or value of their Class Vehicles. Additionally, because of the

 Wheel Defect, Plaintiffs and Class Members were harmed and suffered actual

 damages in that the Class Vehicles’ wheels are substantially certain to fail before

 their expected useful life has run.

       256. California Business & Professions Code § 17200 prohibits acts of “unfair

 competition,” including any “unlawful, unfair or fraudulent business act or practice”

 and “unfair, deceptive, untrue or misleading advertising.”

       257. Plaintiffs Barrington and Holguin and Class Members are reasonable

 consumers who do not expect their wheels to warp and crack.

       258. Defendant knew the Class Vehicles and their wheels were defectively

 designed or manufactured, would fail prematurely, and were not suitable for their

 intended use.

       259. In failing to disclose the Wheel Defect, Defendant has knowingly and

 intentionally concealed material facts and breached its duty not to do so.

       260. Defendant was under a duty to Plaintiffs and Class Members to disclose

 the defective nature of the Class Vehicles and their wheels because:

              a) Defendant was in a superior position to know the true state of facts

                 about the safety defect in the Class Vehicles’ wheels; and

              b) Defendant actively concealed the defective nature of the Class



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                   Vehicles and their wheels from Plaintiff and the Class.

       261. The facts Defendant concealed from or failed to disclose to Plaintiffs and

 Class Members are material in that a reasonable person would have considered them

 to be important in deciding whether to purchase or lease Class Vehicles. Had they

 known of the Wheel Defect, Plaintiffs and the other Class Members would have paid

 less for Class Vehicles equipped with the subject wheels or would not have

 purchased or leased them at all.

       262. Defendant continued to conceal the defective nature of the Class Vehicles

 and their wheels even after Class Members began to report problems.

       263. Defendant’s conduct was and is likely to deceive consumers.

       264. Defendant’s acts, conduct, and practices were unlawful, in that they

 constituted:

                a) Violations of California’s Consumers Legal Remedies Act;

                b) Violations of the Song-Beverly Consumer Warranty Act;

                c) Violations of the Magnuson-Moss Warranty Act; and

                d) Breach of Express Warranty under California Commercial Code

                   section 2313.

       265. By its conduct, Defendant has engaged in unfair competition and

 unlawful, unfair, and fraudulent business practices.

       266. Defendant’s unfair or deceptive acts or practices occurred repeatedly in



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 Defendant’s trade or business and were capable of deceiving a substantial portion of

 the purchasing public.

       267. As a direct and proximate result of Defendant’s unfair and deceptive

 practices, Plaintiffs Barrington and Holguin and Class Members have suffered and

 will continue to suffer actual damages.

       268. Defendant has been unjustly enriched and should be required to make

 restitution to Plaintiff and the Class pursuant to §§ 17203 and 17204 of the Business

 & Professions Code.

                                     COUNT VI

             Breach of Implied Warranty Pursuant to Song-Beverly
                           Consumer Warranty Act
                  (Cal. Civ. Code §§ 1792 and 1791.1, et seq.)

       269. Plaintiffs Barrington and Holguin incorporate by reference the

 allegations contained in the preceding paragraphs of this Complaint.

       270. Plaintiffs Barrington and Holguin bring these causes of action against

 Defendant individually and on behalf of the California Subclass.

       271. Defendant was at all relevant times the manufacturer, distributor,

 warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to know

 of the specific use for which the Class Vehicles were purchased or leased.

       272. Defendant provided Plaintiffs and Class Members with an implied

 warranty that the Class Vehicles and their components and parts are merchantable



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 and fit for the ordinary purposes for which they were sold. However, the Class

 Vehicles are not fit for their ordinary purpose of providing reasonably reliable and

 safe transportation because, inter alia, the Class Vehicles and their wheels suffered

 from an inherent defect at the time of sale and thereafter and are not fit for their

 particular purpose of providing safe and reliable transportation.

       273. Defendant impliedly warranted that the Class Vehicles were of

 merchantable quality and fit for their intended use. This implied warranty included,

 among other things: (i) a warranty that the Class Vehicles and their wheels, which

 were manufactured, supplied, distributed, and/or sold by GM, would provide safe

 and reliable transportation; and (ii) a warranty that the Class Vehicles and their

 wheels would be fit for their intended use.

       274. Contrary to the applicable implied warranties, the Class Vehicles and

 their wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiff and Class Members with reliable, durable,

 and safe transportation. Instead, the Class Vehicles are defective, including the

 defective wheels.

       275. The alleged Wheel Defect is inherent and was present in each Class

 Vehicle at the time of sale.

       276. Because of Defendant’s breach of the applicable implied warranties,

 owners and/or lessees of the Class Vehicles suffered an ascertainable loss of money,



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 property, and/or value of their Class Vehicles. Additionally, because of the Wheel

 Defect, Plaintiffs and Class Members were harmed and suffered actual damages in

 that the Class Vehicles’ wheels are substantially certain to fail before their expected

 useful life has run.

        277. Defendant’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use in

 violation of California Civil Code §§ 1792 and 1791.1.

                                     COUNT VII

                            Breach of Express Warranty
                          (Cal. Com. Code §§ 2313, 10210)

        278. Plaintiffs Barrington and Holguin incorporate by reference the

 allegations contained in the preceding paragraphs of this Complaint.

        279. Plaintiffs Barrington and Holguin bring these causes of action on behalf

 of himself and on behalf of the California Subclass against Defendant.

        280. Defendant provided all purchasers and lessees of the Class Vehicles with

 an express warranty described infra, which became a material part of the bargain.

 Accordingly, Defendant’s express warranty is an express warranty under California

 law.

        281. The wheels were manufactured and/or installed in the Class Vehicles by

 Defendant and are covered by the express warranty.

        282. In a section entitled “What is Covered,” Defendant’s express warranty


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 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,

 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

       283. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is

 for the first 3 years or 36,000 miles, whichever comes first.”

       284. Defendant breached the express warranties by selling and leasing Class

 Vehicles with wheels that were defective, requiring repair or replacement within the

 warranty period, and refusing to honor the express warranty by repairing or

 replacing, free of charge, the wheels. In addition, when Defendant did agree to pay

 a portion of the costs, Defendant nevertheless breached the express warranty by

 simply replacing Plaintiffs’ and Class Members’ defective wheels with similarly

 defective wheels, thus failing to “repair” the defect.

       285. Plaintiffs were not required to notify GM of the breach or was not

 required to do so because affording GM a reasonable opportunity to cure its breach

 of written warranty would have been futile. Defendant was also on notice of the

 defect from complaints and service requests it received from Class Members, from

 repairs and/or replacements of the wheels, and from other internal sources.



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       286. As a direct and proximate cause of Defendant’s breach, Plaintiffs and the

 other Class Members have suffered, and continue to suffer, damages, including

 economic damages at the point of sale or lease. Additionally, Plaintiffs and the other

 Class Members have incurred or will incur economic damages at the point of repair

 in the form of the cost of repair.

       287. Plaintiffs and the other Class Members are entitled to legal and equitable

 relief against Defendant, including actual damages, consequential damages, specific

 performance, attorneys’ fees, costs of suit, and other relief as appropriate.

       C.      Claims Brought on Behalf of the Florida Subclass

                                      COUNT VIII

            Violation of Florida’s Unfair & Deceptive Trade Practices Act
                             (FLA. STAT. § 501.201, et seq.)

       288. Plaintiff Rochford incorporates by reference all preceding allegations as

 though fully set forth herein.

       289. Plaintiff Rochford brings this Count individually and on behalf of the

 Florida Subclass.

       290. Plaintiff Rochford and Class members are “consumers” within the

 meaning of the Florida Unfair and Deceptive Trade Practices Act (“FUDTPA”),

 FLA. STAT. § 501.203(7).

       291. GM engaged in “trade or commerce” within the meaning of FLA. STAT.

 § 501.203(8).


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       292. The     FUDTPA       prohibits   “[u]nfair   methods     of   competition,

 unconscionable acts or practices, and unfair or deceptive acts or practices in the

 conduct of any trade or commerce.” FLA. STAT. § 501.204(1).

       293. In the course of its business, GM willfully failed to disclose and/or

 actively concealed the fact that the Class Vehicles have defective wheels discussed

 herein and the fact that GM would not cover repair or replacement of the defective

 wheels under its warranty, and otherwise engaged in activities with a tendency or

 capacity to deceive. GM also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       294. GM was also aware that it valued profits over safety, and that it was

 manufacturing, selling, and distributing vehicles throughout the United States that

 did not perform as advertised and jeopardized the safety of the vehicle’s occupants

 and the public.

       295. By failing to disclose that the Class Vehicles have defective wheels and

 were not safe, by marketing its vehicles as safe, reliable, and of high quality, and by

 presenting itself as a reputable manufacturer that valued safety and stood behind its

 warranty and vehicles after they were sold, GM engaged in deceptive business



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 practices in violation of the FUDTPA.

       296. GM’s unfair or deceptive acts or practices were likely to and did in fact

 deceive reasonable consumers, including Plaintiff Rochford and the other Class

 members, about the true performance of the Class Vehicles, the quality of the GM

 brand, the devaluing of safety and performance at GM, and the true value of the

 Class Vehicles.

       297. GM intentionally and knowingly misrepresented material facts regarding

 the Class Vehicles with the intent to mislead Plaintiff Rochford and the Florida

 Subclass.

       298. GM knew or should have known that its conduct violated the FUDTPA.

       299. GM owed Plaintiff Rochford a duty to disclose the true safety,

 performance, and reliability of the Class Vehicles, and the devaluing of safety and

 performance at GM, because GM had exclusive or superior knowledge and

 concealed material facts and/or omitted material facts regarding the defective wheels

 and its warranty coverage.

       300. The existence of the Defect, the defective wheels, and the true

 performance of the Class Vehicles were material facts to Plaintiff Rochford and the

 Florida Subclass.

       301. GM’s violations present a continuing risk to Plaintiff Rochford and the

 Florida Subclass members, as well as to the general public. GM’s unlawful acts and



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 practices complained of herein affect the public interest.

       302. GM had an ongoing duty to all GM customers to refrain from unfair and

 deceptive practices under the FUDTPA. All owners of the Class Vehicles suffered

 ascertainable loss from not obtaining the benefit of their bargains.

       303. As a direct and proximate result of GM’s violations of the FUDTPA,

 Plaintiff Rochford and the Florida Subclass have suffered injury-in-fact and/or actual

 damage in paying to replace and/or repair the defective wheels and in paying more

 to purchase or lease the Class Vehicles than they would have had they known of the

 Wheel Defect. Class members who purchased or leased the Class Vehicles either

 would have paid less for their vehicles or would not have purchased or leased them

 but for GM’s violations of the FUDTPA.

       304. Plaintiff Rochford and the Florida Subclass are entitled to recover their

 actual damages under FLA. STAT. § 501.211(2) and attorneys’ fees under FLA.

 STAT. § 501.2105(1).

       305. Plaintiff Rochford and the Florida Subclass members also seek an order

 enjoining GM’s unfair and/or deceptive acts or practices, punitive damages, and

 attorneys’ fees, and any other just and proper relief available under the FUDTPA.

                                     COUNT IX

                            Breach of Express Warranty
                               (FLA. STAT. § 672.313)

       306. Plaintiff Rochford incorporates by reference all preceding allegations as


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 though fully set forth herein.

       307. Plaintiff Rochford brings this Count individually and on behalf of the

 Florida Subclass.

       308. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       309. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       310. As a manufacturer of motor vehicles, GM was required to provide these

 warranties to purchasers of the Class Vehicles.

       311. GM’s warranties formed the basis of the bargain that was reached when

 Plaintiff Rochford and other Class members purchased or leased their Class Vehicles

 equipped with the defective wheels.

       312. Plaintiff Rochford and the Class members experienced defects within the

 warranty period.

       313. GM breached the express warranty promising to repair and correct or

 replace a manufacturing defect or defect in materials or workmanship of the Class

 Vehicles.

       314. Affording GM a reasonable opportunity to cure its breach of written



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 warranties would be unnecessary and futile here because GM has repeatedly refused

 to honor its warranty.

       315. Furthermore, the limited warranty promising to repair and/or correct a

 manufacturing defect fails in its essential purpose because the contractual remedy is

 insufficient to make Plaintiff Rochford and Class members whole and because GM

 has failed and/or has refused to adequately provide the promised remedies within a

 reasonable time.

       316. Accordingly, recovery by Plaintiff Rochford and the other Class

 members is not limited to the limited warranty promising to repair and/or correct a

 manufacturing defect, and Plaintiff Rochford, individually and on behalf of the other

 Class members, seeks all remedies as allowed by law.

       317. GM was provided notice of these issues by numerous complaints filed

 against it, including those submitted to NHTSA and the instant Complaint, within a

 reasonable amount of time after the defect was discovered.

       318. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiff Rochford and the other Class members have been damaged in an amount to

 be determined at trial.

                                     COUNT X

                            Breach of Implied Warranty
                               (FLA. STAT. § 672.314)

       319. Plaintiff Rochford incorporates by reference all preceding allegations as


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 though fully set forth herein.

       320. Plaintiff Rochford brings this Count individually and on behalf of the

 Florida Subclass.

       321. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       322. A warranty that the Class Vehicles were in merchantable condition is

 implied by law in the instant transactions. These Class Vehicles, when sold and at all

 times thereafter, were not in merchantable condition and are not fit for the ordinary

 purpose for which cars are used. Specifically, the Class Vehicles are inherently

 defective in that the defective wheels are not safe, merchantable or suitable for high

 performance sports cars.

       323. GM was provided notice of these issues by complaints lodged by

 consumers with NHTSA—which vehicle manufacturers like GM routinely

 monitor—before or within a reasonable amount of time after the allegations of the

 Class Vehicle defects became public.

       324. As a direct and proximate result of GM’s breach of the warranties of

 merchantability, Plaintiff Rochford and the Florida Subclass members have been

 damaged In an amount to be proven at trial.




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       D.     Claims Brought on Behalf of the Illinois Subclass

                                     COUNT XI

  Violations of Illinois Consumer Fraud and Deceptive Business Practices Act
                  (815 ILCS 505/1, et seq. and 720 ILCS 295/1A)

       325. Plaintiff Mirenda incorporates by reference all preceding allegations as

 though fully set forth herein.

       326. Plaintiff Mirenda brings this Count individually and on behalf of the

 Illinois Subclass.

       327. Defendant is a “person” as that term is defined in 815 ILCS 505/1(c).

       328. Plaintiff Mirenda and the Illinois Subclass are “consumers” as that term

 is defined in 815 ILCS 505/1(e).

       329. The Illinois Consumer Fraud and Deceptive Business Practices Act

 (“Illinois CFA”) prohibits “unfair or deceptive acts or practices, including but not

 limited to the use or employment of any deception, fraud, false pretense, false

 promise, misrepresentation or the concealment, suppression or omission of any

 material fact, with intent that others rely upon the concealment, suppression or

 omission of such material fact . . . in the conduct of trade or commerce . . . whether

 any person has in fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

       330. GM participated in misleading, false, or deceptive practices that violated

 the Illinois CFA.

       331. In the course of its business, GM willfully failed to disclose and/or


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 actively concealed the fact that the Class Vehicles have defective wheels discussed

 herein and the fact that GM would not cover repair or replacement of the defective

 wheels under its warranty, and otherwise engaged in activities with a tendency or

 capacity to deceive. GM also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       332. GM was also aware that it valued profits over safety, and that it was

 manufacturing, selling, and distributing vehicles throughout the United States that

 did not perform as advertised and jeopardized the safety of the vehicle’s occupants

 and the public.

       333. By failing to disclose that the Class Vehicles have defective wheels and

 were not safe, by marketing its vehicles as safe, reliable, and of high quality, and by

 presenting itself as a reputable manufacturer that valued safety and stood behind its

 warranty and vehicles after they were sold, GM engaged in deceptive business

 practices in violation of the Illinois CFA.

       334. GM’s unfair or deceptive acts or practices were likely to and did in fact

 deceive reasonable consumers, including Plaintiff Mirenda and the other Class

 members, about the true performance of the Class Vehicles, the quality of the GM



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 brand, the devaluing of safety and performance at GM, and the true value of the

 Class Vehicles.

        335. GM intentionally and knowingly misrepresented material facts regarding

 the Class Vehicles with the intent to mislead Plaintiff Mirenda and the Illinois

 Subclass.

        336. GM knew or should have known that its conduct violated the Illinois

 CFA.

        337. GM owed Plaintiff Mirenda a duty to disclose the true safety,

 performance, and reliability of the Class Vehicles, and the devaluing of safety and

 performance at GM, because GM had exclusive or superior knowledge and

 concealed material facts and/or omitted material facts regarding the defective wheels

 and its warranty coverage.

        338. The existence of the Defect, the defective wheels, and the true

 performance of the Class Vehicles were material facts to Plaintiff Mirenda and the

 Illinois Subclass.

        339. GM’s violations present a continuing risk to Plaintiff Mirenda and the

 Illinois Subclass members as well as to the general public. GM’s unlawful acts and

 practices complained of herein affect the public interest.

        340. GM had an ongoing duty to all GM customers to refrain from unfair and

 deceptive practices under the Illinois CFA. All owners of the Class Vehicles suffered



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 ascertainable loss from not obtaining the benefit of their bargains.

       341. As a direct and proximate result of GM’s violations of the Illinois CFA,

 Plaintiff Mirenda and the Illinois Subclass have suffered injury-in-fact and/or actual

 damage in paying to replace and/or repair defective wheels and in paying more to

 purchase or lease the Class Vehicles than they would have had they known of the

 Wheel Defect. Class members who purchased or leased the Class Vehicles either

 would have paid less for their vehicles or would not have purchased or leased them

 but for GM’s violations of the Illinois CFA.

       342. Pursuant to 815 ILCS 505/10a(a), Plaintiff Mirenda and the Illinois

 Subclass seek monetary relief against GM in the amount of actual damages.

       343. Plaintiff Mirenda also seeks an order enjoining GM’s unfair and/or

 deceptive acts or practices, attorneys’ fees, costs, and any other just and proper relief

 available under the 815 ILCS 505/1 et seq.

                                      COUNT XII

                             Breach of Express Warranty
                            (800 ILL COMP. STAT. 5/2-313)

       344. Plaintiff Mirenda incorporates by reference all preceding allegations as

 though fully set forth herein.

       345. Plaintiff Mirenda brings this Count individually and on behalf of the

 Illinois Subclass.

       346. GM is and was at all relevant times a merchant with respect to motor


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 vehicles.

       347. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       348. As a manufacturer of motor vehicles, GM was required to provide these

 warranties to purchasers of the Class Vehicles.

       349. GM’s warranties formed the basis of the bargain that was reached when

 Plaintiff Mirenda and other Class members purchased or leased their Class Vehicles

 equipped with the defective wheels.

       350. Plaintiff Mirenda and the Class members experienced defects within the

 warranty period.

       351. GM breached the express warranty promising to repair and correct or

 replace a manufacturing defect or defect in materials or workmanship of the Class

 Vehicles.

       352. Affording GM a reasonable opportunity to cure its breach of written

 warranties would be unnecessary and futile here because GM has repeatedly refused

 to honor its warranty.

       353. Furthermore, the limited warranty promising to repair and/or correct a

 manufacturing defect fails in its essential purpose because the contractual remedy is



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 insufficient to make Plaintiff Mirenda and Class members whole and because GM

 has failed and/or has refused to adequately provide the promised remedies within a

 reasonable time.

       354. Accordingly, recovery by Plaintiff Mirenda and the other Class members

 is not limited to the limited warranty promising to repair and/or correct a

 manufacturing defect, and Plaintiff Mirenda, individually and on behalf of the other

 Class members, seeks all remedies as allowed by law.

       355. GM was provided notice of these issues by numerous complaints filed

 against it, including those submitted to NHTSA and the instant Complaint, within a

 reasonable amount of time after the defect was discovered.

       356. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiff Mirenda and the other Class members have been damaged in an amount to

 be determined at trial.

                                    COUNT XIII

                  Breach of Implied Warranty of Merchantability
                   (800 ILL COMP. STAT. 5/2-314 AND 5/2A-212)

       357. Plaintiff Mirenda incorporates by reference all allegations of the

 preceding paragraphs as though fully set forth herein.

       358. Plaintiff Mirenda brings this Count individually and on behalf of the

 Illinois Subclass.

       359. GM is and was at all relevant times a “merchant” with respect to motor


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 vehicles under 810 Ill. Comp. Stat. §§ 5/2-104(1) and 5/2A-103(3), and a “seller” of

 motor vehicles under § 5/2-103(1)(d).

       360. With respect to leases, GM is and was at all relevant times a “lessor”

 with respect to motor vehicles under 810 Ill. Comp. Stat. §§ 5/2-103(1)(p).

       361. A warranty that the Class Vehicles were in merchantable condition is

 implied by law in the instant transactions. These Class Vehicles, when sold and at all

 times thereafter, were not in merchantable condition and are not fit for the ordinary

 purpose for which cars are used. Specifically, the Class Vehicles are inherently

 defective in that the defective wheels are not safe, merchantable or suitable for high

 performance sports cars.

       362. GM was provided notice of these issues by complaints lodged by

 consumers with NHTSA—which vehicle manufacturers like GM routinely

 monitor—before or within a reasonable amount of time after the allegations of the

 Class Vehicle defects became public.

       363. As a direct and proximate result of GM’s breach of the warranties of

 merchantability, Plaintiff Mirenda and the Illinois Subclass members have been

 damaged in an amount to be proven at trial.




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       E.     Claims Brought on Behalf of the Massachusetts Subclass

                                    COUNT XIV

              Violation of Massachusetts’s Consumer Protection Act
                      (Mass. Gen. Laws Ch. 93A, § 1, et seq.)

       364. Plaintiff Alfred Lupis incorporates by reference the allegations contained

 in the preceding paragraphs of this Complaint.

       365. Plaintiff Lupis brings this Count individually and on behalf of the

 Massachusetts Subclass.

       366. Mass. Gen. Laws Ch. 93A § 2 provides that “[u]nfair methods of

 competition and unfair or deceptive acts or practices in the conduct of any trade or

 commerce are hereby declared unlawful.”

       367. At all relevant times, GM was engaged in commerce within the meaning

 of Mass. Gen. Laws, Ch. 93A.

       368. As alleged more fully herein, GM has violated Mass. Gen. Laws, Ch.

 93A in that it used unconscionable business practices by failing to disclose, at the

 point of sale or otherwise, that the transmissions in Class Vehicles are defective and

 pose a safety hazard.

       369. As a direct and proximate result of GM’s conduct, Plaintiff Lupis and

 other members of the Class have been harmed in that they purchased Class Vehicles

 they otherwise would not have, paid more for Class Vehicles than they otherwise

 would have, paid for wheel diagnoses, repairs, and replacements, towing, and/or


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 rental cars, and are left with Class Vehicles of diminished value and utility because

 of the defect. Meanwhile, GM unjustly enriched itself by selling more Class Vehicles

 than it otherwise could have and by charging inflated prices for those vehicles.

        370. Pursuant to Mass. Gen. Laws Ch. 93A § 3, Plaintiff seeks damages and

 appropriate equitable relief, including an order requiring GM to adequately disclose

 and repair the Rim Defect and an order enjoining GM from incorporating the

 defective wheels into its vehicles in the future.

        371. Plaintiff Lupis, on behalf of himself and Massachusetts Subclass

 members, made a demand for relief, in writing, to GM at least thirty (30) days prior

 to filing this amended Complaint, on August 21, 2017, as required by Mass. Gen.

 Laws Ch. 93A § 9. GM has declined Plaintiff’s request.

        372. Based on the foregoing, Plaintiff Lupis and the Class are entitled to all

 remedies available pursuant to Mass. Gen. Laws Ch. 93A, § 9, including refunds,

 actual damages, or statutory damages in the amount of 25 dollars per violation,

 whichever is greater, double or treble damages, attorney fees and other reasonable

 costs. Plaintiff and the Massachusetts Subclass also request that the Court award

 equitable relief, including an order requiring GM to adequately disclose and repair

 the Rim Defect and an order enjoining GM from incorporating the defective wheels

 into its vehicles in the future.




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                                      COUNT XV

                             Breach of Express Warranty
                              (Mass. G.L. c. 106 § 2-313)

       373. Plaintiff Alfred Lupis incorporates by reference the allegations contained

 in the preceding paragraphs of this Complaint.

       374. Plaintiff Lupis brings this Count individually and on behalf of the

 Massachusetts Subclass.

       375. Defendant provided all purchasers and lessees of the Class Vehicles with

 an express warranty described infra, which became a material part of the bargain.

 Accordingly, Defendant’s express warranty is an express warranty under

 Massachusetts law.

       376. The Wheels were manufactured and/or installed in the Class Vehicles by

 Defendant and are covered by the express warranty.

       377. In a section entitled “What is Covered,” Defendant’s express warranty

 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,

 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

       378. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is


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 for the first 3 years or 36,000 miles, whichever comes first.”

       379. Defendant breached the express warranties by selling and leasing Class

 Vehicles with wheels that were defective, requiring repair or replacement within the

 warranty period, and refusing to honor the express warranty by repairing or

 replacing, free of charge, the wheels. In addition, if and when Defendant did agree

 to pay a portion of the costs, Defendant nevertheless breached the express warranty

 by simply replacing Plaintiff’s and Class Members’ defective wheels with similarly

 defective wheels, thus failing to “repair” the defect.

       380. Plaintiff Lupis was not required to notify GM of the breach or was not

 required to do so because affording GM a reasonable opportunity to cure its breach

 of written warranty would have been futile. Defendant was also on notice of the

 defect from complaints and service requests it received from Class Members, from

 repairs and/or replacements of the wheels, and from other internal sources.

       381. As a direct and proximate cause of Defendant’s breach, Plaintiff and the

 other Class Members have suffered, and continue to suffer, damages, including

 economic damages at the point of sale or lease. Additionally, Plaintiff and the other

 Class Members have incurred or will incur economic damages at the point of repair

 in the form of the cost of repair.

       382. Plaintiff Lupis and the other Class Members are entitled to legal and

 equitable relief against Defendant, including actual damages, consequential



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 damages, specific performance, attorneys’ fees, costs of suit, and other relief as

 appropriate.

                                     COUNT XVI

                             Breach of Implied Warranty
                             (Mass. G. L. c. 106 § 2-314)

       383. Plaintiff Alfred Lupis incorporates by reference the allegations contained

 in the preceding paragraphs of this Complaint.

       384. Plaintiff Lupis brings this cause of action against Defendant on behalf of

 himself and the Class.

       385. Defendant was at all relevant times the manufacturer, distributor,

 warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to know

 of the specific use for which the Class Vehicles were purchased or leased.

       386. Defendant provided Plaintiff Lupis and Class Members with an implied

 warranty that the Class Vehicles and their components and parts are merchantable,

 pass without objection in the trade under the contract description, and fit for the

 ordinary purposes for which they were sold. However, the Class Vehicles are not

 merchantable, do not pass without objection in the trade under the contract

 description, and are not fit for their ordinary purpose of providing reasonably reliable

 and safe transportation because, inter alia, the Class Vehicles and their wheels

 suffered from an inherent defect at the time of sale and thereafter and are do not

 provide safe and reliable transportation.


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       387. Defendant impliedly warranted that the Class Vehicles were of

 merchantable quality, pass without objection in the trade under the contract

 description, and fit for their intended use. This implied warranty included, among

 other things: (i) a warranty that the Class Vehicles and their wheels, which were

 manufactured, supplied, distributed, and/or sold by GM, would provide safe and

 reliable transportation; and (ii) a warranty that the Class Vehicles and their wheels

 would be fit for their intended use.

       388. Contrary to the applicable implied warranties, the Class Vehicles and

 their Wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiff Lupis and Class Members with reliable,

 durable, and safe transportation. Instead, the Class Vehicles are defective, including

 the defective Wheels.

       389. The alleged Rim Defect is inherent and was present in each Class Vehicle

 at the time of sale.

       390. Because of Defendant’s breach of the applicable implied warranties,

 owners and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

 property, and/or value of their Class Vehicles. Additionally, because of the Rim

 Defect, Plaintiff and Class Members were harmed and suffered actual damages in

 that the Class Vehicles’ Wheels are substantially certain to fail before their expected

 useful life has run.



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       391. Defendant’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use in

 violation of Massachusetts Genera Laws Chapter 106, Section 2-314.

       F.     Claims Brought on Behalf of the Michigan Subclass

                                    COUNT XVII

               Violations of the Michigan Consumer Protection Act
                       (Mich. Comp. Laws § 445.903, et seq.)

       392. Plaintiffs Eric Czajka and James Kalkstein, individually and on behalf of

 the Michigan Subclass, incorporate by reference all of the allegations contained in

 the preceding paragraphs of this Class Action Complaint as if fully set forth herein.

       393. Plaintiffs Czajka and Kalkstein bring this Count individually and on

 behalf of the Michigan Subclass.

       394. Plaintiffs Czajka and Kalkstein and the Michigan Subclass members are

 “person[s]” within the meaning of the Mich. Comp. Laws. § 445.902(1)(d).

       395. At all relevant times, Defendant was a “person” engaged in “trade or

 commerce” within the meaning of the Mich. Comp. Laws § 445.902(1)(d) and (g).

       396. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

 “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

 trade or commerce ....” Mich. Comp. Laws § 445.903(1).

       397. Defendant engaged in unfair, unconscionable, or deceptive methods, acts

 or practices prohibited by the Michigan CPA, including: “(c) Representing that


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 goods or services have ... characteristics ... that they do not have ....;” “(e)

 Representing that goods or services are of a particular standard ... if they are of

 another;” “(i) Making false or misleading statements of fact concerning the reasons

 for, existence of, or amounts of price reductions;” “(s) Failing to reveal a material

 fact, the omission of which tends to mislead or deceive the consumer, and which fact

 could not reasonably be known by the consumer;” “(bb) Making a representation of

 fact or statement of fact material to the transaction such that a person reasonably

 believes the represented or suggested state of affairs to be other than it actually is;”

 and “(cc) Failing to reveal facts that are material to the transaction in light of

 representations of fact made in a positive manner.” Mich. Comp. Laws § 445.903(1).

       398. In the course of its business, Defendant concealed and suppressed

 material facts concerning the Corvette’s wheels. Defendant failed to disclose the

 existence of the Wheel Defect. Defendant also engaged in unlawful trade practices

 by employing deception, deceptive acts or practices, fraud, concealment,

 suppression or omission of any material fact with intent that others rely upon such

 concealment, suppression or omission, in connection with the sale and lease of Class

 Vehicles.

       399. Defendant knew the Class Vehicles and their wheels were defectively

 designed or manufactured, would fail prematurely, and were not suitable for their

 intended use.



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        400. Defendant owed Plaintiff and the Michigan Subclass a duty to disclose

 the Wheel Defect because Defendant: (a) possessed superior and exclusive

 knowledge about the defect; (b) intentionally concealed the foregoing from Plaintiff

 and the Michigan Subclass; and (c) made incomplete representations about the

 Corvette while intentionally withholding material facts from Plaintiff and the

 Michigan Subclass that contradicted these representations.

        401. Defendant’s omissions were material because they were likely to deceive

 reasonable consumers.

        402. Defendant acted intentionally, knowingly, and maliciously to violate

 Michigan’s CPA, and recklessly disregard Plaintiff’s and the Michigan Subclass

 members’ rights. Defendant’s knowledge of the Wheel Defect put it on notice that

 the Corvette was not as advertised. Defendant’s violations present a continuing risk

 to Plaintiff, the Michigan Subclass members, as well as the general public.

 Defendant’s unlawful acts and practices complained of herein affect the public

 interest.

        403. As a direct and proximate result of Defendant’s violations of the

 Michigan CPA, Plaintiff and the Michigan Subclass members have suffered injury-

 in-fact and/or actual damage.

        404. Plaintiffs Czajka and Kalkstein and the Michigan Subclass members

 seek injunctive relief to enjoin Defendant from continuing its unfair and deceptive



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 acts; monetary damages against Defendant measures as the greater of (a) actual

 damages in an amount to be determined at trial, and (b) statutory damages in the

 amount of $250 for Plaintiff and each Michigan Subclass member; reasonable

 attorneys’ fees; and any other just and proper relief available under Mich. Comp.

 Laws § 445.911.

       405. Plaintiffs Czajka and Kalkstein and the Michigan Subclass members also

 seek punitive damages against Defendant because Defendant’s conduct evidences an

 extreme deviation from reasonable standards. Defendant flagrantly, maliciously, and

 fraudulently misrepresented the reliability of the Class Vehicles, deceived Michigan

 Subclass members, and concealed material facts that only it knew. Defendant’s

 conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                    COUNT XVIII

                           Breach of Express Warranty
                    (Mich. Comp. Laws §§ 440.2313, 440.2860)

       406. Plaintiffs Eric Czajka and James Kalkstein, individually and on behalf of

 the Michigan Subclass, incorporates by reference all of the allegations contained in

 the preceding paragraphs of this Class Action Complaint as if fully set forth herein.

       407. Plaintiffs Czajka and Kalkstein bring this Count individually and on

 behalf of the Michigan Subclass.

       408. Defendant is and was at all relevant times a “merchant” with respect to

 motor vehicles under Mich. Comp. Laws § 440.2104(1) and a “seller” of motor


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 vehicles under § 440.2103(1)(c).

       409. With respect to leases, Defendant is and was at all relevant times a

 “lessor” of motor vehicles under Mich. Comp. Laws. S 440.2803(1)(p).

       410. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of Mich. Comp. Laws §§ 440.2105(1) and 440.2803(1)(h).

       411. The wheels were manufactured and/or installed in the Class Vehicles by

 Defendant and are covered by the express warranty.

       412. In a section entitled “What is Covered,” Defendant’s express warranty

 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,

 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

       413. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is

 for the first 3 years or 36,000 miles, whichever comes first.”

       414. Defendant’s NVLW and warranties regarding the Class Vehicles formed

 a basis of the bargain that was breached when Plaintiffs and the Michigan Subclass

 members purchased or leased the Class Vehicles with defective wheels.

       415. Plaintiffs Czajka and Kalkstein and the Michigan Subclass members



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 experienced defects within the warranty period. Despite the existence of the NVLW,

 Defendant failed to inform Plaintiff and the Michigan Subclass members that the

 Class Vehicles were equipped with defective wheels.

       416. Defendant breached the express warranty promising to repair or adjust

 defects in materials or workmanship of any part supplied by Defendant. Defendant

 has not repaired or adjusted, and has been unable to repair or adjust, the Class

 Vehicles materials and workmanship defects.

       417. Plaintiffs Czajka and Kalkstein reported their wheel failures to

 Defendant. In addition, Defendant was provided with notice of these issues by

 numerous NHTSA and consumer complaints filed against it, including the instant

 Complaint and similar legal proceedings, and has actual knowledge of the defect.

       418. As a direct and proximate result of Defendant’s breach of express

 warranties, Plaintiffs Czajka and Kalkstein and the Michigan Subclass members

 have been damaged in an amount to be determined at trial.

                                    COUNT XIX

                 Breach of Implied Warranty of Merchantability
                 (Mich. Comp. Laws §§ 440.2314 and 440.2860)

       419. Plaintiff Eric Czajka and James Kalkstein, individually and on behalf of

 the Michigan Subclass, incorporates by reference all of the allegations contained in

 the preceding paragraphs of this Class Action Complaint as if fully set forth herein.

       420. Plaintiffs Czajka and Kalkstein bring this Count individually and on


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 behalf of the Michigan Subclass.

       421. Defendant is and was at all relevant times a “merchant” with respect to

 motor vehicles under Mich. Comp. Laws § 440.2104(1) and a “seller” of motor

 vehicles under § 440.2103(1)(c).

       422. With respect to leases, Defendant is and was at all relevant times a

 “lessor” of motor vehicles under Mich. Comp. Laws. S 440.2803(1)(p).

       423. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of Mich. Comp. Laws §§ 440.2105(1) and 440.2803(1)(h).

       424. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law pursuant

 to Mich. Comp. Laws §§ 440.2314 and 440.2862.

       425. Defendant provided Plaintiffs and Class Members with an implied

 warranty that the Class Vehicles and their components and parts are merchantable

 and fit for the ordinary purposes for which they were sold. However, the Class

 Vehicles are not fit for their ordinary purpose of providing reasonably reliable and

 safe transportation because, inter alia, the Class Vehicles and their wheels suffered

 from an inherent defect at the time of sale and thereafter and are not fit for their

 particular purpose of providing safe and reliable transportation.

       426. Defendant impliedly warranted that the Class Vehicles were of

 merchantable quality and fit for their intended use. This implied warranty included,



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 among other things: (i) a warranty that the Class Vehicles and their wheels, which

 were manufactured, supplied, distributed, and/or sold by GM, would provide safe

 and reliable transportation; and (ii) a warranty that the Class Vehicles and their

 wheels would be fit for their intended use.

       427. Contrary to the applicable implied warranties, the Class Vehicles and

 their wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiff and Class Members with reliable, durable,

 and safe transportation. Instead, the Class Vehicles are defective, including the

 defective wheels.

       428. The alleged Wheel Defect is inherent and was present in each Class

 Vehicle at the time of sale.

       429. Because of Defendant’s breach of the applicable implied warranties,

 owners and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

 property, and/or value of their Class Vehicles. Additionally, because of the Wheel

 Defect, Plaintiff and Class Members were harmed and suffered actual damages in

 that the Class Vehicles’ wheels are substantially certain to fail before their expected

 useful life has run.

       430. As a direct and proximate result of Defendant’s breach of the implied

 warranty of merchantability, Plaintiffs and the Michigan Subclass members have

 been damaged in an amount to be determined at trial.



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         G.    Claims Brought on Behalf of the New Hampshire Subclass

                                      COUNT XX

              Violations Of New Hampshire Consumer Protection Act
                         (N.H. Rev. Stat. § 358-A:1, et seq.)

         431. Plaintiffs David Goldberg and Robert and Carole Smith, individually and

 on behalf of the New Hampshire Subclass, incorporate by reference all of the

 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

         432. Plaintiffs David Goldberg and Robert and Carole Smith bring this Count

 individually and on behalf of the New Hampshire Subclass.

         433. Plaintiffs, the New Hampshire class members, and Defendant are

 “persons” under the New Hampshire Consumer Protection Act (“New Hampshire

 PA”).

         434. N.H. Rev. Stat. § 358-A:1. Defendant’s actions as set forth herein

 occurred in the conduct of trade or commerce as defined under N.H. Rev. Stat. §

 358-A:1.

         435. The New Hampshire CPA prohibits a person, in the conduct of any trade

 or commerce, from using “any unfair or deceptive act or practice,” including “but ...

 not limited to, the following: ... (V) Representing that goods or services have ...

 characteristics, ... uses, benefits, or quantities that they do not have;” “(VII)

 Representing that goods or services are of a particular standard, quality, or grade, ...


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 if they are of another;” and “(IX) Advertising goods or services with intent not to

 sell them as advertised.” N.H. Rev. Stat. § 358-A:2.

       436. In the course of its business, Defendant concealed and suppressed

 material facts concerning the Corvette. Defendant failed to disclose the Wheel

 Defect. Defendant also engaged in unlawful trade practices by employing deception,

 deceptive acts or practices, fraud, concealment, suppression or omission of any

 material fact with intent that others rely upon such concealment, suppression or

 omission, in connection with the sale and lease of Corvette vehicles.

       437. Defendant owed Plaintiffs and the New Hampshire Subclass a duty to

 disclose the true nature of the Corvettes because Defendant: (a) possessed exclusive

 knowledge about the defect; (b) intentionally concealed the foregoing from Plaintiffs

 and the New Hampshire Subclass; and (c) made incomplete representations about

 the Corvette, while purposefully withholding material facts from Plaintiffs and the

 New Hampshire Subclass that contradicted these representations.

       438. Defendant knew about the Wheel Defect at time of sale and lease.

 Defendant acquired additional information concerning the Wheel Defect after the

 Corvettes were sold and leased but continued to conceal information.

       439. Defendant thus violated the New Hampshire CPA by, at a minimum,

 employing deception, deceptive acts or practices, fraud, concealment, suppression,

 or omission of any material fact with the intent that others rely upon such



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 concealment, suppression, or omission, in connection with the sale and lease of the

 Class Vehicles.

       440. Defendant intentionally and knowingly misrepresented material facts

 regarding the Class Vehicles with intent mislead Plaintiffs and the New Hampshire

 Subclass members.

       441. Defendant knew or should have known that its conduct violated the New

 Hampshire CPA.

       442. Defendant’s unfair or deceptive acts or practices were likely to and did

 in fact deceive reasonable consumers, including Plaintiffs.

       443. Plaintiffs and the New Hampshire Subclass suffered ascertainable loss

 and actual damages as a direct and proximate result of Defendant’s

 misrepresentations and its concealment of and failure to disclose material

 information. Plaintiffs and the New Hampshire Subclass members who purchased

 or leased the Class Vehicles would not have purchased or leased them or would have

 paid significantly less for them if the Wheel Defect had been disclosed.

       444. Defendant had an ongoing duty to Plaintiffs and the New Hampshire

 Subclass to refrain from unfair and deceptive practices under the New Hampshire

 CPA. All owners of the Class Vehicles suffered ascertainable loss in the form of the

 diminished value of their vehicles as a result of Defendant’s deceptive and unfair

 acts and practices made in the course of Defendant’s business.



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        445. Defendant’s violations present a continuing risk to Plaintiffs, the New

 Hampshire Subclass, and the general public. Defendant’s unlawful acts and practices

 complained of herein affect the public interest.

        446. As a direct and proximate result of Defendant’s violations of the New

 Hampshire CPA, Plaintiffs and the New Hampshire Subclass have suffered injury-

 in-fact and/or actual damage.

        447. Because Defendant’s willful conduct caused injury to Plaintiffs and the

 New Hampshire Subclass members’ property through violations of the New

 Hampshire CPA, Plaintiffs and the New Hampshire Subclass seek recovery of actual

 damages or $1,000 each, whichever is greater, treble damages, costs, and reasonable

 attorneys’ fees, an order enjoining Defendant’s unfair and/or deceptive acts and

 practices, and any other just and proper relief under N.H. REV. STAT. § 358-A:10.

                                    COUNT XXI

                            Breach of Express Warranty
             (N.H. Rev. Stat. §§ 382-A:2-313 and 382-A:2A-210, et seq.)

        448. Plaintiffs David Goldberg and Robert and Carole Smith, individually and

 on behalf of the New Hampshire Subclass, incorporate by reference all of the

 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

        449. Plaintiffs David Goldberg and Robert and Carole Smith bring this Count

 individually and on behalf of the New Hampshire Subclass.


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       450. Defendant is and was at all relevant times a “merchant” with respect to

 motor vehicles under N.H. Rev. Stat. § 382-A:2-104(1) and a “seller” of motor

 vehicles under § 382-A:2-103(1)(d).

       451. With respect to leases, Defendant is and was at all relevant times a

 “lessor” of motor vehicles under N.H. Rev. Stat. § 382-A:2A-103(1)(p).

       452. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of N.H. Rev. Stat. §§ 382-A:2-105(1) and 2A-103(1)(h).

       453. The wheels were manufactured and/or installed in the Class Vehicles by

 Defendant and are covered by the express warranty.

       454. In a section entitled “What is Covered,” Defendant’s express warranty

 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,

 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

       455. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is

 for the first 3 years or 36,000 miles, whichever comes first.”

       456. Defendant’s NVLW and warranties regarding the Class Vehicles formed

 a basis of the bargain that was breached when Plaintiffs and the New Hampshire



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 Subclass members purchased or leased the Class Vehicles with defective wheels.

       457. Plaintiffs and the New Hampshire Subclass members experienced

 defects within the warranty period. Despite the existence of the NVLW, Defendant

 failed to inform Plaintiffs and the New Hampshire Subclass members that the Class

 Vehicles were equipped with defective wheels.

       458. Defendant breached the express warranty promising to repair or adjust

 defects in materials or workmanship of any part supplied by Defendant. Defendant

 has not repaired or adjusted, and has been unable to repair or adjust, the Class

 Vehicles materials and workmanship defects.

       459. Plaintiffs reported their wheel issue to Defendant. In addition, Defendant

 was provided with notice of these issues by numerous NHTSA and consumer

 complaints filed against it, including the instant Complaint and similar legal

 proceedings, and has actual knowledge of the defect.

       460. As a direct and proximate result of Defendant’s breach of express

 warranties, Plaintiffs and the New Hampshire Subclass members have been

 damaged in an amount to be determined at trial.

                                   COUNT XXII

                Breach of Implied Warranty of Merchantability
           (N.H. Rev. Stat. §§ 382-A:2-314 and 382-A:2A-212, et seq.)

       461. Plaintiffs David Goldberg and Robert and Carole Smith, individually and

 on behalf of the New Hampshire Subclass, incorporate by reference all of the


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 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

        462. Plaintiffs David Goldberg and Robert and Carole Smith bring this Count

 individually and on behalf of the New Hampshire Subclass.

        463. Defendant is and was at all relevant times a “merchant” with respect to

 motor vehicles under N.H. Rev. Stat. § 382-A:2-104(1) and a “seller” of motor

 vehicles under § 382-A:2-103(1)(d).

        464. With respect to leases, Defendant is and was at all relevant times a

 “lessor” of motor vehicles under N.H. Rev. Stat. § 382-A:2A-103(1)(p).

        465. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of N.H. Rev. Stat. §§ 382-A:2-105(1) and 2A-103(1)(h).

        466. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law pursuant

 N.H. Rev. Stat. §§ 382-A:2-314 and 382-A:2A-212.

        467. Defendant provided Plaintiff and Class Members with an implied

 warranty that the Class Vehicles and their components and parts are merchantable

 and fit for the ordinary purposes for which they were sold. However, the Class

 Vehicles are not fit for their ordinary purpose of providing reasonably reliable and

 safe transportation because, inter alia, the Class Vehicles and their wheels suffered

 from an inherent defect at the time of sale and thereafter and are not fit for their



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 particular purpose of providing safe and reliable transportation.

       468. Defendant impliedly warranted that the Class Vehicles were of

 merchantable quality and fit for their intended use. This implied warranty included,

 among other things: (i) a warranty that the Class Vehicles and their wheels, which

 were manufactured, supplied, distributed, and/or sold by GM, would provide safe

 and reliable transportation; and (ii) a warranty that the Class Vehicles and their

 wheels would be fit for their intended use.

       469. Contrary to the applicable implied warranties, the Class Vehicles and

 their wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiff and Class Members with reliable, durable,

 and safe transportation. Instead, the Class Vehicles are defective, including the

 defective wheels.

       470. The alleged Wheel Defect is inherent and was present in each Class

 Vehicle at the time of sale.

       471. Because of Defendant’s breach of the applicable implied warranties,

 owners and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

 property, and/or value of their Class Vehicles. Additionally, because of the Wheel

 Defect, Plaintiff and Class Members were harmed and suffered actual damages in

 that the Class Vehicles’ wheels are substantially certain to fail before their expected

 useful life has run.



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       472. As a direct and proximate result of Defendant’s breach of the implied

 warranty of merchantability, Plaintiffs and the New Hampshire Subclass members

 have been damaged in an amount to be determined at trial.

       H.     Claims Brought on Behalf of the New Jersey Subclass

                                     COUNT XXIII

                Violations of The New Jersey Consumer Fraud Act
                        (N.J. STAT. ANN. §§ 56:8-1, et seq.)

       473. Plaintiff Chookazian incorporates by reference all preceding allegations

 as though fully set forth herein.

       474. Plaintiff Chookazian brings this Count individually and on behalf of the

 New Jersey Subclass.

       475. GM, Plaintiff Chookazian, and the New Jersey Subclass Members are

 “person[s]” under the New Jersey Consumer Fraud Act, N.J. Stat. § 56:8-1(d).

       476. GM engaged in “sales” of “merchandise” within the meaning of N.J. Stat

 § 56:8-1(c), (e). GM’s actions as set forth herein occurred in the conduct of trade or

 commerce.

       477. The New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-1, et seq.

 (“New Jersey CFA”), prohibits unfair or deceptive acts or practices in the conduct

 of any trade or commerce. The conduct GM as set forth herein constitutes unfair or

 deceptive acts or practices.

       478. GM participated in misleading, false, or deceptive practices that violated


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 the New Jersey CFA.

       479. In the course of its business, GM willfully failed to disclose and/or

 actively concealed the fact that the Class Vehicles have defective wheels discussed

 herein and the fact that GM would not cover repair or replacement of the defective

 wheels under its warranty, and otherwise engaged in activities with a tendency or

 capacity to deceive. GM also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       480. GM was also aware that it valued profits over safety, and that it was

 manufacturing, selling, and distributing vehicles throughout the United States that

 did not perform as advertised and jeopardized the safety of the vehicle’s occupants

 and the public.

       481. By failing to disclose that the Class Vehicles have defective wheels and

 were not safe, by marketing its vehicles as safe, reliable, and of high quality, and by

 presenting itself as a reputable manufacturer that valued safety and stood behind its

 warranty and vehicles after they were sold, GM engaged in deceptive business

 practices in violation of the New Jersey CFA.

       482. GM’s unfair or deceptive acts or practices were likely to and did in fact



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 deceive reasonable consumers, including Plaintiff Chookazian and the other Class

 members, about the true performance of the Class Vehicles, the quality of the GM

 brand, the devaluing of safety and performance at GM, and the true value of the

 Class Vehicles.

        483. GM intentionally and knowingly misrepresented material facts regarding

 the Class Vehicles with the intent to mislead Plaintiff Chookazian and the New

 Jersey Subclass.

        484. GM knew or should have known that its conduct violated the New Jersey

 CFA.

        485. GM owed Plaintiff Chookazian a duty to disclose the true safety,

 performance, and reliability of the Class Vehicles, and the devaluing of safety and

 performance at GM, because GM had exclusive or superior knowledge and

 concealed material facts and/or omitted material facts regarding the defective wheels

 and its warranty coverage.

        486. The existence of the Defect, the defective wheels, and the true

 performance of the Class Vehicles were material facts to Plaintiff Chookazian and

 the New Jersey Subclass.

        487. GM’s violations present a continuing risk to Plaintiff Chookazian and the

 New Jersey Subclass members as well as to the general public. GM’s unlawful acts

 and practices complained of herein affect the public interest.



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       488. GM had an ongoing duty to all GM customers to refrain from unfair and

 deceptive practices under the New Jersey CFA. All owners of the Class Vehicles

 suffered ascertainable loss from not obtaining the benefit of their bargains.

       489. As a direct and proximate result of GM’s violations of the New Jersey

 CFA, Plaintiff Chookazian and the New Jersey Subclass have suffered injury-in-fact

 and/or actual damage in paying to replace and/or repair defective wheels and in

 paying more to purchase or lease the Class Vehicles than they would have had they

 known of the Wheel Defect. Class members who purchased or leased the Class

 Vehicles either would have paid less for their vehicles or would not have purchased

 or leased them but for GM’s violations of the New Jersey CFA.

       490. As a result of the foregoing wrongful conduct of GM, Plaintiffs and the

 New Jersey Subclass have been damaged in an amount to be proven at trial, and seek

 all just and proper remedies, including but not limited to, actual and statutory

 damages, treble damages, and order enjoining GM’s deceptive and unfair conduct,

 costs and reasonable attorneys’ fees under N.J. Stat. § 56:8-19, and all other just and

 appropriate relief.

                                    COUNT XXIV

                           Breach of Express Warranty
                 (N.J. STAT. ANN. § 12A:2-313 AND 12A:2A-210)

       491. Plaintiff Chookazian incorporates by reference all allegations of the

 preceding paragraphs as though fully set forth herein.


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       492. Plaintiff Chookazian brings this Count individually and on behalf of the

 New Jersey Subclass.

       493. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under N.J. Stat. Ann. § 12A:2-104 and a “seller” of motor vehicles under §

 12A:2-313.

       494. With respect to leases, GM is and was at all relevant times a “lessor”

 with respect to motor vehicles under NJ. Stat. Ann. § 12A:2A-103(1)(p), and §

 12A:2A-210.

       495. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of N.J. Stat. Ann. § 12A:2-104(1) and § 12A:2A-103(1)(h).

       496. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       497. As a manufacturer of motor vehicles, GM was required to provide these

 warranties to purchasers of the Class Vehicles.

       498. GM’s warranties formed the basis of the bargain that was reached when

 Plaintiff Chookazian and other Class members purchased or leased their Class

 Vehicles equipped with the defective wheels.

       499. Plaintiff Chookazian and the Class members experienced defects within



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 the warranty period.

       500. GM breached the express warranty promising to repair and correct a

 manufacturing defect or materials or workmanship of any part supplied by GM. GM

 has not repaired or adjusted, and has been unable to repair or adjust, the Class

 Vehicles’ materials and workmanship defects.

       501. Affording GM a reasonable opportunity to cure its breach of written

 warranties would be unnecessary and futile here.

       502. Furthermore, the limited warranty promising to repair and/or correct a

 manufacturing defect fails in its essential purpose because the contractual remedy is

 insufficient to make Plaintiff Chookazian and Class members whole and because

 GM has failed and/or has refused to adequately provide the promised remedies

 within a reasonable time.

       503. Accordingly, recovery by Plaintiff Chookazian and the other Class

 members is not limited to the limited warranty promising to repair and/or correct a

 manufacturing defect, and Plaintiff Chookazian, individually and on behalf of the

 other Class members, seeks all remedies as allowed by law.

       504. Also, as alleged in more detail herein, at the time GM warranted and sold

 the Class Vehicles, it knew that the Class Vehicles did not conform to GM’s

 warranties and were inherently defective, and GM wrongfully and fraudulently

 concealed material facts regarding its Class Vehicles. Plaintiff Chookazian and the



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 other Class members were therefore induced to purchase or lease the Class Vehicles

 under false and/or fraudulent pretenses.

       505. Moreover, many of the injuries flowing from the Class Vehicles cannot

 be resolved through the limited remedy of “replacements or adjustments,” as many

 incidental and consequential damages have already been suffered due to GM’s

 fraudulent conduct as alleged herein. Due to GM’s failure and/or continued failure

 to provide such limited remedy within a reasonable time, any limitation on Plaintiff

 Chookazian’s and the other Class members’ remedies would be insufficient to make

 Plaintiff Chookazian and the other Class members whole.

       506. Finally, due to GM’s breach of warranty as set forth herein, Plaintiff

 Chookazian and the other Class members assert as an additional and/or alternative

 remedy, revocation of acceptance of the goods, and for the return to Plaintiffs and

 the other Class members of the purchase price of all Class Vehicles currently owned,

 and for such other incidental and consequential damages as allowed.

       507. GM was provided notice of these issues by numerous complaints filed

 against it, including those submitted to NHTSA and the instant Complaint, within a

 reasonable amount of time after the defect was discovered.

       508. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiff Chookazian and the other Class members have been damaged in an amount

 to be determined at trial.



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                                    COUNT XXV

                 Breach of Implied Warranty Of Merchantability
                         (N.J. STAT. ANN. § 12-A:2-314)

       509. Plaintiff Chookazian incorporates by reference all allegations of the

 preceding paragraphs as though fully set forth herein.

       510. Plaintiff Chookazian brings this Count individually and on behalf of the

 New Jersey Subclass.

       511. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       512. A warranty that the Class Vehicles were in merchantable condition is

 implied by law in the instant transactions. These Class Vehicles, when sold and at all

 times thereafter, were not in merchantable condition and are not fit for the ordinary

 purpose for which cars are used. Specifically, the Class Vehicles are inherently

 defective in that the defective wheels are not safe, merchantable or suitable for high

 performance sports cars.

       513. GM was provided notice of these issues by complaints lodged by

 consumers with NHTSA—which vehicle manufacturers like GM routinely

 monitor—before or within a reasonable amount of time after the allegations of the

 Class Vehicle defects became public.

       514. As a direct and proximate result of GM’s breach of the warranties of

 merchantability, Plaintiff Chookazian and the other Class members have been


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 damaged in an amount to be proven at trial.

       I.     Claims Brought on Behalf of the New York Subclass

                                   COUNT XXVI

               Violations Of New York General Business Law § 349
                          (N.Y. GEN. BUS. LAW § 349)

       515. Plaintiff Williams incorporates by reference all preceding allegations as

 though fully set forth herein.

       516. Plaintiff Williams brings this Count individually and on behalf of the

 New York Subclass.

       517. New York’s General Business Law § 349 makes unlawful “[d]eceptive

 acts or practices in the conduct of any business, trade or commerce.”

       518. In the course of GM’s business, it willfully failed to disclose and actively

 concealed the dangerous risk of the Wheel Defect in Class Vehicles as described

 above. Accordingly, GM engaged in unfair methods of competition, unconscionable

 acts or practices, and unfair or deceptive acts or practices as defined in N.Y. Gen.

 Bus. Law § 349, including engaging in conduct likely to deceive.

       519. GM’s actions as set forth above occurred in the conduct of trade or

 commerce.

       520. Because GM’s deception takes place in the context of automobile safety,

 its deception affects the public interest. Further, GM’s unlawful conduct constitutes

 unfair acts or practices that have the capacity to deceive consumers, and that have a


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 broad impact on consumers at large.

       521. GM’s conduct proximately caused injuries to Plaintiff Williams and the

 other Class members.

       522. Plaintiff Williams and the other Class members were injured as a result

 of GM’s conduct in that Plaintiff Williams and the New York Subclass members

 overpaid for their Class Vehicles and did not receive the benefit of their bargain.

 These injuries are the direct and natural consequence of GM’s misrepresentations

 and omissions.

                                    COUNT XXVII

               Violations of New York General Business Law § 350
                          (N.Y. GEN. BUS. LAW § 350)

       523. Plaintiff Williams incorporates by reference all preceding allegations as

 though fully set forth herein.

       524. Plaintiff Williams brings this Count individually and on behalf of the

 New York Subclass.

       525. New York’s General Business Law § 350 makes unlawful “[f]alse

 advertising in the conduct of any business, trade or commerce[.]” False advertising

 includes “advertising, including labeling, of a commodity … if such advertising is

 misleading in a material respect,” taking into account “the extent to which the

 advertising fails to reveal facts material in the light of … representations [made] with

 respect to the commodity….” N.Y. Gen. Bus. Law § 350-a.


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       526. GM caused to be made or disseminated through New York, through

 advertising, marketing, and other publications, statements that were untrue or

 misleading, and which were known, or which by the exercise of reasonable care

 should have been known to GM, to be untrue and misleading to consumers,

 including Plaintiff Williams and the other Class members.

       527. GM has violated N.Y. Gen. Bus. Law § 350 because the omissions

 regarding the defective wheels in Class Vehicles as described above, and the fact that

 GM would not cover repair or replacement of the wheels under its warranty, were

 material and likely to deceive a reasonable consumer.

       528. Plaintiff Williams and the other Class members have suffered injury,

 including the loss of money or property, as a result of GM’s false advertising. In

 purchasing or leasing their Class Vehicles, Plaintiff Williams and the other Class

 members relied on the representations and/or omissions of GM with respect to the

 safety, quality, functionality, and reliability of the Class Vehicles and the coverage

 of GM’s “Bumper-to-Bumper” warranty.

       529. Accordingly, Plaintiff Williams and the other Class members overpaid

 for their Class Vehicles and did not receive the benefit of the bargain for their Class

 Vehicles.

       530. Plaintiff Williams, individually and on behalf of the other New York

 Subclass members, requests that this Court enter such orders or judgments as may



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 be necessary to enjoin GM from continuing its unfair, unlawful and/or deceptive

 practices. Plaintiff Williams and the other Class members are also entitled to recover

 their actual damages or $500, whichever is greater. Because GM acted willfully or

 knowingly, Plaintiff Williams and the other Class members are entitled to recover

 three times actual damages, up to $10,000.

                                  COUNT XXVIII

                            Breach of Express Warranty
                               (N.Y. U.C.C. § 2-313)

       531. Plaintiff Williams incorporates by reference all preceding allegations as

 though fully set forth herein.

       532. Plaintiff Williams brings this Count on behalf of the New York Subclass.

       533. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       534. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       535. GM’s Limited Warranty formed the basis of the bargain that was reached

 when Plaintiff Williams and the other Class members purchased or leased their Class

 Vehicles equipped with defective wheels from GM.

       536. GM breached the express warranty to repair or replace defects in


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 materials and workmanship of any part of the Class Vehicles.

       537. Furthermore, the limited warranty of repair and/or replacement fails in

 its essential purpose because the contractual remedy is insufficient to make Plaintiff

 Williams and the other Class members whole and because GM has failed and/or has

 refused to adequately provide the promised remedies within a reasonable time.

       538. Accordingly, recovery by Plaintiff Williams and the New York Subclass

 members is not limited to the limited warranty of repair or replacement to parts

 defective in materials or workmanship, and Plaintiff Williams, individually and on

 behalf of the other Class members, seek all remedies as allowed by law.

       539. Also, as alleged in more detail herein, at the time that GM warranted and

 sold the Class Vehicles it knew that the Class Vehicles did not conform to GM’s

 Limited Warranty and were inherently defective, and GM wrongfully and

 fraudulently concealed material facts regarding its Class Vehicles. Plaintiff Williams

 and the New York Subclass members were therefore induced to purchase or lease

 the Class Vehicles under false and/or fraudulent pretenses.

       540. Due to GM’s breach of warranty as set forth herein, Plaintiff Williams

 and the other New York Subclass members assert as an additional and/or alternative

 remedy, as set forth in N.Y. U.C.C. § 2-608, for a revocation of acceptance of the

 goods, and for a return to Plaintiff Williams and to the other New York Subclass

 members of the purchase price of all Class Vehicles currently owned for such other



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 incidental and consequential damages as allowed under N.Y. U.C.C. §§ 2-711 and

 2-608.

          541. GM was provided notice of these issues by numerous complaints filed

 against it, including those submitted to NHTSA and the instant Complaint.

          542. As a direct and proximate result of GM’s breach of express warranty,

 Plaintiff Williams and the other Subclass members have been damaged in an amount

 to be determined at trial.

          J.     Claims Brought on Behalf of the Pennsylvania Subclass

                                    COUNT XXIX

               Violation of the Pennsylvania Unfair Trade Practices and
                               Consumer Protection Law
                                 (73 P.S. § 201-1, et seq.)

          543. Plaintiffs Joseph Bossart and Michael Roth, individually and on behalf

 of the Pennsylvania Subclass, incorporate by reference all of the allegations

 contained in the preceding paragraphs of this Class Action Complaint as if fully set

 forth herein.

          544. Plaintiffs Bossart and Roth bring this Count individually and on behalf

 of the Pennsylvania Subclass.

          545. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members

 purchased or leased their Class Vehicles primarily for personal, family, or household

 purposes within the meaning of 73 P.S. § 201-9.2.



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       546. All of the acts complained of herein were perpetrated by Defendant in

 the course of trade or commerce within the meaning of 73 P.S. § 201-2(3).

       547. The Pennsylvania Unfair Trade Practices and Consumer Protection Law

 (“UTPCPL”) prohibits unfair or deceptive acts or practices, including: (i)

 “Representing that goods or services have … characteristics, …. [b]enefits or

 qualities that they do not have;” (ii) “Representing that goods or services are of a

 particular standard, quality or grade … if they are of another;” (iii) “Advertising

 goods or services with intent not to sell them as advertised;” and (iv) “Engaging in

 any other fraudulent or deceptive conduct which creates a likelihood of confusion or

 misunderstanding.” 73 P.S. § 201-2(4).

       548. Defendant engaged in unlawful trade practices, including engaging in

 fraudulent or deceptive conduct which creates a likelihood of confusion or of

 misunderstanding; specifically, failing to disclose and actively concealing the

 material fact of the Wheel Defect and the true nature of its wheels.

       549. In the course of its business, Defendant concealed the Wheel Defect as

 described herein and otherwise engaged in activities with a tendency or capacity to

 deceive. Defendant also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, or concealment, suppression or

 omission of any material fact with intent that others rely upon such concealment,

 suppression or omission, in connection with the sale of Class Vehicles.



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       550. Defendant has known of the Wheel Defect and the true nature of the

 defective wheels when it sold the Class Vehicles but concealed all of that

 information.

       551. By failing to disclose and by actively concealing the Wheel Defect and

 the true nature of the defective wheels, Defendant engaged in unfair and deceptive

 business practices in violation of the UTPCPL.

       552. Defendant’s unfair or deceptive acts or practices were likely to and did

 in fact deceive reasonable consumers, including Plaintiffs Bossart and Roth and the

 Pennsylvania Subclass members, about the true performance and characteristics of

 the Class Vehicles.

       553. Defendant intentionally and knowingly omitted material facts regarding

 the Class Vehicles with intent to mislead Plaintiffs Bossart and Roth and the

 Pennsylvania Subclass members.

       554. Defendant knew or should have known that its conduct violated the

 UTPCPL.

       555. Because Defendant fraudulently concealed the Wheel Defect, the value

 of the Class Vehicles has greatly diminished.

       556. Defendant’s concealment of the true characteristics of the subject Wheels

 was material to Plaintiffs Bossart and Roth and the Pennsylvania Subclass members.

 Plaintiffs and the Pennsylvania Subclass members suffered ascertainable loss caused



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 by Defendant’s omissions and its concealment of and failure to disclose material

 information.

       557. Defendant had an ongoing duty to all its customers to refrain from unfair

 and deceptive acts or practices under the UTPCPL. All owners of Class Vehicles

 suffered ascertainable loss in the form of the diminished value of their vehicles and

 as a loss of the benefit of the bargain as a result of Defendant’s deceptive and unfair

 acts and practices that occurred in the course of Defendant’s business.

       558. As a direct and proximate result of Defendant’s violations of the

 UTPCPL, Plaintiffs Bossart and Roth and the Pennsylvania Subclass members have

 suffered injury-in-fact and/or actual damage.

       559. Defendant is liable to Plaintiffs Bossart and Roth and the Pennsylvania

 Subclass members for treble their actual damages or $100, whichever is greater, and

 attorneys’ fees and costs. See 73 P.S. § 201-9.2(a). Plaintiffs Bossart and Roth and

 the Pennsylvania Subclass members are also entitled to an award of punitive

 damages given that Defendant’s conduct was malicious, wanton, willful, oppressive,

 or exhibited a reckless indifference to the rights of others.

                                     COUNT XXX

                            Breach of Express Warranty
                         (13 PA. Cons. Stat. §§ 2313, 2A210)

       560. Plaintiffs Joseph Bossart and Michael Roth, individually and on behalf

 of the Pennsylvania Subclass, incorporate by reference all of the allegations


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 contained in the preceding paragraphs of this Class Action Complaint as if fully set

 forth herein.

       561. Plaintiffs Bossart and Roth bring this Count individually and on behalf

 of the Pennsylvania Subclass.

       562. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a), and a “seller” of motor

 vehicles under § 2103(a).

       563. With respect to leases, GM is and was at all relevant times a “lessor” of

 motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).

       564. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of 13 Pa. Cons. Stat. § 2105(a) and 2A103(a).

       565. GM provided all purchasers and lessees of the Class Vehicles with the

 express warranty described herein, which became a material part of the bargain.

       566. GM provided all purchasers and lessees of Class Vehicles with the GM

 Warranty.

       567. In a section entitled “What is Covered,” Defendant’s express warranty

 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,



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 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

       568. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is

 for the first 3 years or 36,000 miles, whichever comes first.”

       569. Defendant breached the express warranties by selling and leasing Class

 Vehicles with wheels that were defective, requiring repair or replacement within the

 warranty period, and refusing to honor the express warranty by repairing or

 replacing, free of charge, the wheels. In addition, when Defendant did agree to pay

 a portion of the costs, Defendant nevertheless breached the express warranty by

 simply replacing Plaintiff’s and Class Members’ defective wheels with similarly

 defective wheels, thus failing to “repair” the defect.

       570. GM manufactured and/or installed the Wheels and the Wheels’

 component parts in the Class Vehicles, and the Wheels and their component parts

 are covered by the express Warranties.

       571. The Wheel Defect at issue in this litigation was present at the time the

 Class Vehicles were sold or leased to Plaintiffs Bossart and Roth and the

 Pennsylvania Subclass members.

       572. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members

 relied on GM’s express warranties, which were a material part of the bargain, when

 purchasing or leasing their Class Vehicles.



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       573. Under the express Warranties, GM was obligated to correct the Wheel

 Defect in the vehicles owned or leased by Plaintiffs Bossart and Roth and the

 Pennsylvania Subclass members.

       574. Although GM was obligated to correct the Wheel Defect, none of the

 attempted fixes to the Wheels are adequate under the terms of the Warranties, as they

 did not cure the defect.

       575. GM breached the express Warranties by failing to repair or replace the

 Wheels, or by performing illusory repairs such as replacing the Wheels with equally

 defective Wheels.

       576. GM and its agent dealers have failed and refused to conform the Wheels

 to the express Warranties. GM’s conduct, as discussed throughout this Complaint,

 has voided any attempt on its part to disclaim liability for its actions.

       577. Moreover, GM’s attempt to disclaim or limit these express Warranties

 vis-à-vis consumers is unconscionable and unenforceable under the circumstances

 here. Specifically, GM’s warranty limitation is unenforceable because it knowingly

 sold a defective product without informing consumers about the defect.

       578. The time limits contained in GM’s warranty period were also

 unconscionable and inadequate to protect Plaintiffs Bossart and Roth and the

 Pennsylvania Subclass members. Among other things, Plaintiffs Bossart and Roth

 and the Pennsylvania Subclass members had no meaningful choice in determining



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 these time limitations, the terms of which unreasonably favored GM. A gross

 disparity in bargaining power existed between GM and the Pennsylvania Subclass

 members, and GM knew or should have known that the Class Vehicles were

 defective at the time of sale.

       579. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members have

 complied with all obligations under the Warranties, or otherwise have been excused

 from performance of said obligations as a result of GM’s conduct described herein.

       580. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members

 were not required to notify GM of the breach because affording GM a reasonable

 opportunity to cure its breach of written warranty would have been futile. GM was

 also on notice of the Wheel Defect from the complaints and service requests it

 received from Plaintiffs Bossart and Roth and the Pennsylvania Subclass members,

 from repairs and/or replacements of the wheels or components thereof, and through

 other internal and external sources.

       581. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Wheel Defect if GM determines the repairs are

 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Wheel Defect.

       582. Because GM has not been able remedy the Wheel Defect, any limitation

 on remedies included in the Warranties causes the Warranties to fail their essential



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 purposes, rendering them null and void.

       583. As a direct and proximate cause of GM’s breach, Plaintiffs Bossart and

 Roth and the Pennsylvania Subclass members suffered damages and continue to

 suffer damages, including economic damages at the point of sale or lease and

 diminution of value of their Class Vehicles. Additionally, Plaintiffs Bossart and Roth

 and the Pennsylvania Subclass members have incurred or will incur economic

 damages at the point of repair in the form of the cost of repair.

       584. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiffs Bossart and Roth and the Pennsylvania Subclass members have been

 damaged in an amount to be determined at trial.

                                    COUNT XXXI

                  Breach of Implied Warranty of Merchantability
                      (13 Pa. Cons. Stat. §§ 2314 and 2A212)

       585. Plaintiffs Joseph Bossart and Michael Roth, individually and on behalf

 of the Pennsylvania Subclass, incorporate by reference all of the allegations

 contained in the preceding paragraphs of this Class Action Complaint as if fully set

 forth herein.

       586. Plaintiffs Bossart and Roth bring this Count individually and on behalf

 of the Pennsylvania Subclass.

       587. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103(a), and a “seller” of motor


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 vehicles under § 2103(a).

       588. With respect to leases, GM is and was at all relevant times a “lessor” of

 motor vehicles under 13 Pa. Cons. Stat. § 2A103(a).

       589. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of 13 Pa. Cons. Stat. § 2105(a) and 2A103(a).

       590. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under 13

 Pa. Cons. Stat. §§ 2314 and 2A212.

       591. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased or leased. GM directly sold and marketed vehicles

 equipped with the Wheels to customers through authorized dealers, like those from

 whom Plaintiffs Bossart and Roth and the Pennsylvania Subclass members bought

 or leased their vehicles, for the intended purpose of consumers purchasing the

 vehicles. GM knew that the Class Vehicles would and did pass unchanged from the

 authorized dealers to Plaintiffs Bossart and Roth and the Pennsylvania Subclass

 members, with no modification to the defective Wheels.

       592. GM provided Plaintiffs and Class Members with an implied warranty

 that the Class Vehicles and their components and parts are merchantable and fit for

 the ordinary purposes for which they were sold.

       593. This implied warranty included, among other things: (i) a warranty that



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 the Class Vehicles and their Wheels that were manufactured, supplied, distributed,

 and/or sold by GM were safe and reliable for providing transportation; and (ii) a

 warranty that the Class Vehicles and their Wheels would be fit for their intended use

 while the Class Vehicles were being operated.

       594. Contrary to the applicable implied warranties, the Class Vehicles and

 their Wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing Plaintiffs Bossart and Roth and the Pennsylvania

 Subclass members with reliable, durable, and safe transportation. Instead, the Class

 Vehicles are defective, including, but not limited to, the defective design and

 manufacture of their Wheels and the existence of the Wheel Defect at the time of

 sale or lease and thereafter. GM knew of this defect at the time these sale or lease

 transactions occurred.

       595. As a result of GM’s breach of the applicable implied warranties,

 Plaintiffs Bossart and Roth and the Pennsylvania Subclass members of the Class

 Vehicles suffered an ascertainable loss of money, property, and/or value of their

 Class Vehicles. Additionally, as a result of the Wheel Defect, Plaintiffs Bossart and

 Roth and the Pennsylvania Subclass members were harmed and suffered actual

 damages in that the Class Vehicles’ Wheels are substantially certain to fail before

 their expected useful life has run.

       596. GM’s actions, as complained of herein, breached the implied warranty



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 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of 13 Pa. Cons. Stat. §§ 2314 and 2A212.

       597. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members have

 complied with all obligations under the warranty, or otherwise have been excused

 from performance of said obligations as a result of GM’s conduct described herein.

       598. Plaintiffs Bossart and Roth and the Pennsylvania Subclass members

 were not required to notify GM of the breach because affording GM a reasonable

 opportunity to cure its breach of written warranty would have been futile. GM was

 also on notice of the Wheel Defect from the complaints and service requests it

 received from Plaintiffs and the Class Members, from repairs and/or replacements

 of the Wheels or components thereof, and through other internal sources.

       599. As a direct and proximate cause of GM’s breach, Plaintiffs Bossart and

 Roth and the Pennsylvania Subclass members suffered damages and continue to

 suffer damages, including economic damages at the point of sale or lease and

 diminution of value of their Class Vehicles. Additionally Plaintiffs Bossart and Roth

 and the Pennsylvania Subclass members have incurred or will incur economic

 damages at the point of repair in the form of the cost of repair.

       600. As a direct and proximate result of GM’s breach of the implied warranty

 of merchantability, Plaintiffs Bossart and Roth and the Pennsylvania Subclass

 members have been damaged in an amount to be proven at trial.



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        K.     Claims Brought on Behalf of the Ohio Subclass

                                   COUNT XXXII

                Violations of the Ohio Consumer Sales Practices Act
                         (Ohio Rev. Code. § 1345.01, et seq.)

        601. Plaintiffs Dennis and Marianne Glazer (the “Glazer Plaintiffs”),

 individually and on behalf of the Ohio Subclass, incorporate by reference all of the

 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

        602. The Glazer Plaintiffs bring this Count individually and on behalf of the

 Ohio Subclass.

        603. GM is a “supplier,” as defined by Ohio Rev. Code § 1345.01.

        604. The Glazer Plaintiffs and the Ohio Subclass members are “consumers,”

 as defined by Ohio Rev. Code § 1345.01.

        605. As a result of placing a defective product into the stream of commerce,

 GM has breached its implied warranty in tort, which is an unfair and deceptive act

 as defined in Ohio Rev. Code § 1345.09(B).

        606. GM has committed unfair and deceptive acts, in violation of Ohio’s

 Consumer Sales Practices Act, by knowingly placing into the stream of commerce

 Class Vehicles equipped with defective wheels that are prone to failure; specifically,

 bending and cracking.

        607. Moreover, GM has committed unfair, deceptive, and unconscionable acts


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 by knowingly concealing the defect in the Class Vehicles, failing to inform the

 Glazer Plaintiffs and the Ohio Subclass members of this defect, and in the following

 ways:

             a) At the time of sale, Defendant knowingly misrepresented and

                 intentionally omitted and concealed material information regarding

                 the Class Vehicles by failing to disclose to The Glazer Plaintiffs and

                 the Ohio Subclass members the known defects in the wheels and the

                 known risks associated therewith.

             b) Thereafter, Defendant failed to disclose the defects to the Glazer

                 Plaintiffs and the Ohio Subclass members, either through warnings

                 or recall notices, and/or actively concealed from them the fact that

                 the Class Vehicles’ wheels were defective, even though GM knew

                 of such defects.

             c) Defendant caused the Glazer Plaintiffs and the Ohio Subclass

                 members to expend sums of money at its dealerships and elsewhere

                 to repair and/or replace the defective wheels on the Class Vehicles,

                 despite Defendant’s prior knowledge of the defects at the time of

                 purchase.

             d) Additionally, Defendant, in administering the Warranty, engaged in

                 materially misleading deceptive acts and practices by refusing to



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                 cover the wheels and/or replacing failing wheels with equally

                 defective wheels and denying the existence of and refusing to repair

                 the widely known problems with the wheels.

              e) Furthermore, Defendant engaged in materially misleading and

                 deceptive acts by continuing to sell the Class Vehicles to the

                 consuming public and to represent that these vehicles were in good

                 working order, merchantable, and not defective, despite Defendant’s

                 knowledge that the vehicles would not perform as intended,

                 represented, and warranted and that the above described defects

                 would cause purchasers to incur significant out-of-pocket costs and

                 expenses.

       608. The aforementioned conduct is and was deceptive and false and

 constitutes an unconscionable, unfair, and deceptive act or practice in that Defendant

 has, through knowing, intentional, and material omissions, concealed the true

 defective nature of the wheels.

       609. By making these misrepresentations of fact and/or material omissions to

 prospective customers while knowing such representations to be false, Defendant

 has misrepresented and/or knowingly and intentionally concealed material facts in

 breach of its duty not to do so.

       610. The Glazer Plaintiffs, the Ohio Subclass members, and members of the



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 public were deceived by Defendant’s failure to disclose and could not discover the

 defect themselves before suffering their injuries.

       611. The Ohio Attorney General has made available for public inspection

 prior state court decisions which have held that acts and omissions similar to kinds

 alleged in this Complaint, including, but not limited to, the concealment and/or non-

 disclosure of a dangerous defect, constitute deceptive sales practices in violation of

 Ohio’s Consumer Sales Practices Act. These cases include, but are not limited to, the

 following:

              a) Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

              b) State ex rel. Betty D. Montgomery v. Ford Motor Co. (OPIF

                 #10002123);

              c) State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc.

                 (OPIF #10002025);

              d) Bellinger v. HewJayavelu-Packard Co., No. 20744, 2002 Ohio App.

                 LEXIS 1573 (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

              e) Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App.

                 LEXIS 525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

              f) State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF

                 #10002347);

              g) Mark J. Cranford, et al. v. Joseph Airport Toyota, Inc. (OPIF



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                 #10001586);

              h) State ex rel. William J. Brown v. Harold Lyons, et al. (OPIF

                 #10000304);

              i) Brinkman v. Mazda Motor of America, Inc., (OPIF #10001427);

              j) Khouri v. Don Lewis, (OPIF #100001995);

              k) Mosley v. Performance Mitsubishi aka Automanage, (OPIF

                 #10001326);

              l) Walls v. Harry Williams dba Butch’s Auto Sales, (OPIF #10001524);

                 and,

              m) Brown v. Spears, (OPIF #10000403).

              n) Williams v. Am. Suzuki Motor Corp., 2008 Ohio 3123; 2008 WL

                 2571584 (June 23, 2008)

       612. GM committed these and other unfair and deceptive acts in connection

 with the marketing and sale of the Class Vehicles.

       613. As a direct and proximate result of these unconscionable, unfair, and

 deceptive acts or practices, the Glazer Plaintiffs and the Ohio Subclass members

 have been damaged because they: purchased Class Vehicles they otherwise would

 not have purchased, paid more for Class Vehicles than they otherwise would have

 paid, paid for wheel diagnoses, repairs, and replacements, towing, and/or rental cars,

 and are left with Class Vehicles of diminished value and utility because of the defect.



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 Meanwhile, GM has sold more Class Vehicles than it otherwise could and charged

 inflated prices for Class Vehicles, thereby unjustly enriching itself.

        614. The Glazer Plaintiffs and the Ohio Subclass members seek restitution of

 the substantial sums of money they expended, including to replace their Corvettes’

 defective wheels, which Defendant knew about prior to the sale of the Class

 Vehicles.

        615. The Glazer Plaintiffs and Ohio Subclass members also seek appropriate

 equitable relief, including an order requiring GM to adequately disclose and

 remediate the Wheel Defect and enjoining GM from incorporating the defective

 wheels into its vehicles in the future.

        616. GM is liable to the Glazer Plaintiffs and the Ohio Subclass members for

 compensatory damages, injunctive/equitable relief, and attorneys’ fees pursuant to

 Ohio Rev. Code § 1345.09.

                                   COUNT XXXIII

                              Breach of Express Warranty
                                  (Under Ohio Law)

        617. Plaintiffs Dennis and Marianne Glazer (the “Glazer Plaintiffs”),

 individually and on behalf of the Ohio Subclass, incorporate by reference all of the

 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

        618. The Glazer Plaintiffs bring this Count individually and on behalf of the


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 Ohio Subclass.

        619. Defendant provided all purchasers and lessees of the Class Vehicles with

 an express warranty described infra, which became a material part of the bargain.

 Accordingly, Defendant’s express warranty is an express warranty under California

 law.

        620. The wheels were manufactured and/or installed in the Class Vehicles by

 Defendant and are covered by the express warranty.

        621. In a section entitled “What is Covered,” Defendant’s express warranty

 provides in relevant part that “The warranty covers repairs to correct any vehicle

 defect, not slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” The warranty

 further provides that “Warranty repairs, including, including towing, parts, and labor,

 will be made at no charge” and “[t]o obtain warranty repairs, take the vehicle to a

 Chevrolet dealer facility within the warranty period and request the needed repairs.”

        622. According to GM, the “Bumper-to-Bumper (Includes Tires) Coverage is

 for the first 3 years or 36,000 miles, whichever comes first.”

        623. Defendant breached the express warranties by selling and leasing Class

 Vehicles with wheels that were defective, requiring repair or replacement within the

 warranty period, and refusing to honor the express warranty by repairing or

 replacing, free of charge, the wheels. In addition, when Defendant did agree to pay



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 a portion of the costs, Defendant nevertheless breached the express warranty by

 simply replacing the Glazer Plaintiffs’ and the Ohio Subclass Members’ defective

 wheels with similarly defective wheels, thus failing to “repair” the defect.

       624. The Glazer Plaintiffs and the Ohio Subclass members were not required

 to notify GM of the breach or were not required to do so because affording GM a

 reasonable opportunity to cure its breach of written warranty would have been futile.

 Defendant was also on notice of the defect from complaints and service requests it

 received from Class Members, from repairs and/or replacements of the wheels, and

 from other internal sources.

       625. As a direct and proximate cause of Defendant’s breach, Plaintiffs and the

 other Ohio Subclass Members have suffered, and continue to suffer, damages,

 including economic damages at the point of sale or lease. Additionally, the Glazer

 Plaintiffs and the Ohio Subclass members have incurred or will incur economic

 damages at the point of repair in the form of the cost of repair.

       626. The Glazer Plaintiffs and the Ohio Subclass members are entitled to legal

 and equitable relief against Defendant, including actual damages, consequential

 damages, specific performance, attorneys’ fees, costs of suit, and other relief as

 appropriate.




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                                   COUNT XXXIV

                Breach of the Implied Warranty of Merchantability
                                (Under Ohio Law)

        627. Plaintiffs Dennis and Marianne Glazer (the “Glazer Plaintiffs”),

 individually and on behalf of the Ohio Subclass, incorporate by reference all of the

 allegations contained in the preceding paragraphs of this Class Action Complaint as

 if fully set forth herein.

        628. The Glazer Plaintiffs bring this Count individually and on behalf of the

 Ohio Subclass.

        629. Defendant was at all relevant times the manufacturer, distributor,

 warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to know

 of the specific use for which the Class Vehicles were purchased or leased.

        630. Defendant provided the Glazer Plaintiffs and the Ohio Subclass members

 with an implied warranty that the Class Vehicles and their components and parts are

 merchantable and fit for the ordinary purposes for which they were sold. However,

 the Class Vehicles are not fit for their ordinary purpose of providing reasonably

 reliable and safe transportation because, inter alia, the Class Vehicles and their

 wheels suffered from an inherent defect at the time of sale and thereafter and are not

 fit for their particular purpose of providing safe and reliable transportation.

        631. Defendant impliedly warranted that the Class Vehicles were of

 merchantable quality and fit for their intended use. This implied warranty included,


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 among other things: (i) a warranty that the Class Vehicles and their wheels, which

 were manufactured, supplied, distributed, and/or sold by GM, would provide safe

 and reliable transportation; and (ii) a warranty that the Class Vehicles and their

 wheels would be fit for their intended use.

       632. Contrary to the applicable implied warranties, the Class Vehicles and

 their wheels at the time of sale and thereafter were not fit for their ordinary and

 intended purpose of providing the Glazer Plaintiffs and the Ohio Subclass members

 with reliable, durable, and safe transportation. Instead, the Class Vehicles are

 defective, including the defective wheels.

       633. The alleged Wheel Defect is inherent and was present in each Class

 Vehicle at the time of sale.

       634. Because of Defendant’s breach of the applicable implied warranties,

 owners and/or lessees of the Class Vehicles suffered an ascertainable loss of money,

 property, and/or value of their Class Vehicles. Additionally, because of the Wheel

 Defect, the Glazer Plaintiffs and the Ohio Subclass members were harmed and

 suffered actual damages in that the Class Vehicles’ wheels are substantially certain

 to fail before their expected useful life has run.

       635. Defendant’s actions, as complained of herein, breached the implied

 warranty that the Class Vehicles were of merchantable quality and fit for such use.




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       L.     Claims Brought on Behalf of the South Carolina Subclass

                                   COUNT XXXV

                    Violations of the Unfair Trade Practices Act
                            (S.C. Code § 39-5-10, et seq.)

       636. Plaintiff Turner incorporates by reference all preceding allegations as

 though fully set forth herein.

       637. Plaintiff Turner brings this Count individually and on behalf of the South

 Carolina Subclass.

       638. GM, Plaintiff Turner, and the South Carolina Subclass members are

 “person[s]” under the South Carolina Unfair Trade Practices Act (“SCUTPA”)

       639. GM engaged in “sales” of “merchandise” within the meaning of

 SCUTPA. GM’s actions as set forth herein occurred in the conduct of trade or

 commerce.

       640. SCUTPA prohibits unconscionable, unfair or deceptive acts or practices

 in the conduct of any trade or commerce. The conduct GM as set forth herein

 constitutes unconscionable, unfair or deceptive acts or practices.

       641. GM participated in misleading, false, or deceptive practices that violated

 the SCUTPA.

       642. In the course of its business, GM willfully failed to disclose and/or

 actively concealed the fact that the Class Vehicles have defective wheels discussed

 herein and the fact that GM would not cover repair or replacement of the defective


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 wheels under its warranty, and otherwise engaged in activities with a tendency or

 capacity to deceive. GM also engaged in unlawful trade practices by employing

 deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

 suppression, or omission of any material fact with intent that others rely upon such

 concealment, suppression, or omission, in connection with the sale of the Class

 Vehicles.

       643. GM was also aware that it valued profits over safety, and that it was

 manufacturing, selling, and distributing vehicles throughout the United States that

 did not perform as advertised and jeopardized the safety of the vehicle’s occupants

 and the public.

       644. By failing to disclose that the Class Vehicles have defective wheels and

 were not safe, by marketing its vehicles as safe, reliable, and of high quality, and by

 presenting itself as a reputable manufacturer that valued safety and stood behind its

 warranty and vehicles after they were sold, GM engaged in deceptive business

 practices in violation of the New Jersey CFA.

       645. GM’s unfair or deceptive acts or practices were likely to and did in fact

 deceive reasonable consumers, including Plaintiff Turner and the South Carolina

 Subclass members, about the true performance of the Class Vehicles, the quality of

 the GM brand, the devaluing of safety and performance at GM, and the true value of

 the Class Vehicles.



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       646. GM intentionally and knowingly misrepresented material facts regarding

 the Class Vehicles with the intent to mislead Plaintiff Turner and the South Carolina

 Subclass.

       647. GM knew or should have known that its conduct violated the SCUTPA.

       648. GM owed Plaintiff Turner and the South Carolina Subclass members a

 duty to disclose the true safety, performance, and reliability of the Class Vehicles,

 and the devaluing of safety and performance at GM, because GM had exclusive or

 superior knowledge and concealed material facts and/or omitted material facts

 regarding the defective wheels and its warranty coverage.

       649. The existence of the Defect, the defective wheels, and the true

 performance of the Class Vehicles were material facts to Plaintiff Turner and the

 South Carolina Subclass.

       650. GM’s violations present a continuing risk to Plaintiff Turner and the

 South Carolina Subclass members as well as to the general public. GM’s unlawful

 acts and practices complained of herein affect the public interest.

       651. GM had an ongoing duty to all GM customers to refrain from

 unconscionable, unfair and deceptive practices under the SCUTPA. All owners of

 the Class Vehicles suffered ascertainable loss from not obtaining the benefit of their

 bargains.

       652. As a direct and proximate result of GM’s violations of the SCUTPA,



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 Plaintiff Turner and the South Carolina Subclass have suffered injury-in-fact and/or

 actual damage in paying to replace and/or repair defective wheels and in paying more

 to purchase or lease the Class Vehicles than they would have had they known of the

 defective wheels. Subclass members who purchased or leased the Class Vehicles

 either would have paid less for their vehicles or would not have purchased or leased

 them but for GM’s violations of the SCUTPA.

           653. As a result of the foregoing wrongful conduct of GM, Plaintiff Turner

 and the South Carolina Subclass have been damaged in an amount to be proven at

 trial, and seek all just and proper remedies, including but not limited to, actual and

 statutory damages, treble damages, and order enjoining GM’s deceptive and unfair

 conduct, costs and reasonable attorneys’ fees, and all other just and appropriate

 relief.

                                      COUNT XXXVI

                               Breach of Express Warranty
                                 (S.C. CODE § 36-2-313)

           654. Plaintiff Turner incorporates by reference all preceding allegations as

 though fully set forth herein.

           655. Plaintiff Turner brings this Count individually and on behalf of the South

 Carolina Subclass.

           656. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of


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 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       657. As a manufacturer of motor vehicles, GM was required to provide these

 warranties to purchasers of the Class Vehicles.

       658. GM’s warranties formed the basis of the bargain that was reached when

 Plaintiff Turner and South Carolina Subclass members purchased or leased their

 Class Vehicles equipped with the defective wheels.

       659. Plaintiff Turner and the South Carolina Subclass members experienced

 defects within the warranty period.

       660. GM breached the express warranty promising to repair or replace a

 manufacturing defect or materials or workmanship of any part of the Class Vehicles.

       661. Affording GM a reasonable opportunity to cure its breach of written

 warranties would be unnecessary and futile here.

       662. Furthermore, the limited warranty promising to repair or replace a defect

 fails in its essential purpose because the contractual remedy is insufficient to make

 Plaintiff Turner and South Carolina Subclass members whole and because GM has

 failed and/or has refused to adequately provide the promised remedies within a

 reasonable time.

       663. Accordingly, recovery by Plaintiff Turner and the other South Carolina

 Subclass members is not limited to the limited warranty promising to repair or



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 replace a defect, and Plaintiff Turner, individually and on behalf of the other

 Subclass members, seeks all remedies as allowed by law.

       664. Also, as alleged in more detail herein, at the time GM warranted and sold

 the Class Vehicles, it knew that the Class Vehicles did not conform to GM’s

 warranties and were inherently defective, and GM wrongfully and fraudulently

 concealed material facts regarding its Class Vehicles. Plaintiff Turner and the other

 Class members were therefore induced to purchase or lease the Class Vehicles under

 false and/or fraudulent pretenses.

       665. Moreover, many of the injuries flowing from the Class Vehicles cannot

 be resolved through the limited remedy of “replacements or adjustments,” as many

 incidental and consequential damages have already been suffered due to GM’s

 fraudulent conduct as alleged herein. Due to GM’s failure and/or continued failure

 to provide such limited remedy within a reasonable time, any limitation on Plaintiff

 Turner’s and the other South Carolina Subclass members’ remedies would be

 insufficient to make Plaintiff Turner and the South Carolina Subclass members

 whole.

       666. Finally, due to GM’s breach of warranty as set forth herein, Plaintiff

 Turner and the South Carolina Subclass members assert as an additional and/or

 alternative remedy, revocation of acceptance of the goods, and for the return to

 Plaintiff Turner and the other Subclass members of the purchase price of all Class



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 Vehicles currently owned, and for such other incidental and consequential damages

 as allowed.

       667. GM was provided notice of these issues by numerous complaints filed

 against it, including those submitted to NHTSA and the instant Complaint, within a

 reasonable amount of time after the defect was discovered.

       668. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiff Turner and the South Carolina Subclass members have been damaged in an

 amount to be determined at trial.

                                  COUNT XXXVII

                            Breach of Implied Warranty
                              (S.C. CODE § 36-2-314)

       669. Plaintiff Turner incorporates by reference all allegations of the preceding

 paragraphs as though fully set forth herein.

       670. Plaintiff Turner brings this Count individually and on behalf of the South

 Carolina Subclass.

       671. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       672. A warranty that the Class Vehicles were in merchantable condition is

 implied by law in the instant transactions. These Class Vehicles, when sold and at all

 times thereafter, were not in merchantable condition and are not fit for the ordinary

 purpose for which cars are used. Specifically, the Class Vehicles are inherently


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 defective in that the defective wheels are not safe, merchantable or suitable for high

 performance sports cars.

       673. GM was provided notice of these issues by complaints lodged by

 consumers with NHTSA—which vehicle manufacturers like GM routinely

 monitor—before or within a reasonable amount of time after the allegations of the

 Class Vehicle defects became public.

       674. As a direct and proximate result of GM’s breach of the warranties of

 merchantability, Plaintiff Turner and the other South Carolina Class members have

 been damaged in an amount to be proven at trial.

       M.     Claims Brought on Behalf of the Texas Subclass

                                  COUNT XXXVIII

                  Violations of the Deceptive Trade Practices Act
                     (Tex. Bus. & Com. Code §§ 17.41, et seq.)

       675. Plaintiff Barker incorporates by reference all preceding allegations as

 though fully set forth herein.

       676. Plaintiff Barker brings this Count individually and on behalf of the Texas

 Subclass.

       677. Plaintiff Barker and the Texas Subclass members are individuals,

 partnerships or corporations with assets of less than $25 million (or are controller by

 corporations or entities with less than $25 million in assets), see Tex. Bus. & Com.

 Code § 17.41, and are therefore “consumers” pursuant to Tex. Bus. & Com. Code §


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 17.45(4).

       678. GM is a “person” within the meaning of TEX. BUS. & COM. CODE §

 17.45(3).

       679. GM’s conduct complained of herein affected “trade,” “commerce” or

 “consumer transactions” within the meaning of TEX. BUS. & COM. CODE §

 17.46(A).

       680. The Texas Deceptive Trade Practices Act (“Texas DTPA”) prohibits

 “false, misleading, or deceptive acts or practices in the conduct of any trade or

 commerce,” TEX. BUS. & COM. CODE § 17.46(a), and an “unconscionable action

 or course of action,” which means “an act or practice which, to a consumer’s

 detriment, takes advantage of the lack of knowledge, ability, experience, or capacity

 of the consumer to a grossly unfair degree.” TEX. BUS. & COM. CODE §§ 17.45(5)

 and 17.50(a)(3).

       681. In the course of its business, GM willfully failed to disclose and actively

 concealed the Wheel Defect discussed herein and otherwise engaged in activities

 with a tendency or capacity to deceive. GM also engaged in unlawful trade practices

 by employing deception, deceptive acts or practices, fraud, misrepresentations, or

 concealment, suppression, or omission of any material fact with intent that others

 rely upon such concealment, suppression, or omission, in connection with the sale

 of the Class Vehicles.



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       682. GM’s unfair or deceptive acts or practices were likely to and did in fact

 deceive reasonable consumers, including Plaintiff Barker and the Texas Subclass

 members, about the true performance of the Class Vehicles, the quality of the GM

 brand, the devaluing of safety and performance at GM, and the true value of the

 Class Vehicles.

       683. GM intentionally and knowingly misrepresented material facts regarding

 the Class Vehicles with the intent to mislead Plaintiff Barker and the Texas Subclass.

       684. GM knew or should have known that its conduct violated the Texas

 DTPA.

       685. As alleged above, GM made material statements about the safety and

 utility of the Class Vehicles and the GM brand that were either false or misleading.

       686. GM owed Plaintiff Barker and the Texas Subclass a duty to disclose the

 true safety, performance, and reliability of the Class Vehicles, and the devaluing of

 safety and performance at GM, because GM had exclusive or superior knowledge

 and concealed material facts and/or omitted material facts regarding the defective

 wheels and its warranty coverage.

       687. GM’s deception and fraud regarding the defective wheels and the true

 performance of the Class Vehicles were material to Plaintiff Barker and the Texas

 Subclass.

       688. Plaintiff Barker and the Texas Subclass suffered ascertainable loss



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 caused by GM’s misrepresentations and its concealment of and failure to disclose

 material information. Class members who purchased the Class Vehicles either would

 have paid less for their vehicles or would not have purchased or leased them at all

 but for GM’s violations of the Texas DTPA.

       689. GM had an ongoing duty to all GM customers to refrain from unfair and

 deceptive practices under the Texas DTPA. All owners of the Class Vehicles suffered

 ascertainable loss in the form of the diminished value of their vehicles as a result of

 GM’s deceptive and unfair acts and practices made in the course of GM’s business.

       690. GM’s violations present a continuing risk to Plaintiff Barker and the

 Texas Subclass members as well as to the general public. GM’s unlawful acts and

 practices complained of herein affect the public interest.

       691. As a direct and proximate result of GM’s violations of the Texas DTPA,

 Plaintiff Barker and the Texas Subclass have suffered injury-in-fact and/or actual

 damage.

       692. Pursuant to TEX. BUS. & COM. CODE § 17.50, Plaintiff Barker and

 the Texas Subclass seek monetary relief against GM measured as actual damages in

 an amount to be determined at trial, multiple damages for knowing and intentional

 violations, pursuant to § 17.50(b)(1), and attorneys’ fees, costs, and any other just

 and proper relief available under the Texas DTPA.

       693. Plaintiff Barker has sent a letter in accordance with TEX. BUS. & COM.



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 CODE § 17.505(a). Unless GM has remedied its unlawful conduct within the

 requisite time period, Plaintiff Barker seeks all damages and relief to which Plaintiff

 Barker and the Texas Subclass are entitled.

                                   COUNT XXXIX

                          Breach of Express Warranty
                       (TEX. BUS. & COM. CODE § 2.313)

       694. Plaintiff Barker incorporates by reference all allegations of the preceding

 paragraphs as though fully set forth herein.

       695. Plaintiff Barker brings this Count individually and on behalf of the Texas

 Subclass.

       696. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under TEX. BUS. & COM. CODE § 2.104(a) and a “seller” of motor

 vehicles under § 2.313(a).

       697. The Class Vehicles are and were at all relevant times “goods” within the

 meaning of TEX. BUS. & COM. CODE § 2.105(a) and § 2.313.

       698. In connection with the purchase or lease of each one of its new vehicles,

 GM provides an express New Vehicle Limited Warranty (“NVLW”) for a period of

 three years or 36,000 miles, whichever occurs first. This NVLW exists to cover the

 entire vehicle for any “defect in materials or workmanship.”

       699. As a manufacturer of motor vehicles, GM was required to provide these

 warranties to purchasers of its Class Vehicles.


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       700. GM’s warranties formed the basis of the bargain that was reached when

 Plaintiff Barker and other Texas Subclass members purchased or leased their Class

 Vehicles equipped with the defective wheels.

       701. Plaintiff Barker and the Texas Subclass members experienced defects

 within the warranty period.

       702. GM breached the express warranty promising to repair or replace a

 defect in materials or workmanship of any part supplied by GM.

       703. Affording GM a reasonable opportunity to cure its breach of written

 warranties would be unnecessary and futile here.

       704. Furthermore, the limited warranty promising to repair and/or replace a

 manufacturing defect fails in its essential purpose because the contractual remedy is

 insufficient to make Plaintiff Barker and the Texas Subclass members whole, and

 because GM has failed and/or has refused to adequately provide the promised

 remedies within a reasonable time.

       705. Accordingly, recovery by Plaintiff Barker and the Texas Subclass

 members is not limited to the limited warranty promising to repair and/or correct a

 manufacturing defect, and Plaintiff Barker, individually and on behalf of the other

 Subclass members, seeks all remedies as allowed by law.

       706. Also, as alleged in more detail herein, at the time GM warranted and sold

 the Class Vehicles, it knew that the Class Vehicles did not conform to GM’s



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 warranties and were inherently defective, and GM wrongfully and fraudulently

 concealed material facts regarding its Class Vehicles. Plaintiff Barker and the other

 Subclass members were therefore induced to purchase or lease the Class Vehicles

 under false and/or fraudulent pretenses.

       707. Moreover, many of the injuries flowing from the Class Vehicles cannot

 be resolved through the limited remedy of replacements or adjustments as many

 incidental and consequential damages have already been suffered due to GM’s

 fraudulent conduct as alleged herein. Due to GM’s failure and/or continued failure

 to provide such limited remedy within a reasonable time, and any limitation on

 Plaintiff Barker’s and the other Subclass members’ remedies would be insufficient

 to make Plaintiff Barker and the Texas Subclass members whole.

       708. GM was provided notice of these issues by numerous complaints filed

 against it, including complaints to NHTSA and the instant Complaint, within a

 reasonable amount of time after the defect was discovered.

       709. As a direct and proximate result of GM’s breach of express warranties,

 Plaintiff Barker and the Texas Subclass members have been damaged in an amount

 to be determined at trial.

                                    COUNT XL

                 Breach of Implied Warranty Of Merchantability
                        (Tex. Bus. & Com. Code § 2.314)

       710. Plaintiff Barker incorporates by reference all allegations of the preceding


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 paragraphs as though fully set forth herein.

       711. Plaintiff Barker brings this Count individually and on behalf of the Texas

 Subclass.

       712. GM is and was at all relevant times a merchant with respect to motor

 vehicles.

       713. A warranty that the Class Vehicles were in merchantable condition is

 implied by law in the instant transactions. These Class Vehicles, when sold and at all

 times thereafter, were not in merchantable condition and are not fit for the ordinary

 purpose for which cars are used. Specifically, the Class Vehicles are inherently

 defective in that the defective wheels are not safe, merchantable or suitable for high

 performance sports cars.

       714. GM was provided notice of these issues by complaints lodged by

 consumers with NHTSA—which vehicle manufacturers like GM routinely

 monitor—before or within a reasonable amount of time after the allegations of the

 Class Vehicle defects became public.

       715. As a direct and proximate result of GM’s breach of the warranties of

 merchantability, Plaintiff Barker and the Texas Subclass members have been

 damaged in an amount to be proven at trial.

 VIII. PRAYER FOR RELIEF

       716. Plaintiffs, on behalf of themselves and all others similarly situated,



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 request the Court to enter judgment against Defendant, as follows:

             a) An order certifying the proposed Class, designating Plaintiffs as

                 named representative of the Classes, and designating the

                 undersigned as Class Counsel;

             b) A declaration that Defendant is financially responsible for notifying

                 all Class Members about the defective nature of the wheels,

                 including the need for periodic maintenance;

             c) An order enjoining Defendant from further deceptive distribution,

                 sales, and lease practices with respect to Class Vehicles; compelling

                 Defendant to issue a voluntary recall for the Class Vehicles pursuant

                 to. 49 U.S.C. § 30118(a); compelling Defendant to remove, repair,

                 and/or replace the Class Vehicles’ defective wheels with suitable

                 alternative product(s) that do not contain the defects alleged herein;

                 enjoining Defendant from selling the Class Vehicles with the

                 misleading information; and/or compelling Defendant to reform its

                 warranty, in a manner deemed to be appropriate by the Court, to

                 cover the injury alleged and to notify all Class Members that such

                 warranty has been reformed;

             d) An award to Plaintiffs and the Class for compensatory, exemplary,

                 and statutory damages, including interest, in an amount to be proven



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                  at trial;

              e) Any and all remedies provided pursuant to the Magnuson-Moss

                  Warranty Act;

              f) Any and all remedies provided pursuant to the causes of action and

                  statutes alleged herein;

              g) A declaration that Defendant must disgorge, for the benefit of the

                  Class, all or part of the ill-gotten profits it received from the sale or

                  lease of its Class Vehicles or make full restitution to Plaintiffs and

                  Class Members;

              h) An award of attorneys’ fees and costs, as allowed by law;

              i) An award of pre-judgment and post-judgment interest, as provided

                  by law;

              j) Leave to amend the Complaint to conform to the evidence produced

                  at trial; and

              k) Such other relief as may be appropriate under the circumstances.

 IX.    DEMAND FOR JURY TRIAL

        717. Plaintiffs hereby demand a trial by jury of all issues in this action so

 triable.




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 Dated: September 9, 2020            Respectfully submitted,


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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 9, 2020 I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel

 of record authorized to receive such filings.

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